Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 1 of 141   PageID #: 7




                                                                                 Exhibit C
                      Exhibit C
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 2 of 141                PageID #: 8




SUPERIOR COURT ,
South Paris                    ss,
Docket #                                    STATE OF MAINE


In Fact Justin, A Man
                                                 )      CASE:
       Claimant                                  )
                                                 )
                                                 )     CLAIMANT ACTION WRIT OF
              vs.                                 )    REPLEVIN
                                                 )
JP Morgan Chase, National Association            )
                                                 )
                                                 )
       Wrongdoer                                 )
                                                 )
                                                 )
                                                  )
                                                 )


                                     WRIT OF REPLEVIN
COMES NOW, In Fact Justin, father of / dependant minor girl^-one blind, all rights reserved,

not an accommodating party for any legal or commercial entity, people, Mainer, American Sui

Juris, not under the venue and or jurisdiction of any presumed contracts, of the state, State

Government, in good faith, by restricted appearance not generally ab initio, nunc pro tunc, of

necessity, without recourse, as a 3rd party intervener privately contracted to handle the affairs

of the en-legis “JUSTIN WADE DAGGETT A-K-A JUSTIN WADE BURGESS” trust of the

natural estate further known as the Claimant; at no time by presumption appears and proceeds

in any other manner, waives no rights, remedies and/or defenses.



       Claimant moves this court in a common law action, in like manner to Maine Statute Title

14: COURT PROCEDURE - CIVIL Part 7: PARTICULAR PROCEEDINGS Chapter 735:
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 3 of 141             PageID #: 9




REPLEVIN Subchapter 1: GOODS §7304 requiring proof of existence of goods allegedly in

possession of the Wrongdoer and to have those goods recovered and returned to the

Claimant, the rightful owner. Replevy: to recover possession of goods by REPLEVIN.

The Replevin items to be returned to Claimant are: “the” genuine mortgage note and “the”

genuine mortgage, that were originated on April 15, 2010, by contract between In Fact Justin

and Merrimack Mortgage Co., Inc. related to property at 456 Gore Road, Otisfield Rd, Maine,

County of Oxford.



                                    CAUSE OF ACTION

   2 There is no visible or tangible evidence of Wrongdoer’s proof of ownership of Replevin

      items. For judicial efficiency, the timeline will be worked backwards to reduced page

      count while demonstrating requests for Repliven items have been made by Claimant

      and not accommodated by Wrongdoer.

      2.1 From 12/6/2019 to present, via Portland, Maine, Bankruptcy Adversary Proceedings

         case number 19-02014, Wrongdoer has been requested to make delivery of

         Replevin items. Again, for efficiency, Claimant provides latest summery pleading

         attached Exhibit -A-, Bankruptcy Adv Pro Motiion. It’s been over 25 months since

         the clerk stamp dated 10/26/2017 on foreclosure Summons document shown on

         page 6 of 29 of that exhibit. The requirements for the Wrongdoer to bring forth those

         items to prove ownership to commence the foreclosure action in compliance to

         Maine title 14 § 6321. Those requirements are summarized on pages 1- 5 with cited

         defects shown in exhibits in pages 6-29, namely, Wrongdoer JP Morgan Chase has

         not complied with standing to commence Maine Title 14 § 6321 action and thus fails
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 4 of 141                PageID #: 10




       in any claim to be the “owner” or the “creditor” to justify holding onto the Replevin

       Items.

3   Claimant attests to being the rightful owner of the Replevin items by way of::

    3.1 Claimant’s Secure Party Creditor status with the Maine Secretary of State Unified

       Commercial Code financing statement, UCC1 filing as In Fact Justin’s publically

       published security claim on the Replevin items noted herein: see Exhibit -B- UCC1

       Filing and Exhibit -C- Claimant Affidavit Together, these items represent

       evidence of Claimant as the Owner and Creditor of Replevin items.

    3.2 Claimant has lawfully secured the acknowledged settlement of alleged debt and the

       release of recorded purported mortgage security claim in the public. The associated

       purported mortgage has been discharged at the Oxford County Registry of Deeds.

       The process and resulting instrument called the ADMINISTRATIVE DECLARATORY

       JUDGMENT, further referred to as ADJ, is detailed in the attached E-xhibit -D-

       Discharge . This ADJ instrument memorializes Wrongdoers multiple counts of

       dishonor and failure to just step forward and make visible evidence of the Replevin

       items and secure proof of claim of ownership. A second ADJ was recorded at same

       registry to remove the foreclosure claim on the public title record see Exhibit -E-,

       Waiver. “Settlement” by either the acknowledgment of the enforced ADJ’s or by

       even the wrongful acknowledgement of the void Summary Judgment of Foreclosure

       should yield the same result; the rightful return of the Replevin items to the

       Claimant.
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 5 of 141                 PageID #: 11




                                              REMEDY

   4   Claimant In Fact Justin, to safeguard the well being of his family, who are of the people

       of Oxford County, Maine, in the jurisdiction of this court, require the return of wrongfully

       held Replevin items by Wrongdoer, JP Morgan Chase, National Association. The

       goods targeted for recovery are pieces of paper that could be wrongfully used to harm

       Claimant [and / dependent, live- with- childrenT'Qne of-whichJs legally-blind] via unjust

       threat of extortion, indenture and/or forced homelessness. Given this scenario, the

       extortion or harm value of these pieces of paper easily exceed the $75,000 required

       for this Superior Court jurisdiction. Claimant does not ask this court to re-adjudicate the

       various cases cited herein but to simply require:



       4.1 The Wrongdoer to bring foiward the Replevin items for Claimant to possess.



       4.2 Require court to make the determination if the Wrongdoer had proof of ownership

          and in fact turned over the “the” genuine mortgage note and “the" genuine mortgage

          to Claimant, In Fact Justin.



                                         JUDICIAL NOTICE

Caldwell v Miller, 790 F. 2d 589, 595 (7th Cir. 1986) “Pro Se litigants are not held to the
stringent standards applied to formally trained members of the legal profession, and their
pleadings are to be liberally construed.”

The United States Supreme Court, in Haines v Kerner 404 U.S. 519 (1972), said that all
litigants defending themselves must be afforded the opportunity to present their evidence and
that the Court should look to the substance of the complaint rather than the? form.
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 6 of 141                 PageID #: 12



In Platsky v CIA, 953 F.2d 26 (2nd Cir. 1991), the Circuit Court of Appeals allowed that the
District Court should have explained to the litigant proceeding without a lawyer, the correct
form to use so that he could have amended his pleadings accordingly. Defendant(s)
respectfully reserves the right to amend this complaint.

Maine Revised Statutes, Title 16: COURT PROCEDURE - EVIDENCE
Chapter 3: RECORDS AND OTHER DOCUMENTS, Subchapter 2: JUDICIAL NOTICE §402.
Common law and statutes: Every court of this State shall take judicial notice of the common
law...

Claimant’s signature and Treasury/Federal Reserve exemption account credit is what created
 and funded these security Replevin items and gives Claimant ownership of said items by like
 way of UCC § 8-102(1): “’Adverse Claim’ means a claim that claimant has a property interest
in a financial asset and that it is a violation of the rights of the claimant for another person to
hold, transfer, or deal with the financial asset”.


Respectfully,


       By: (iaaA'AS''1                  ______________
       By: in Fact Justin, a m&n, sui juris and not pro se
        a/k/a Burgess: Justin-W., all rights reserved
       456 Gore Rd, Otisfield, ME 04270
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 7 of 141                     PageID #: 13



                                       CERTIFICATE OF SERVICE


It is hereby certified, that on the date noted below, the undersigned mailed to:

From: Burgess: Justin-W., a Man, Claimant
      456 Gore Road
      Otisfield, ME [04270]

To:      JPMorgan Chase Bank, National Association, Wrongdoer
         c/o Chase Records Center.
         Attn: Correspondence Mail Code LA4-5555
         700 Kansas Lane, Monroe, LA 71203-4774
         USPS Certified Mail #7018 1130 0002 3115 3518 Date y' I'7

         .cc
         Hillary Massey, for JPMorgan Chase, Wrongdoer Attorney
         Seyfarth Shaw LLP
         Seaport East
         Two Seaport Lane, Suite 300
         Boston, MA 02210                                    //
         USPS Certified Mail #7019 0700 0001 6032 5913 Date 7 ‘

Notice to Agent is notice to Principle; Notice to Principal is notice to Agent



1. REPLEVIN by In Fact Justin dated on                              .

      by USPS form 3800 certified mail and with USPS form 3811 Return Receipt post card.



                                             Byrstepfhen Monagh

State of
County of   fadsibut)            ss.                J.(Month),' z (day), 2020

Personally appeared before me the above-named '                .                    and acknowledged
the foregoing instrument to be of his/her/their own free'act and deed.      7




                                              MATTHEW F. YATES
                                              Notary Public, State of Maine
                                           My Commission Expires September 9,2026
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 8 of 141               PageID #: 14



SUPERIOR COURT
South Paris                      ss,
Docket #                                     STATE OF MAINE


In Fact Justin, A Man
                                                  )     CASE:
        Claimant                                  )
                                                  )
                                                  )     OREDER ON ACTION WRIT OF
                vs.                               )     REPLEVIN
                                                  )
JP Morgan Chase, National Association             )
                                                  )
                                                  )
        Wrongdoer                                 )
                                                  )
                                                  )
                                                   )
                                                  )


                      ORDER ON ACTION OF WRIT OF REPLEVIN



        For reasons set forth on the record of the action in this matter, the court has made a

determination and declaration that the Wrongdoer, JP Morgan Chase, National Association did

not:

        1.   have possession and ownership of the Replevin items; the genuine mortgage note

             and the genuine mortgage

        2. did not deliver the Replevin items; the genuine mortgage note and the genuine

             mortgage over to the owner, the Claimant, In Fact Justin



Date:

                                           Maine Superior Court Judge
                                           South Paris, Oxford County
      Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 9 of 141             PageID #: 15




                                 CERTIFICATE OF SERVICE


It is hereby certified, that on the date noted below, the undersigned mailed to:

From: Burgess: Justin-W., a Man, Claimant
      456 Gore Road
      Otisfield, ME [04270]

To:      JPMorgan Chase Bank, National Association, Wrongdoer
         c/o Chase Records Center.
         Attn: Correspondence Mail Code LA4-5555
         700 Kansas Lane, Monroe, LA 71203-4774

         .cc
         Hillary Massey, for JPMorgan Chase, Wrongdoer Attorney
         Seyfarth Shaw LLP
         Seaport East
         Two Seaport Lane, Suite 300
         Boston, MA 02210


ORDER ON ACTION OF WRIT OF REPLEVIN                            Date:
Case 2:20-cv-00164-LEW
  Case  19-02014 Doc 39 Document   1-1 Filed
                          Filed 03/26/20     05/08/20
                                          Entered      Page
                                                  03/26/20   10 of 141Desc
                                                           16:23:28     PageID
                                                                           Main #: 16
                                  Document        Page 1 of 29



 UNITED STATES BANKRUPTCY COURT                                     File on Demand
 DISTRICT OF MAINE                                                                              in


 Justin Wade iBurgess
 Plaintiff                                    Adv. Proc. No. 19-2014
 v.
 JP Morgan Chase Bank Nat. Assoc.
 Defendant
 IMiMnMHKtBlHHaiBliiHSHaMNHataWliMMHEIBIJBBMHHNMHRMliRHaRIMIlHNMHNHHNWMIlliaMMSBKClHKRaaHHRMHiaRHH




                         PLAINTIFF’S MOTION TO RECONSIDER
 Now comes, Plaintiff Justin W. Burgess, further referred to as Plaintiff Burgess, hereby
 Motions the Court to Reconsider Dkts 37 Order to Dismiss by way of Rule 60(b)(3,6)
 and Rule 7016 and set hearing date 4/29/2020 with United States Bankruptcy Judge
 Michael A, Fagone.
 1. On 3/16/2020, United States Bankruptcy Judge Michael A. Fagone, conducts the

 telephonic motion to dismiss hearing scheduled from Dkts 8 that can be listened to from
 Dkts 34 recording filed on 3/16/2020. From that hearing, the Dkts 37 Order to Dismiss is
 generated. In this recording, Judge Michael Fagone summarizes his conclusions,
 makes some errors but also paints a useful roadmap on how Plaintiff Burgess can re­
 submit a cause of action and remedy request that is acceptable. For more on that topic,
 see Exhibit # 9, critique attached herein.
 2. On 3/4/2019 Plaintiff Burgess opened a chapter 13 file 19-20092 Dkt 1 and
 completes all forms with the help of an attorney. On or about 8/22/2019 the file is
 converted to a pro se chapter 7 Dkt 32 of file 19-20092. On 12/6/2019 Dkt 1 for new
 Adv. Pro. Case 19-02014 was filed to demand proof of claim of Defendant JPMorgan
 Chase as a "creditor” in the bankruptcy and thus afford Plaintiff Burgess relief; i.e. for
 improved credit score and other reasons.




 3. On the question, “is Defendant JPMorgan Chase a bona fide creditor?”, Plaintiff
 Burgess states: The impenetrable threshold issue is that JPMorgan Chase does
Case 2:20-cv-00164-LEW
   Case 19-02014 Doc 39Document  1-1 Filed
                         Filed 03/26/20    05/08/20
                                         Entered     Page16:23:28
                                                 03/26/20 11 of 141 Desc
                                                                      PageID
                                                                         Main #: 17
                                 Document      Page 2 of 29



  not have and has never had any standing to be a creditor in this Bankruptcy
  proceeding. Plaintiff Burgess requires that this court declare that Defendant
 JPMorgan Chase does not have standing to be a creditor in Burgess’s
  Bankruptcy. The court production of that declaration will provide relief for
 Plaintiff Burgess and serves as the only remedy required in this Plaintiff’s Motion
 to Reconsider Order Dismissing Complaint Dkt 36 filed entered on 3/16/2020.
 4. Plaintiff Burgess is not asking this Bankruptcy court to conduct an appellate review of
 state of Maine purported action in JPMORGAN CHASE BANK, NATIONAL
 ASSOCIATION v. JUSTIN W. BURGESS Docketed as no, SOPSC RE-17-46 and
 SOPDC RE-18—19. Plaintiff Burgess does not contend that these actions ever
 commenced, they are a nullity, they don’t exist. The purpose of reviewing the
 documents used to attempt to commence the purported state actions is to simply show
 clear evidence to this Bankruptcy court that Defendant JPMorgan Chase is not a bona
 fide creditor.
 5. The state of Maine District Court South Paris transcended the limits of its authority by
 entertaining the purported complaint in JPMORGAN CHASE BANK, NATIONAL
 ASSOCIATION v. JUSTIN W. BURGESS Docketed as no, SOPSC RE-17-46 and
 SOPDC RE-18—19
 6. With defective documents emanating from JPMorgan Chase, Attorney Leonard A.
 Morley, a seasoned officer of the court and as council for state plaintiff JPMorgan
 Chase, presented and filed a Summons notice and complaint to Superior Court in South
 Paris Maine on 10/2/2017. See Exhibit # 1, Summons herein. The documents given to
 him By JPMorgan Chase needed to be compliant with Maine Statute Title 14 § 6321 and
 they didn’t even come close. See Exhibits # 2- # 8 herein. Whether Attorney Morley
 knew these documents were defective is unknown and not important to Plaintiff
 Burgess. With the processing of those documents into the Superior Court file with clerk
 stamp date 10/26/2017, these JPMorgan Chase actions created the who, what, where
 and when that transcended the limits of the court’s authority and how this JPMorgan
 Chase deception upon the court was inextricably introduced and how legal due process
 and any possible action validity were permanently lost forever.
 7.
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 12 of 141                    PageID #: 18
   Case 19-02014      Doc 39     Filed 03/26/20 Entered 03/26/20 16:23:28          Desc Main
                                  Document     Page 3 of 29



 A judgment Is void if it is beyond the powers granted to the court by the law of its
 organization. Thus, when a court is authorized by statute to entertain jurisdiction
 in a particular action only and undertakes to exercise the jurisdiction conferred in
 am action to which the statute has no application, the judgment rendered is void,
 the action is subject to collateral attack. 46 Am. Jur. 2d, Judgments §25, pp. 388-
 89.
 8. The fact the “purported complaint” to start the State action failed to comply with “State
 of Maine statute Title 14 §6321” renders the entire action void from the beginning. That
 means the purported action in the State court is in-fact a nullity, in-fact void, is not just
 voidable, it is in-fact void as if it has never happened, as a clear violation of the most
 essential of due process “notice”.Notification of legal responsibility is “the first essential
 of due process of law.” SEE: U.S. v. Tweel, 550 F. 2d. 297.Full copy of said statute is
 incorporated herein as Exhibit # 8, Statute herein.
 9. The notice to the court and to the defendant in the form of the “complaint” was and
 still is void as it clearly does not comply with what the State of Maine legislature requires
 In State of Maine statute Title 14 §6321 In pertinent part;
 ‘Im order to state a claim for foreclosure upon which relief can be granted,”
 (9.1) service as required under Maine title 14 Sub-section 6321: "Service of process on
 all parties in interest and all proceedings must be in accordance with the Maine Rules of
 Civil Procedure. "Parties in interest" includes mortgagors... as reflected by the indices in
 the registry of deeds and the documents referred to therein affecting the mortgaged
 premises, through the time of the recording of the complaint or the clerk's certificate”.
 Maine Title 14 § 6321 specifies that Maine civil rules of procedure “rule 3
 commencement” and “rule 4 process" require the summons service to be bona fide prior
 to commencement of action. Plaintiff Burgess attests that at no time was he served a
 Summons for Docket SOPDC-RE-18-19 noted on the purported final judgment
 paperwork. See Exhibit # 11, NO SUMMONS and Exhibit # 12 Clerk Certificate
 attached herein.
 (9.2) the complaint must contain a certification of “proof of ownership” of the
 mortgage note. See Exhibit # 8, statute herein.
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 13 of 141                    PageID #: 19
   Case 19-02014      Doc 39     Filed 03/26/20 Entered 03/26/20 16:23:28         Desc Main
                                  Document     Page 4 of 29



  Plaintiff Burgess attests to the fact that there is no place in the “purported complaint” a
 clearly articulable certification, attesting to JPMORGAN CHASE BANK, NATIONAL
 ASSOCIATION“proof of ownership of the Note” See Exhibit # 2, complaint attached
 herein.
 Certification; the act of attesting: esp., the process of giving someone or something an
 official document stating that a specified standard has been satisfied.
 (9.3) The mortgagee shall certify “proof of ownership” of the mortgage note
 Plaintiff Burgess attests to the fact that there is no place in the “purported complaint”
 that JPMORGAN CHASE BANK, NATIONAL ASSOCIATION clearly articulate“certify”,
 “proof of ownership of the Note”.
 Certify; to authenticate or verify in writing.
 (9.4) and produce evidence of “the” mortgage note,
 Plaintiff Burgess attests to the fact that there is no place in the “purported complaint”
 that JPMORGAN CHASE BANK, NATIONAL ASSOCIATION provided evidence of “the
 Note” they merely provided evidence of “a” Note that clearly is, to the contrary, their
 evidence marked as Exhibit # 3, note, attached herein, clearly shows that it is not “the
 genuine note” as is required as it has holes through the top of it, it has stamps of the
 word ORIGINAL on it and the genuine did not have those stamps. The evidenced note
 has five sets of staple holes in it when in-fact the Genuine note only had one staple.
 Clearly the note that was in the complaint is not “the Note” as it is not Genuine it has
 been forged and clearly is counterfeit. It has clearly been taken apart “bifurcated” and
 cannot be attested to as being the Genuine by anyone and I could not attest that it is the
 note. See Exhibit # 2, complaint and E-xhibit# 3, note attached herein.
 (9.5) (“the”) mortgage
 Plaintiff Burgess attests to the fact that there is no place in the “purported complaint"
 that JPMORGAN CHASE BANK, NATIONAL ASSOCIATION“the mortgage” No
 evidence of “the mortgage” has been produced. “A mortgage” that was evidenced was
 clearly only evidence that one is on file at the county registry as it has the registry
 numbers in the upper righthand corners of the document entered as evidence as “the
 Mortgage”. Furthermore it is not a representation of “the Genuine mortgage” that
 Plaintiff Burgess may have signed nor can anyone testify that is it is, as it also has been
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 14 of 141                  PageID #: 20
    Case 19-02014       Doc 39   Filed 03/26/20 {Entered 03/26/20 16:23:28        Desc Main
                                  Document     Page 5 of 29



  bifurcated as evidenced by the several staple holes and the lack there of the one staple
  that was in it. See Exhibit # 2, complaint and Exhibit # 4, mortgage attached herein.
  (9.6) and all (“the”) assignments
  Plaintiff Burgess attests to the fact that there is no place in the “purported complaint”
  that JPMORGAN CHASE BANK, NATIONAL ASSOCIATION ever showed evidence
  that they have "the assignment” only that the county has a copy or what purports to be
  an assignment that the county has as evidenced by the counties book and page
  numbers See Exhibit # 2, complaint and Exhibit # 5, assignment and Exhibit # 6,
  ratification of assignment attached herein.
  (9.7) and (“the”) endorsements of “the” mortgage note
  Plaintiff Burgess attests to the fact that there is no place in the “purported complaint”
  that JPMORGAN CHASE BANK, NATIONAL ASSOCIATION that there is absolutely no
  mention of “the” endorsements or any type. See Exhibit # 2, complaint attached herein.
  10.
  Plaintiff Burgess Motions this Bankruptcy court to exercise the strengths of an impartial
  arbiter and use the evidence and memorandum of law provided herein to reconsider the
  Order to Dismiss dkt 37 and set for hearing date 4/29/2020 to review Plaintiff’s revised
  motion to disqualify Defendant JPMorgan Chase as a creditor.


                 01/^                                      Hillary Massey, for JPMorgan
  Justin W Burgess                    Date                 Chase, hmassev@sayfarth.com
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 15 of 141                                                     PageID #: 21
      Case 19-02014                    Doc 39       Filed 03/26/20 Entered 03/26/20 16:23:28                         Desc Main
                                                     Document     Page 6 of 29




             SUPERIOR'COURT
                                                          STATE OF MAINE                             .
                                                                                          L 5TRICT COURT
                                                                                                              RETURN
                    OXFORD                                                                Location   SOUTH PARIS
                                                                                          Docket No._ _     ' ■



                                                                                                                             Burgess
                     y-                                                                  S
                                                                                        M.R. Civ. P. 4(d) "                Exhibit 1
                                                                                                                        Adv Proc. No. 19-
                   456 Gore Road_____                      .Address                                                          02014
                 ■ Otisfleld, ME 04270


                   The Plaintiff has begun a lawsuit against you in the (District) (Suparior) Court, which       State Court Case
            holds sessions at (street address) . ;26, Western Avenue, in the                                   Superior Court Docket
            Town/City of                     South Parts        County of                     Oxford    , Mail     No. RE-17-46
            If you wish to oppose this lawsuit, you or your attorney MUST PREPARE AND SERVE
            WRITTEN ANSWER to the attached Complaint WITHIN 20 DAYS from the day 1                                SUMMONS
            Summons was served upon you. You or your attorney must serve your Answer, by deliverin
            copy of it in person or by mail to the Plaintiff’s attorney, or the Plaintiff, whose name and addi
            appear below.. You or your attorney must .also' file the original of your Answer with the court Clerk stamped into case
            mailing it to the following address: Clerk of (District) (Sn^erie^ Court,          ’      ______ x file on 10/26/2017
                         . .26:WesternAvwme               _         j           South Paris      Maine        042^
                         (Mailing Address)                              (Town, City)
           . before, or within a reasonable time after, it is served. Court rules governing the p                       Dated by Plaintiff
             service of Answer are found.at www.courts.maine.gov.... .                                                  JPMorgan Chase
                                                                                                                       attorney Leonard F.
                    .•          ....                - ■■ IMPORTANT WARNING
                                                                                                                             Morley
            IE .t6u FAIL.i6 SERVE AN ANSWER WITHIN T^MlME STATED. ABOVE, OR
            AFTER YOU ANSWTER, YOU FAIL TO AITK                            AT ANY TIME THE CO
            NOTIFIES YOU TO DO SO, A JlJDGMEN'if BY DEFAULT MAY BE E                                            D
            AGAINST YOU JIN YOUR ABSENCEJFOR THE MONEY DAMAGES O                                                R
            RELIEF DEMANDED IN THE CO                          T. IF THIS OCCURS, YO                    LOVER
            MAY BE ORDEItED TO PA                  ART OF YOUR WAGES TO THE                       AINTEFF Gift
            YOUR PERSONAL PRO?                  Y, INCLUDING BANK ACCOUNT                         YOUR REAL
            ESTATE MAY BE T                N TO SATISFY THE JUDGMENT.                       YOU INTEND TO
            OPPOSE THIS               SUIT, DO NOT FAIL TO ANSWER                    THIN THE REQUIRED
            TIME.'
                         ii believe the plaintiff is not entitled to ail    part of the claim set forth in the
            Co        t or if you believe you have a claim of your o     against the Plaintiff, you should talk to
          ^^rlawyer. If you feel you cannot afford to pay a fytrto a lawyer, you may ask the clerk of court
  ,         for information as to places where you may seeMfjgal assistance.
  SQPSC/DC/OXFCO                                                                                (SealpfCowrt)
  0CT26’17pm9:01               ............
            Date:          ’       October 2,2017
                                                                                                    Clerk:
               IlebhatO.Morley Jr., Esq., #3856
                   ' -Shapfio & Kdorley, LLC
                 707 Sable Oaks Drive, Suite 250          Address
                    South Portland, ME 04106
                          207-775-6223                    Telephone

            CV-030, Rev. 06/14
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 16 of 141                                  PageID #: 22
     Case 19-02014               Doc 39   Filed 03/26/20 Entered 03/26/20 16:23:28                 Desc Main
                                           Document     Page 7 of 29




                                                                       DISTRICT COURT
              STATE OF MAINE                                               SOUTH PARIS
              OXFORD, 93.                                                  CIVIL ACTION | ,
                                                                   DOCKET NO. ■RH’-/7- 7 y

               ***************************** **************** *■'* * v                                    Burgess

               JPMORGAN CHASE BANK, NATIONAL
               ASSOCIATION                                                                             LPageXof4)
                         PLAINTIFF                                                                   Adv Proc. No. 19-
               v.
                                                                                                           02014
               JUSTIN W. BURGESS A/K/A JUSTIN
               BURGESS                                                                           State Court Case
                                                                                                 Docket No. RE-17-46
    Oxford County CourtsDEF®NDANT
                                                                                                 COMPLAINT
         S£.p 2'ji'2o)’7 *******************************************
                                                                                                 Clerk Stamp Dated
    Consolidated Clerks Office                                     .           ---------------
                             COMPLAINT FOR FORECLOSURE BY CIVIL ACTION                           9/27/2020
                                 TITLE TO REAL ESTATE IS INVOLVED
                                                                                                 State Plaintiff:
                                                                                                 JPMorgan Chase
               456 Gore Road, Otisfleld, ME 04270
               Eastern Oxford County Registry of Deeds Book 4578, Page 99


                     NOW COMES the Plaintiff, by and through its attorneys, Shapiro &
               Morley, LLC, and complains against the Defendants    ant to 14 M.R.S. §
               6321 et seq, saying further as follows;

                     1.    Plaintiff JPMorgan Chase Bank, National Association has a mailing
               address of 3415 Vision Drive, Columbus, Ohio.43219 and certifies that it is the
               owner of the subject Note.

                    2.     Defendant Justin W, Burgess a/k/a Justin Burgess is an
              individual residing upon information and belief at 456 Gore Road, Otisfleld, ME
              04270.,

                    3.    Justin Burgess is the owner of certain real property located at 456
              Gore Road, Otisfleld, ME, by virtue of an Abstract of Divorce Decree dated June
              3, 2016 and recorded in the Eastern Oxford County Registiy of Deeds on June
              3, 2016 in Book 5284, Page 666.

                    4.    In order to protect the borrower's privacy, certain personal
              information of the borrower (such as loan, account, social security numbers,
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 17 of 141                             PageID #: 23
   Case 19-02014      Doc 39      Filed 03/26/20 Entered 03/26/20 16:23:28                   Desc Main
                                   Document     Page 8 of 29




          telephone numbers, and birth dates), may have been partially or completely
          redacted on the exhibits attached to this Complaint.

                 5.    On April IS, 2010, Justin W. Burgess executed and delivered to
          Merrimack Mortgage Company, Inc. a certain promissory note in the original
          principal amount of $122,448.00 (the "Note").     errimack Mortgage Company,
          Inc. executed an endorsement in blank: appe       g oh the Note, rendering the
          Note enforceable by the party that is in possession of the original Note. A copy
          of the Note is attached hereto as Exhibit A.

                6.      To secure the Note, Justin W. BurgesX and Jessica L. Gagne
          executed and delivered to Mortgage Electronic Registration Systems, In
          nominee for Merrimack Mortgage Company, Inc., its sublessors and ass:      Burgess
          mortgage in the amount of $122,448.00 which mortgage t\as recorded or
          20, 2010 in the Eastern Oxford County Registry of Deeds    Book 4578      Exhibit 2
          99 (the "Mortgage"). A copy of the Mortgage is attached heXeto as Exhi   (Page 2 of 4)
          The premises is known as 456 Gore Road, Otisfleld, ME 04 0, and is     Adv Proc. No. 19-
          particularly described in the Mortgage (the “Premises”).
                                                                                      02014

                                                                                      State Court Case
                  8.    The Mortgage was assigned by Mortgage Electronic Re^st Docket No. RE-17-46
           Systems, Inc., as nominee for Merrimack Mortgage Company, Ifw COMPLAINT
           successors and assigns, to JPMorgan Chase Bank, National Associate
           assignment recorded September 20, 2012 in Book 4896, Page 136, and r
           by Merrimack Mortgage Company, Inc., by ratification of assignment res "a certain promissory
           July 20, 2015 in Book 5233, Page 133. Copies of the assignments are ati note" wording and not
         . hereto as' Exhibit C.
                                                                                      associating with "the"
                  9.    Justin W. Burgess is presently in default on the Note, having genuine note. This is
           to make the monthly payment due March 1, 201.4, and having failed to not compliant with MRS
           all payments dues thereafter, thereby breaching a condition of the Mortga; 14 § 6321

                10. Plaintiff certifies that all steps mandated by law to provide nc
          the default and of the right to cure have been taken and strictly performe

                14,. By letters dated July 11, 2017, Justin W. Burgess was provided
          notice that the Note was in default and of the right to cure the default, and
          payment thereon was demanded. A Copy of the notice is attached hereto as
          Exhibit D.

                 12. The notice was given by first class mail, postage prepaid with, a
          United States Postal Service certificate of mailing on July 11, 2017 and
          therefore expired on August 18, 2017.
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 18 of 141                          PageID #: 24
   Case 19-02014      Doc 39      Filed 03/26/20 Entered 03/26/20 16:23:28                Desc Main
                                   Document     Page 9 of 29




                13. The default has not been cured.and, in accordance with the Note
          and Mortgage, the entire principal amount outstanding, accrued interest
          thereon, and all other sums due under the Note and Mortgage have been
          declared to be presently due and payable.

                 14. As of September 30, 2017 the following amounts are due the
          Plaintiff, exclusive, of costs of collection, including attorney's fees, under the
          terms of the Note and the Mortgage:

          Principal Balance                                               $115,253.93
          Accrued Interest                                                  22,714.56
          Property Inspection Fees                                             210.00
          Escrow Advance                                ■________           11,762.40
          Total                                                           $149,940.89

          Additional interest is accruing on said principal balance from said date at a
          rate of $16.97 per day.

                15. Plaintiff anticipates that additional disbursements will be made for
          attorney's fees and other seivices rendered during the foreclosure and sale.

                 16. By virtue of a breach of condition of the Note and Mortgage,
          Plaintiff hereby demands the foreclosure of the Mortgage and the sale of the
          Premises.

                WHEREFORE, Plaintiff prays that this Honorable Court:

               A.     Determine that there has been a breach of condition of the
          Mortgage;

                B.     Determine the amount due on the Note and Mortgage, including
          principal, interest, reasonable attorney's fees, court costs, and other expenses;

                C.    Find Justin W. Burgess liable for any deficiency balance remaining
          due to Plaintiff after the sale of the Premises and application of the proceeds of
          sale;

              D.    Issue a Judgment of Foreclosure and Sale in conformity with Title
          14M.R.S. §6322;


                E.     Order exclusive, possession of the Premises to the Plaintiff upon the
          expiration of the statutory ninety (90) day period of redemption and direct the
          Clerk to issue a writ of possession at the request of the Pkdntiff; and
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 19 of 141                          PageID #: 25
   Case 19-02014      Doc 39     Filed 03/26/20 Entered 03/26/20 16:23:28                Desc Main
                                 Document      Page 10 of 29




                F,    Grant such other and further relief as the Court may determine
          proper.
                                                                                                 Burgess

                 Dated at South Portland, Maine, this Sjpxlay of September, 2017.              Exhibit 2
                                                                                             (page 4 of 4)
                                                                                        Adv Proc. No. 19-02014
                                          Respectfully submitted,

                                          JPMori       iase Baulk, National Associ,         State Court Case
                                                                                           Docket No. RE-17-46

                                              Leonard F, Morley, Jr., #3856.                  Plaintiff
                                              Attorney for Plaintiff                        "COMPLAINT"

          SHAPIRO & MORLEY, LLC                                                       ■State Plaintiff:
          707 Sable Oaks Dr., Suite 250                                               IPMorgatn Chase
          South Portland, Maine 04106
          (207) 775-6223
                                                                                      "By": Plaintiff JPMorgan
          14-021485                                                                   Chase attorney Leonard F.
                                                                                      Morfey^in /25/2017.

                                                                                      The word "By" means that
                                                                                      this complaint is not
                                                                                      "certified" as it is
                                                                                      memorialized with an
                                                                                      autograph instead of an
                                                                                      attesting signature. Thus all
                                                                                      associated Exhibits are not
                                                                                      certified. This automatically
                                                                                      fails to meet Maine Title 14 §
                                                                                      6321 "in order to state a
                                                                                      claim for foreclosure upon
                                                                                      which relief can be granted,
                                                                                      the complaint must contain
                                                                                      certification of proof of
                                                                                      ownership of the mortgage
                                                                                      note and produce evidence of
                                                                                      the mortgage note, mortgage
                                                                                      and all assignments".

                                                                                      Nowhere in this complaint
                                                                                      document does Plaintiff
                                                                                      JPMorgan Chase specifically
                                                                                      claim certified proof of claim
                                                                                      of ownership of the
                                                                                      mortgage note and the
                                                                                      mortgage.
                 In return for a loan that I hihra received, I promise to paMRS. $       IZZ/M.OO S
Case 2:20-cv-00164-LEW              Document
                amount Is culled ''Principal               1-1to thoFiled
                                             1'), pluYintorost,                05/08/20
                                                                     order of thoXondor.       Page
                                                                                         Tho Lendef is 20 of 141                                  PageID #: 26
    Case 19-02014MERBIMAC8K
                     Doc 39      Filed
                            MORrOASE    03/26/20
                                     COMIP              Entered 03/26/20
                                           , INC., A MASSACIIU3 CORPORATION'16:23:28                                                            Desc Main
                                  Document           Page 11 of 29
                            rwiaridi payments under tills: Notc'ln tlw fomi of eiiidi, ciieoit;'oS^iiorict|i onie””
                              I understand that the Lender may IranXy this Noto. Tho tender o             one who tokos this Note by\transf<
                            and who is cntltiod to reoolvo payments undoP^Ms Noto is oallod the "NotKHoldor."




                                                                            ©.SWM
                                                                              NOTE
                                                     , 20MI                                                         , MAINE
                                                                                            icily]                           [State]
                                                                                                                                           ■Exhibit A
                        456 000 ROAD
                        lyTlSimX. MAINE\4270
                                                                      [Proporly^ddross]                                                                  Burgess
                       1.      BORROWR’S PROMISE TO PAY                                                                                               Exhibit 3
                                                                                                                                           th
                                                                                                                                                    (page 1 of 2)
                                                                                                                                                  Adv Proc. No. 19-
                                                                                                                                                       02014

                                                                                                                                                   State Court Case
                       2.      INTEREST
                            Interest will bo charged on unpaid principal untU\iie Bill amount of PrInoipaNJias boon paid, I wll^ pt
                                                                                                                                                  Docket No. RE-17-46
                       interest at a yearly rate of       5.378
                            The interest rate required by this Section 2 is the ratcXwill pay belli before and df(er any default dcs<>rJ|>e
                                                                                                                                                       Plaintiff
                       in Section 6(B) of this Note.
                                                                                                                                                      "Exhibit A"
                      3. PAYMENTS
                                                                                                                                                        NOTE
                               (A) Tima and Place of Payments
                                                                                                                                                        (page # 1)
                            I will pay principal and interest by making a payment every month!
                            I will make my monthly payment on the        1ST day of each month beginning on TUNIS
                           MU)      . I will make these payments <:vory'month until I have paid all oRflio pilnelpnl and interest      an
                                                                                                                                                 tate Plaintiff:
                      other charges described below that I may owe under this Noto. Hadi monthly           raont will bo applied as\f it
                      scheduled duo date and will be applied to Interact before Principal. If, on MA           ________ 01_,       204          JfMorgan Chase
                      I still owe amounts under this Noto, I will pay those amounts to full on that dale,      loll is called tho "Ma
                      Data."
                            I will make my monthly payments at 1C45 ELM STREET, SUITE 601
                       MANCKUSIER, NH 03101                  _____      ________
                                                                                                                                                      Defects
                      or at a different place if required by tho Note holder.

                            (B) Amount of Monthly Payments                                                                                      * Multiple non-genuine
                            My monthly payment will be In the amount of U.S. $                      0.67                                        marks/alterations: 2
                      4.    BOMtOWBR'S RIGHT TO PREPAY                                                                                          swirl stampings, 2
                           I have tlis right to make payments of Principal at any time before they are duo. A payment of Prln                   punched holes at top, 2
                      only is Itnown ns a “Prepayment." When I make a Prepayment, I will tell the Note Holder In writing that I
                      doing so, I may not designate a payment as a Prepayment if I have not made all the monthly payments du                    stamps "original"
                      under tlic Noto,
                           I may make a full Prepayment or parlitl Prepayments without paying n Prepayment charge. The Not
                      HoldcrwilluscmyPrepaymentstoredueotlteamountofPrinclpalthntlowounder this Note. However, tli                              * Bifurcated - no
                      Note Holder .may apply itiy Prepayment to the aoenKrd and impaid interest on the Prepayment amount, befor
                      applying my Prepayment to reduce tiro Principal amount of tho Noto. II! I make a partial Prepayment, there wi             securing staple/fastener
                      be no changes In the due date or in the amount of my monthly payment unless (lie Noto Holder agrees it                    present, "not
                      writing to those changes.
                            ■■MBnMMBaMMi                                                         ft                                             negotiable - not
                                  ’ ‘' 1 1                                                ,"1tolS
                      MAINE FIXED BATH NOTIKInjIo FsmHyJtouuto Mao/Mdio Mao UNIFORM JNSTRUMENT
                                                                                                                                       _
                                                                                                                           FORM 3220 I/O
                                                                                                                                                security grade, not
                      Fotm *                                                     I of 3                                                         proof of ownership"
                                                                           OBIGINAIi

                                                                                                                                                ’l' Multiple staple holes,
                                                                                                                                                evidence of
                                                                                                                                                alteratlon/tamperlng
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 21 of 141                                                                       PageID #: 27
   Case 19-02014          Doc 39              Filed 03/26/20 Entered 03/26/20 16:23:28                                                 Desc Main
                                              Document      Page 12 of 29




               5.   LOAN CHANGES
                 w *          ■
                    If ajjw, which applies Io this loan and which sets maximum Ioan ctateos, Is finally Inteipretcd so that the
               interest dfxrthor loan charges collected or to bo collected In connection With this loan exceed the pennlhcd
               limits, then\a) any sucli loan charge shall be .reduced by tfw amount necosssry to reduce tlio charge to the
               permitted llml\and (b) any sums already collected from mo which exceeded ptamltted limits will be refunded
               to mo. The No     oidcr may clioono to make this refund by reducing the PrliwlM I owo under this Noto or by
               making a direct p            Home.   If a refund reduces Principal, the roductlon'W/Dl be treated as a partial
               Prepayment.
                                                                                                                                                  Burgess
              <5.   BORROWER’S F              URE TO PAY AS REQUHUJD

                    (A) Lato Charge for Ofyrdue Payments
                                                                                                                                                Exhibit 3
                  If the Noto Holder has not        Ived the Ml amount of any monthly payment by tho                  IS calendar
                                                                                                                                              (page 2 of 2)
                                                                                                                   cliarge’ will be
              days after Uro date It Is duo, I will    a late charge to tho Noto Holder. The amount of                                      Adv Proc. No. 19-
                      5.000      % of my overdue       ment of principal and interest. I will pay flits lato c     e promptly but
              only once on each late payment.                                                                                                    02014
                    (B) Default
                    If I do not pay the full amount of each     Ihly payment on the date li Is due, I will be In defdpll,
                                                                                                                                            State Court Case
                    (C) Notlee of Default
                                                                                                                                           Docket No. RE-17-46
                  If I am la default, die Note Holder may send         written notice tolling ore that If I do not pay IhX overdue
              amount by a certain date, the Noto Holder may requfltq me to pay immediately die full amount of
              which lias not been paid and all the Interest drat I owe   dial amount, That date must be at least 30 dajp after
                                                                                                                                ipnl
                                                                                                                                               Plaintiff
              the date on which the notice Is mailed to uw or deliy         other mcarrs.
                                                                                                                                              "Exhibit Aw
                    (D) No Waiver By Note Holder
                  Even If, at a time when I am In default, the Note Holder       not require mo to pay immediately In full V                      NOTE
              described above, the Noto Holder will still have the right to do shjf I am In dofanlt at a later time.
                                                                                                                                             (pages # 2 thru 4)
                    (E) Payment of Note Holder’s Costs and Expenses
                  If the Note Holder has required me to pay Immediately in full as      cribed above, die Note Holder will
              have the right to be paid back by me for all of Its costs and expenses in    rcbig this Note to the extent not             State Plaintiff:
              prohibited by applicable law. Those expenses Inriudo, for example, reasohqble attorneys’ fees.
                                                                                                                                         JPMorgan Chase
              7.    GIVING OF NOTICES
                   Unless applicable law requires a different method, any notice dial must be gl    to me under this Note will
              be given by delivering it or by mailing it by first class mail to mo at the Propefto Address above or nt a                       Defects
              different address If I give die Note Holder a notice of .my different address.        \
                   Any notice that must;              L.
                                          bo given to the Noto Holdcrunder this Noto will bo given       delivering It or by
              mailing It by first class mall to the Noto Holder at (headdress stated In Section 3(A) abbip or at a different
              address If lam given a notice of that different address.
                                                                                                                                         * 2 Punch out holes
              8.    OBLIGATIONS OF PBUSONS UNDER THIS NOTE                                                                               evidencing alteration,
                   If more than one person signs tills Noto, each person Is fully and personally obligated to      alt of the            document is "not
              promises made in this Note, Including the promise to pay the fidl amount tiwod. Any persorNwho la a
              guarantor, surety or endorser of this Noto is also obligated to do these things. Any person who takes m(er these           genuine", not "the"’
              obligations, Including tlte obligations ofa guarantor, surely or endow of this Note, is also obligated     keep
              all oftlie promises made in this Note. The Note Holder may enforce its rights under this Note against \ach                 mortgage note as per
              person Individually or against all of us togoflier. This means that any one of us may be required to pay
              the a           ed under this Noto
                                                                                                                                         Maine Title 14 sub­
                                                                                                                                         section 6321
                                                                               Initials             \
              matne mm                                     t Mao/faihllo M» UNIFORM R'SBRUMBNT                     FOSM32M 1/01
             ■ Form ■ Mi'KWN-wwoVo utauf)                          Fago i of 3                                                           * Bifurcated -no folded
                                                                   OIUCG1NAL
                                                                                                                                         corner here means
                                                                                                                                         there Is "no" securing
                                                                                                                                         staple or fastener while
                                                                                                                                         this was photocopied =
                                                                                                                                         "not negotiable - not
                                                                                                                                         security grade, not
                                                                                                                                         proof of ownership"
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 22 of 141                                                             PageID #: 28
  Case 19-02014              Doc 39                Filed 03/26/20 [Entered 03/26/20 16:23:28                               Desc Main
                                                   Document      Page 13 of 29




                                                                                                        Dpc#»     381
                                                                                                        Bhi 4578 Psi
             lot* Recording Return 'for

          MERRIMACK MORTGAGE
          .OMPANV.INC.
          ilNSELMSHW                                                                                                             Burgess
               dOl
          M          NHOHOl
                                                                                                                               Exhibit 4
          LOANNO.t                                                                                                            (page 1 of 2)
          B41CROWNO4                                                                                                        Adv Proc. No. 19-
          TITLE NO,«
          PARCEL NO-1
                                                                                                                                 02014
                                                          (SPACE AIOVBTHIS LINS FOli RXCOBD1NQ DATA]

                                                      MORTGAGE
                                                                                                                             State Court Case
                                                                                                                            Docket No. RE-17-46
                                                                                                                                 Plaintiff
          WORDS WED OFTEN IN TIBS DO
          Words used In multiple sections of this dotrunumt are
          5, 8, 10,11,13,13,20 and 21. Certain rules regardl
                                                                  ned botow and other worts arc defined In Sections 3,         “Exhibit B"
                                                                     usaaoof wonts used In Ulis document are also
          provided In Section 13,
          (A) ."Security Instrument" menus Uris dooumnl, which is d        W.______ t«          ,    MM . Tito tem
                                                                                                                              MORTGAGE
          “Security Instrument' Modes any Riders recorded with tho S       ty Moment.                                            (page #1)
          (B) "BoiTowo?1 means
           JUSTIN W BURGESS, AND JESSICA LI \GNB, BIBBANP AND

                                                                                                                          State Plaintiff:
                                                                                                                          UPMorgan Chase
          who aojuettmea wUl bo allied “Donowtr" and sonictlnics simply “I'' or "mo." ^Borrower" Is jrsntlnB a
          mortgage under this Security Imilrumont. ’Bomwor" Il nolwcossorily thossmo a, Hickerson or Persons who
          signed tiro Noto. Tho obllgallons-of Borrowers who did no! elan tiro Noto nto explained M or In Section 13,
          (C) “MBRS" Is Mortgago Elect ranis Registration SycWiru, Jno. MBRS Is a aopttxalo corpora   that Is acllnj            Defects
          solely as a nominee for Lender rind Lender’s slwockok and assigns. MBRS Is organized and exl a under tho
                                     im ,<M”" ""d               num'Mr °f P-0' B®* 2()3<l'

          (D) "Louder" meata                                                                                              ♦Book and page
           MtlMUMACK MORTGAGE COMI’ANV, INC., A MABaACIHISCTfS CORPORATION
                                                                                                                          number alteration.
          Lender Is o wrporatlon or asroolallonwliloli exists under tto jaws of            "
                                 MASSACHOSSTTS                                , Lender’s addms Is                         Evidence that this item
           W8 BLM STRIM SuniB Mi; MANCltMTim, MB 03101_________________________ _________________
          Bxooptas provided InScclloiislSand 20, the terra "Lender’ may Include any person who lalos ownership of         Is not "genuine" and is
          the Nolo and lids Security Irutrununl.
                                                                                                                          not in the "possession"
          (B) "Noto” menus the nolo aianed by
           JUSTIN WBORGBSS________ _____ _______            ,_________ _______ _______________________________            of State Plaintiff
          mid dated       ,r r APRIL-iS            ;          , Tlw Noto shows Oiat Its signor or slatw owo Lender        JPMorgan Chase
           ONTO HUNDRED TlVWTy TW(rWK$AN0 IfflOwW                               WIT AND 00/100^----- - DoUare
          (U.S. $----- -        122,448,00 ) plug Imcmst npd promise to pay lids debt in Porfodlo Payments and to
          pay Iho debt in full by    MAY          0Vr. 2040 , .
          (F) wI»rop*lyM means live properly that la described befow In tho swtion (Wed "DMoriptlon of tho Proporty" or
                                                                                                                          * Bifurcated -no
          any portion of the Property.
                                                                                                                          securing staple or
          (G) “Sums Securcir1 mow the unpaid bnlanco of amounts described below In Ute section titled "Bonow'n
          lYunrfor to Lender of Rights in the Property.”                                                                  fastener = evidence that
          (II) ,•Loan,’ means tho debt ovidonccd by the Noto, plus intwoit, any prepayment charges and hto charges duo    this is "not a security
          under tlia Noto, and all sums duo under (fete Security Instrument, plus InloitoBL
                                                                                                                          grade" document,
                                                                                                                          cannot be used as
                                                                        tnlllots 3^,                                      proof of ownership" to
          MAIN&SiDgte RunMy-Fannlo Mu#/Frcddlo Mao UNIFORM INSTRVMJDNT - MJJRS                         Fornt 3020 1/01    comply with Maine
          DocHerJteMcujNc. rmh » mutoarlmuo           Pogo 1 of 12
                                                      ORIGINAL                                                            Title 14 sub-section
                                                                                                                          6321 "In order to state
                                                                                                                          a claim for
                                                                                                                          foreclosure..."
                     tits Property to MBRSfiolely as nominee for Lender mid Lender's eucowsors and Mslpns). and io Its suwossora
                     and aasigiis, forever. Tills moans Hint, by signing tills Security Instrument, I am giving Lender Bimo rights that
                     are stated bl Ulla Security Instrument and also llioso riulite Utal Applicable Law elves to Lenders who hold
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 23 of 141
                     mortgages on real property. Those rights that Applicable Law gives to London who bold nwrtgngos on real                 PageID #: 29
   Case 19-02014    Doc 39               Filed 03/26/20 Entered 03/26/20 16:23:28
                     property Include flioso rights known ns “Mortgage Covcninta." I cm . giving Londor lheso rights to protect
                     Lender ftomposslblo leases Uiat might reamt If:.
                                                                                                                                           Desc Main
                                             Ute Loan Is not paid when duo;Page 14 of 29
                                           Document
                          (A) Some or all of
                          (B) I fall Io pay, witli Interest, any asnounts diet Lcndor oponds widorSeoltonP of this Security Instrument
                          to protect tho value of Bio Property and Lender’ll rights In the Property I or
                          (C) I fall to keep any of my otter promises and agrecmente under thia Security Instalment. Those amounls
                          are Ute “Sums Secured."
                      I understand and agree dial MEES holds only legal tlUo to Ilin rlglils granted V/ me In this Security Instrument,
                      but, If nocccBuity to comply with taw or custom, MBRS (as nonunoo Cor Lenrwr and Londort sucoossora and
                      assigns) has Uns right:

                                                                                                              pocdi andsaas
                          (A) to oxordso any oral! of those righto. Including, but notllmllcd to, Ute rlghtto fonctoso   sell tho
                                                                                                              Bk> m Pul 100
                          Property; and
                                                                                                                                                   Burgess
                          (S) to take ony action required of Lender including, but not limited Io, rdisastng ord canceling Hilo Security

                   (I) "
                          Instnunonl.
                            tils" means all Rldnu Io Pita Security luslnrment Bint ere exeiailed by Borrower. The following Riders               Exhibit 4
                   are to bo\:ociilcd tty Borrower [cheek box us appllrablo]:
                           AdJthjrtlo Rate Rider          Condominium Rldot                         Socond Homo Rider
                                                                                                                                                (page 2of 2)
                           Balloon                    O Planned Unit Dovolopmont Rld ir             AastimpHon Rldar                          Adv Proc. No. 19-
                       Q 1-4 Femlty'Wder                  Blv/eokly Payment Rldar                  Inter VIvosTruil Rider
                           Olhorfs) [epocllyji
                                                                                                                                                   02014

                   (J) '‘Applicable Law" mo«n»     controlling applicable fodoroh slate snd local stalutc:), regulations, ordinances
                   and admlnlslmtlvo rules and ord  (Uwthiivothocffocioflaw) as well as all appllcnblo final, non-appoalablo
                                                                                                                                              State Court Case
                   Judbilal opinions.
                                                                                                                                             Docket No. RE-17-46
                   (K) "Community Aaroclatlon Dues,             mid Asaaismeute" menu nil duel, foes, msessmonls and ollior
                   riterges iltel are Imposed on Borrower or flic Property by «oondomlnlwn association, homeowners Msoolatlon
                   or similar orgaplulton.
                                                                                                                                                 Plaintiff
                   (L) "ElectronicTiiinlsTransfer" mo»nsmy             forofftads, olheflhan a ImnsMllon orlglnnlctl By ohook,                  "Exhibit B"
                   draft, or slmUer paper talrument. whlcli bi InltlalMthrough an eloolronla lannbml, telophonlc Inslmmenl,
                   computer, or msgnello tape so as to order, Instruct,    aulliorhe o ftnnnelal kislllotlon to debit or credit an
                   account. Swell term includes, but h not limited lo\polnt-oftnlo tauufers, automated teller machine                          MORTGAGE
                   InaMollonr, Iransfers Initialed by toleplionr, wire IraMfeta, and automated olenrlngliouso iransttan.
                                                                                                                                                  (page # 2)

                                                                                                                                           State Plaintiff:
                                                                                                                                           JPMorgan Chase


                                                                                                                                                 Defects

                                                                                                                                           * Book and page
                                                                                                                                           number alteration.
                                                                                                                                           Evidence that this item
                                                                                                                                           is not "genuine" and is
                                                                                                                                           not in the "possession"
                                                                                                                                           of State Plaintiff
                                                                                                                                           JPMorgan Chase

                                                                                                                                           * Bifurcated -no folded
                                                                                                                                           corner evidencing
                                                                                                                                           securing staple or
                                                                                                                                           fastener and extra holes
                                                                                                                                           present = evidence that
                                                                                                                                           this has been tampered
                                                                                                                                           with and is "not a
                                                                                                                                           security grade"
                                                                                                                                           document, cannot be
                   WAN NO.: MMH                                                                                     _______ ——.
                   MAINBSInsloftmllyJtanteMlie/FreddleMaiitlNIlfORMlNSTRXlMltNT-MB'llS                              FwntSOM 1/M
                                                                                                                                           used as proof of
                   DixrurSumalm ronM.MWOUBtMM                  ROS’ 1 efW
                                                                ORIGINAI,
                                                                                                                                           ownership" to comply
                                                                                                                                           with Maine Title 14
                                                                                                                                           sub-section 6321 "in
                                                                                                                                           order to state a claim
                                                                                                                                           for foreclosure..."
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 24 of 141                                                                     PageID #: 30
   Case 19-02014             Doc 39              Filed 03/26/20 Entered 03/26/20 16:23:28                                           Desc Main
                                                 Document      Page 15 of 29




                                                                                                             I l-xhlbit c


                                                                                               Ooc-M 4            ,
                                                                                               Bln     Tsi      1U



                                                                                                                                        Burgess
                                                                                                                                      Exhibit 5
          ■■■■■■II                                                                                                                  (page lof 1)
                                                                                                                               Adv Proc, No. 19-02014
                                           ASSIGNMENT OF MORTGAGE
          Contact JPMORGAN CHASE BANK, N.A. for Orfe Initrument 780 Kansas Lane, Suite A, Monroe, LA                               State Court Case
          71203, telephone tflSdd,) 758-8747,'Mitch Is resnoiislble for receiving pnymwtte.
          FOR GOOD AND VALUABLE CONSIDERATIONr the Sltflldengi'ofMdoh h Irewby ^nwledsod,the                                      Docket No, RE-17-46
          undersigned, MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. AS NOMElEg FOR
          MERRIMACK MORTGAGE COMPANY, INC, ITS SUCCESSORS AND ASSIGNS pO »OT 2«M,
          FLINT, MI,.48501 by those presents does convey, grant, assign, transfer and sot over the.desojlbrtl MortlpgJ
                                                                                                                                      Plaintiff
          with all Interest snored thereby, all lions, tmd any rights dun or to bMome duo fo«eonto JPMORGAN.CMASK
          BANK, NATIONAL ASSOCIATION, WHOSE ADD1WSS W W KANSAS LANE, MC SOOD, MONROE,                                                "Exhibit C"
          LA 71203 (S60755-8747, ITS SUCCESSORS OR ASSIGNS, (ASSIGNEE).

          Said Mortgage Is doted 04/15/2010, made by JUSTIN W. m GESS AND JESSICA L CAGNI: to                                     ASSIGNMENT
          MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, IN~Tnd recorded on 04/20/2010 In Volume
          4578. Page 99, Jn the olilce of the Recorder of OXFORD BAST County, Mflno..                                                  (page #1)
          IN WITNESS WHEREOF, Ibis Mslgomant was executed on.JzX                        12 (MMfflD/YYW).
          MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, IN,......                          MINER FOR MERRIMACK
          MORTGAGE COMPANY, INC., ITS SUCCESSORS AND ASSIGNS                                                                 State Plaintiff:
                                                                                                                             JPMorgan Chase
          By>

                ASST, SBCKBTAHY       ,
                                                                                                                                        elects =
          STATBpJt LOUISIANA PARISH OP OUACHITA                                    ,  . .   ,      ,,
          On 0^ Z. OS. AH)12 (MMZDD/Ym), Before me eppewed JUUSlM-JsS-Ll _
          to me personally known, who did say that he/nhe/they is/nro the ASST. SECRETARY of
          ELECTRONIC .REGISTRATION SYSTEMS, INC. AS NOlrUNBE FOR MBKRMACK MORT
          COMPANY, INC,, ITS SUCCESSORS AND ASSIGNS rind that (Ire Instrument wee slgmd on behalf ol'Ltho
                                                                                                                             *document is not genuine as
          corporation (or ewoofollon), by authority from Its board of dlraoton, and that he/she/they acknowledged
          Instrument to be the free act and deed of the cotpomtlon (or tissoolatlon).
                                                                                                                             it has been altered with book
                                                                                                                             and page stamp for County
                                                                                                                             Registry of Deeds which is
                                                                                                                             also "not" evidence that
          Notary Flibllo-State of LOUISIANA
          Commission oxpirss: Upon My Death                                                                                    laintiff JPMorgan does not
          Ihstrumtint ProparaiByyRefurnTo; EXonco/NTCj 2100 Alt, IP North, Palm Harbor, BL 3<l<>83                           pd^sess Chase, has evidence
                                                                                                                             of o     ership by the

                                                                                                                             *MERS is not registered to
                                                                                                                             do business in the state of
                                                                                                                             Maine-see Burgess
                                                                                                                             Exhibit 7
                                                                                                                             This assignment is void:

                                                                                                                             cannot be used as proof of
                                                                                                        Racalved   . _ ,
                                                                                               Ructu’ded Raslwnr of Oeatls   ownership" to comply with
                                                                                                 SOP 20t2012 1»>O7A
                                                                                                  Oxford East Countu         Maine Title 14 sub-section
                                                                                                Patricio R. Bhttei'Mn
                                                                                                                             6321 "in order to state a
                                                                                                                             claim for foreclosure..."
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 25 of 141                                   PageID #: 31
   Case 19-02014        Doc 39      Filed 03/26/20 Entered 03/26/20 16:23:28                       Desc Main
                                    Document      Page 16 of 29




                                                               IOOC7483      BU6233 PG 133


                                    RATIFICATION OF ASSIGNMENT

           KNOW ALL BY THESE PRESENTS THAT Merrimack Mortgage Company, Inc.
           (‘'Lender”), as named Lender in the mortgage described below originally granted
           to Mortgage Electronic Registration Systems, Inc. ("MERS”), as nominee for
           Merrimack Mortgage Company, Ino., its successors and assigns, does hereby
           ratify'the transfer of said mortgage as memorialized by the previous assignment of
           said mortgage by MERS to JPMorgan Chase Bank, National Association dated-                        Burgess
           September 5, 2012 and recorded on September 20, 2012 in the Eastern Oxford
           Colmty Registry Qf Deeds In Book 4896, Page 136, and confirms its intent that                  Exhibit 6
           MERS had tire right to assign, enforce, and discharge Lender’s interest in the
           mortgage, and does, hereby ratify all action taken in accordance with said                   (page lof 1)
           assignment by said assignee or any subsequent assignee. To the extent necessary            Adv Proc. No. 19-
           to effectuate said assignment or any actlpn taken by a subsequent .assignee.
           Lender does hereby grant and convey all interest as Lender under said mortgage                  02014
           to MERS effective as of the original date of said mortgage.
            The purpose of thia instrument is to resolve any question as to MERS’ authority tc        State Court Case
        * ' assign Lender's interest in said mortgage as raised by the Maine Supreme. Judicia        Docket No. RE-17-46
            Court’s- decision in Bank of America v. Greenleaf, 2014 ME 89.
                                                                                                          Plaintiff
           Borrower:           Justin W. Burgess and Jessica L. Gagne                          "RATIFICATION OF
           Lender:             Merrimack Mortgage Company, Inc.
           Mortgagee:          Mortgage Electronic Registration Systems, Inc., as nominee fol   ASSIGNMENT"
                               Merrimack Mortgage Company, Inc., its' successors and
                               assigns-                                                              (page # 1)
           ■Registry:          Eastern Oxford County Registry of Deeds
           Recording Date:     April 20, 2010                                                 State Plaintiff:
          'Amount:             $122,448.00
           Book:               4578                                                           JPMorgan   Chase
           Page:               99
                                                    1 MerrimacVMortgage Company, Inc.
                                                                                                         Defects =
           Dated:.                                     By:              r--------------------
                                                       Title:         ^3 (Zi
                                                       Ty.pe/Pnnt Name: yLL_______           Plaintiff Is admitting
           STATE OF                                                                          that there is a defect
           COUNTY OF
                                                                                             with their Exhibit C as
                Personally appeared before me this_ _ 9        .dayof                 , 201]
                                                                                             MERS is not registered
           the above-named                      y f <2 :>k. vM        on behalf of Merrimac to do business in the
           Mortgage Company, ,'tac. and acknowledged the foregoing to be his/her free a
             - - - - *-     ••        ....               t        A                          state of Maine -- see
                                                                                                  Burgess Exhibit 7
                               / /coM&w 'l              TypO/Print Nape:.
                                                        Notary Public            .                This assignment Is void:
                               I                        My Commission Expires: 7
                                1                                                                 This Is evidence of
                                                   feoorclad: Oxford East County 7/20/2018 10:S   failure of "certification
                                                   PstrJola A Shear man Ftaglskar of Deads
                                                                                                  of ownership" to
                                                                                                  comply with Maine
                                                                                                  Title 14 sub-section
                                                                                                  6321 "in order to state
                                                                                                  a claim for foreclosure
                                                                                                  upon which relief can
                                                                                                  be granted"
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 26 of 141                           PageID #: 32
   Case 19-02014    Doc 39      Filed 03/26/20 Entered 03/26/20 16:23:28                  Desc Main
                                Document      Page 17 of 29




                                                                                             [Jurgess
                                                                                           Exhibit 7
                                                                                         (page lof 2)
                                                                                    Adv Proc. No. 19-02014
                                             State ofMaine
                                                                                       State Court Case
                                                                                      Docket Mo. RE-17-46
                                                                                         State Plaintiff:
                                                                                       JPMorgan Chase




                              Department of the Secretary of State

                          I, the Secretary of State of Maine, cartify that according to the
                   provisions of the Constitution and Laws of the State ofMaine, the Department
                   of the Secretary ofState is the legal custodian ofthe Great Seal ofthe State of
                   Maine which is hereunto affixed and that the paper to which this is attached is
                   a true copyfrom the records ofthis Department.




                                                         In Testimony Whereof, I have caused the
                                                         Great Seal of the State of Maine to be
                                                         hereunto affixed. Given under my hand at
                                                         Augusta, Maine, October 26, 2017.
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 27 of 141                                                                                                   PageID #: 33
   Case 19-02014           Doc 39                Filed 03/26/20 Entered 03/26/20 16:23:28                                                                     Desc Main
                                                 Document      Page 18 of 29



                                                                                                                                                                       Burgess
                                                                                                                                                                     Exhibit 7
                                                                                                                                                                     (page lof 2)
                                                                                                                                                          Adv Proc. No. 19-02014
                                                                                    j?>lt»RPeo SZ0.00
                                 FOREIGN
                                                                                        Fi(a No. 19990054 F Pages 1
                          BUSEflESS CORPORATION                                                                                                                State Court Case
                                                                                        Feo Paid®70
                                                                                        DCN      2022911300001 SURR                                           Docket No. RE-17-46
                               STATE OF MAINE                                           --Filed---------------                                                  State Plaintiff:
                                                                                             10/16/2002
                                                                                                                                                               JPMorgan Chase
                         APPLICATION FOR
                     SURRENDER OF AUTHORITY
                          TO DO BUSINESS
                                                                                                    Aim Copy When /U tested By Slgoahua


            Mortgage Electronic Registration
            ..... ....Systoms.,—Inc-———■—-V.                                                                   Deputy Socnituy of Slslo
                                  (Naoie nt Coiprirallos)



            Pimmant to 13-A MRSA §1308, tha iwtersignal ftrelgu corp              Bon hwehy suiwnto its authority to do tastness in                      State of
            MSlirai

            FIRST:           The Jurisdiction of Its Incorporation Is .Pplayay

            SECOND:          Tito data on which it was airthorteed to rlo business lit the        of Maine is 3.ZJ.1Z9S.

            THIRD;           The corporation Is not as of Iho date of litis application                business hi tlw State of Maine md surrenders Ils
                             autalty to do buitlness tn the state.

            FOWIt            Thu Birporalton revokes Ore authority of th roglsleral agent In               State of Maine to accept sereice of procast; it
                             consents that process In any action, suit or proceeding breed upon              ceuso of action arising in Ihti State of Maine
                             prior to the date <if tiling INs appltatlon may be served on the                    of Stele filer the data of the Bling of this
                             appllciitton.

            FIFTH:           'Ihepoabofta address to vtMh Ota Secretary of State slull iubII a copy of tiny procowservod upon him against Dio

                             corjorattonis       p,Ot       Box 2026, Ftlntr Michigan 48^011
                                                                                       (slrwl, city, stew cwt zip redo)

           SIXTH:           The address of the principal or registered offlts of (lie corparatton. whe.raver located.

                              1013 Cantre Road, Wilmington, Itelavara 19801
                                                                              (itral. rliy. swe sod alp cod^




                                                                                                         (slgnatura of w^y duly autUocIzed Individual)

                                                                                                                                                              easier
                                                                                                               (type wjrifl Umiand a




            This docwnait Jfl/Sjr be stgaedby any duty authorized Individual.

                     SUBMIT COMPIMD FORMS TO: CORPORATE EKAMININO SECTION, SECR.BTAR'V OF STATE,
                                               101 STATE HOUSE STATION, AUGUSTA,  '“■’’’J""'
                                                               THU (ZOT) 624.7740
                                                                                                                                        THIS IS EVIDENCE THAT MERS
                                                                                                                                       ASSIGMENTS ARE VOID AS MERS
                                                                                                                                  HAD NO STANDING TO DO BUSINESS
                                                                                                                                             IN MAINE


                                                                                                                                                FAILS ME Title 14 ss 6321
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 28 of 141                    PageID #: 34
   Case 19-02014      Doc 39     Filed 03/26/20 Entered 03/26/20 16:23:28         Desc Main
                                 Document      Page 19 of 29




                                                                               Burgess
                                                                       Exhibit 8 - Statute
                                                                            (page lof 3)
                                                                       Adv Proc. No. 19-02014
                                                                          MRS 14 § 6321
                                                                           State Court Case
                                                                          Docket No. RE-17-46
 Title 14: COURT PROCEDURE -- CIVIL                                         State Plaintiff:
 Part 7: PARTICULAR PROCEEDINGS                                            JPMorgan Chase

 Chapter 713: MISCELLANEOUS PROVISIONS RELATING TO FORECLOSURE OF
 REAL PROPERTY MORTGAGES

 Subchapter 6: FORECLOSURE PROCEEDINGS BY CIVIL ACTION
 §6321-A

 §6321. Commencement of foreclosure by civil action

 After breach of condition in a mortgage of first priority, the mortgagee or any person
 claiming under the mortgagee may proceed for the purpose of foreclosure by a civil
 action against all parties in interest in either the Superior Court or the District Court in
 the division in which the mortgaged premises or any part of the mortgaged premises is
 located, regardless of the amount of the mortgage ciaim. [PL 2007, c. 391, §9 (AMD).]

 After breach of condition of any mortgage other than one of the first priority, the
  mortgagee or any person claiming under the mortgagee may proceed for the purpose of
 foreclosure by a civil action against all parties in interest, except for parlies in interest
  having a superior priority to the foreclosing mortgagee, in either the Superior Court or
 the District Court in the division in which the mortgaged premises or any part of the
 mortgaged premises is located. Parties in interest having a superior priority may not be
 joined nor will their interests be affected by the proceedings, but the resulting sale under
 section 6323 is of the defendant or mortgagor's equity of redemption only. The plaintiff
 shall notify the priority parties in interest of the action by sending a copy of the
 complaint to the parties in interest by certified mail. [PL 2007, c. 391, §9 (AMD).]

 The foreclosure must be commenced in accordance with the Maine Rules of Civil
 Procedure, and the mortgagee shall within 60 days of commencing the foreclosure also
 record a copy of the complaint or a clerk's certificate of the filing of the complaint in each
 registry of deeds in which the mortgage deed is or by law ought to be recorded and
 such a recording thereafter constitutes record notice of commencement of foreclosure.
 The mortgagee shall further certify and provide evidence that all steps mandated by law
 to provide notice to the mortgagor pursuant to section 6111 were strictly performed.

 In order to state a claim for foreclosure upon which relief can be granted, the
 complaint must contain a certification of proof of ownership of the mortgage
Case 2:20-cv-00164-LEW
   Case  19-02014 Doc 39Document  1-1 Filed
                          Filed 03/26/20    05/08/20 Page 29 of 141 PageID #: 35
                                          Entered 03/26/20 16:23:28 Desc Main
                                  Document       Page 20 of 29



 note. The mortgagee shall certify proof of ownership of the mortgage note and
 produce evidence of the mortgage note, mortgage and all assignments and
 endorsements of the mortgage mote and mortgage.

  The complaint must allege with specificity the plaintiffs claim by mortgage on such real
  estate, describe the mortgaged premises intelligibly, including the street address of the
  mortgaged premises, if any, which must be prominently stated on the first page of the
  complaint, state the book and page number of the mortgage, if any, state the existence
  of public utility easements, if any, that were recorded subsequent to the mortgage and
  prior to the commencement of the foreclosure proceeding and without mortgagee
  consent, state the amount due on the mortgage, state the condition broken and by
  reason of such breach demand a foreclosure and sale. If a clerk's certificate of the filing
  of the complaint is presented for recording pursuant to this section, the clerk’s certificate
  must bear the title "Clerk's Certificate of Foreclosure" and prominently state,
  immediately after the title, the street address of the mortgaged premises, if any, and the
  book and page number of the mortgage, if any. Service of process on all parties in
  interest and all proceedings must be in accordance with the Maine Rules of Civil
  Procedure. "Parties in interest" includes mortgagors, holders of fee interest,
  mortgagees, lessees pursuant to recorded leases or memoranda thereof, lienors and
  attaching creditors all as reflected by the indices in the registry of deeds and the
  documents referred to therein affecting the mortgaged premises, through the time of the
  recording of the complaint or the clerk's certificate. Failure to join any party in interest
 does not invalidate the action nor any subsequent proceedings as to those joined.
  Failure of the mortgagee to join, as a party in interest, the holder of any public utility
 easement recorded subsequent to the mortgage and prior to commencement of
 foreclosure proceedings is deemed consent by the mortgagee to that easement. Any
 other party having a claim to the real estate whose claim is not recorded in the registry
 of deeds as of the time of recording of the copy of the complaint or the clerk's certificate
 need not be joined in the foreclosure action, and any such party has no claim against
 the real estate after completion of the foreclosure sale, except that any such party may
 move to intervene in the action for the purpose of being added as a party in interest at
 any time prior to the entry of judgment. Within 10 days of submitting the complaint for
 filing with the court, the mortgagee shall provide a copy of the complaint or of the clerk's
 certificate as submitted to the court that prominently states, immediately after the title,
 the street address of the mortgaged premises, if any, and the book and page number of
 the mortgage, if any, to the municipal tax assessor of the municipality in which the
 property is located and, if the mortgaged premises is manufactured housing as defined
 in Title 10, section 9002, subsection 7, to the owner of any land leased by the
 mortgagor. The failure to provide the notice required by this section does not affect the
 validity of the foreclosure sale. [PL 2015, c. 229, §1 (AMD).]

 For purposes of this section, "public utility easements" means any easements held by
 public utilities, as defined in Title 35-A, section 102; sewer districts, as defined in Title
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 30 of 141 PageID #: 36
   Case 19-02014 Doc 39 Filed 03/26/20 Entered 03/26/20 16:23:28 Desc Main
                                Document       Page 21 of 29



 38, section 1032, subsection 3 or 4; or sanitary districts, as formed under Title 38,
 chapter 11. [PL 2013, c. 555, §2 (AMD).]

 The acceptance, before the expiration of the right of redemption and after the
 commencement of foreclosure proceedings of any mortgage of real property, of
 anything of value to be applied on or to the mortgage indebtedness by the mortgagee or
 any person holding under the mortgagee constitutes a waiver of the foreclosure unless
 an agreement to the contrary in writing is signed by the person from whom the payment
 is accepted or unless the bank returns the payment to the mortgagor within 10 days of
 receipt. The receipt of income from the mortgaged premises by the mortgagee or the
 mortgagee's assigns while in possession of the premises does not constitute a waiver of
 the foreclosure proceedings of the mortgage on the premises. [PL 2007, c. 391, §9
 (NEW).]

 The mortgagee and the mortgagor may enter into an agreement to allow the mortgagor
 to bring the mortgage payments up to date with the foreclosure process being stayed as
 long as the mortgagor makes payments according to the agreement. If the mortgagor
 does not make payments according to the agreement, the mortgagee may, after notice
 to the mortgagor, resume the foreclosure process at the point at which it was stayed.
 [PL 2007, c. 391, §9 (NEW).]
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 31 of 141                   PageID #: 37
      Case 19-02014     Doc 39    Filed 03/26/20 Entered 03/26/20 16:23:28        Desc Main
                                  Document      Page 22 of 29




                                                                                 Burgess
      Exhibit 9 - Recap of Judge Michael
                                                                               Exhibit 9
          Fagone hearing summary
                                                                               (page lof 2)
     see DM 34 to listen to the recording. Plaintiff                     Adv Proc. No. 19-02014
             Burgess has made order                                             Critique
      on 3.25.2020 to obtain a copy of the written                Ref Dkt 37 Order to Dismiss and Dkt 34
                      transcript.                                 recording hearing on 3/16/2020 for
                                                                  Defendant Motion to Dismiss requested
     This review is being done by Plaintiff Burgess               by Defendant JPMorgan Chase Dkt 8
                     on 3.26.2020.
                                                                            State Court Case
                                                                           Docket No. RE-17-46
                                                                             State Piaintiff:
                                                                            JPMorgan Chase




 II.    Judge erred by saying Rooker - Feldman, R-F, does apply because there is no
 dispute of the facts that the State court entered a judgment of foreclosure.

        Burgess says this is a gross error, there is no lawful, legal judgment as there was
 never a lawful, legal commencement of the purported case. Perhaps Judge did not
 adequately read the Burgess Dkts 17 and 31 articulating the standing issue required to
 be met before a claim of R-F could be allowed to be considered. Without standing,
 JPMorgan Chase counsel has no authority to make any arguments, R-F included and
 this Bankruptcy court risks transcending the limits of its authority by acting on JPMorgan
 Chase counsel arguments.

 2        Judge says relief Burgess seeks is “inextricably intertwined’ with state case

         Burgess says, again, Judge’s words suggest that Judge did not adequately read
 Burgess Dkts 17 and 31 which address this. Not once did Judge use the paramount
 word “standing”. However, as explained later herein, Judge’s critique, as an impartial
 arbiter, is actually good advice for Burgess to apply improvements and re-submit.



 3        Judge relies on Hill v Town of Conway for his R-F president.

          A     Judge says court lacks jurisdiction base on R-F and if not that then

        B     Judge says based on “claims preclusion principles” in state of Maine case
 12(b)(6) - res judicata
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 32 of 141 PageID #: 38
   Case 19-02014 Doc 39 Filed 03/26/20 Entered 03/26/20 16:23:28 Desc Main
                                Document       Page 23 of 29



           Burgess says Judge errs when Judge says “Burgess” acknowledged a “final",
  “valid” judgment and seeks to overturn it that.

         Burgess says “Burgess” does not recognize a” judgment” but instead recognizes
 a failed attempt for JF:'Morgan Chase and its attorney to attempt to commence an action
 by way of evidence it brought forward that clearly shows they have no constitutional
 standing, by way of Maine state Statute compliance, to commence a foreclosure action.
 By continuing with the purported action, JPMorgan Chase and its accomplices deceived
 the court. By the Court preparing and processing the service of the action, the officers of
 the court, attorney included, acted without authority and the action is a nullity, it doesn’t
 exist, there is no judgment. Burgess does not see commonality to R-F issues in Hill v
 Town of Conway as that case is not based the blatant non-compliance to state statue as
 is the said JPMorgan Chase state action - void to being a nullity, a nothing. Burgess
 shows law memorandum that defeats the res judicata issue and R-F purported issues.

        C       Judge says claims raised are the same; Burgess should have fought back
 in state action when he had the chance:

        Burgess says Judge errs by not acknowledging JPMorgan Chase and complicit
 attorney fail to provide notice and invite Burgess to raise claims in the state action
 Docketed as SOPDC-RE-18 -19 as there was never a Summons sent to Burgess or any
 other communication inviting Burgess to have an opportunity to rebut the non-compliant
 claim by JPMorgan Chase and agent. The only Summons received was # SOPSC RE-
 17-46. Again, the court or the JPMorgan Chase Attorney did not disclose, “omitted”
 information needed for Burgess to make appearance at the purported Summary
 Judgment hearing. This issue defeats R-F.

 4      Judge says Burgess didn’t enter claims $ in bankruptcy thru trustee

        Burgess says Judge isn’t wrong there, but Burgess isn’t interested in $ now, just
 a declaration that would provide credit score improvement or some other relief by
 declaring JPMorgan Chase “not a creditor”.

 5      Judge says complaint does not show who what where etc, must give JPMorgan
 Chase better notice of what is alleged to have been done and “what its liability is
 predicated on” and that Burgess can’t do private action on criminal claims.

       Burgess says Judge may not be wrong here either, so Burgess, as a self
 represented man, is allowed a “mulligan”, a “do-over", to re-present, in better form, an
 amended request that better adheres to Judge’s request for improvement. Legal
 memorandum included herein to show the “mulligan” rule. Burgess thanks the Judge for
 Judge’s thoughtful and helpful critique.
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 33 of 141                 PageID #: 39
   Case 19-02014      Doc 39    Filed 03/26/20 Entered 03/26/20 16:23:28        Desc Main
                                Document      Page 24 of 29




                                                                                 Burgess
                                                                              Exhibit 10
                                                                              (page lof 4)
                                                                         Adv Proc. No. 19-02014
                                                                        Judicial Notice Issues
                                     JUDICIAL NOTICE



 By way of rulings via Caldwell v Miller, 790 F. 2d 589, 595 (7th Cir. 1986), Haines v
 Kerner 404 U.S. 519 (1972) and Platsky v CIA, 953 F.2d 26 (2nd Cir. 1991) supporting
 pro se litigates the opportunity to amend pleadings, Justin W Burgess, a self
 represent man, has right to do a “mulligan”, a do-over and provide this amended
 cause of actilon with requested relief.


 Whenever any officer of the court commits fraud during a proceeding in the court,
 he/she is engaged in "fraud upon the court". In Bulloch v. United States, 763 F.2d 1115,
  1121 (10th Cir. 1985), the court stated "Fraud upon the court is fraud which is directed
 to the judicial machinery itself It is where the court or a member is corrupted or
 influenced or influence is attempted or where the judge has not performed his judicial
 function --thus where the impartial functions of the court have been directly corrupted."
 Fraud upon the court" makes void the orders and judgments of that court.



 ("The maxim that fraud vitiates every transaction into which it enters applies to
 judgments as well as to contracts and other transactions."); Allen F. Moore v. Stanley F.
 Sievers, 336 III. 316; 168 N.E. 259 (1929) ("The maxim that fraud vitiates every
 transaction into which it enters ..."); In re Village of Willowbrook, 37 lll.App.2d 393
 (1962) ("It is axiomatic that fraud vitiates everything."); Dunham v. Dunham, 57 III.App.
 475 (1894), affirmed 162 HI. 589 (1896); Skelly Oil Co. v. Universal Oil Products Co.,
 338 III.App. 79, 86 N.E.2d 875, 883-4 (1949); Thomas Stasel v. The Federal law, when
 any officer of the court has committed "fraud upon the court", the orders and judgment
 of that court are void, of no legal force or effect.

 AMY In 1994, the U.S. Supreme Court held that "Disqualification is required if an
 objective observer would entertain reasonable questions about the judge's impartiality. If
 a judge's attitude or state of mind leads a detached observer to conclude that a fair and
 impartial hearing is unlikely, the judge must be disqualified." [lEmphasis added]. Liteky v.
 U.S., 114 S.Ct. 1147,1162 (1994). That Court also stated that Section 455(a) "requires
 a judge to recuse himself in any proceeding in which her impartiality might reasonably
 be questioned." Taylor v. O'Grady, 888 F.2d 1189 (7th Cir. 1989). In Pfizer Inc. v. Lord,
 456 F.2d 532 (Sth Cir. 1972), the Court stated that "It is important that the litigant not
 only actually receive justice, but that he believes that he has received justice." "Recusal
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 34 of 141                 PageID #: 40
   Case 19-02014      Doc 39    Filed 03/26/20 Entered 03/26/20 16:23:28        Desc Main
                                Document      Page 25 of 29



 under Section 455 is self-executing; a party need not file affidavits in support of recusal
 and the judge is obligated to recuse herself sua sponte under the stated
 circumstances." Taylor v. O'Grady, 888 F.2d 1189 (7th Cir. 1989).

  None of the orders issued by any judge who has been disqualified by law would appear
 to be valid. It would appear that they are void as a matter of law, and are of no legal
 force or effect.

  Should a judge not disqualify himself, then the judge is violation of the Due Process
 Clause of the U.S. Constitution. United States v. Sciuto, 521 F.2d 842, 845 (7th Cir.
 1996) ("The right to a tribunal free from bias or prejudice is based, not on section 144,
 but on the Due Process Clause.").

  Should a judge issue any order after he has been disqualified by law, and if the party
 has been denied of any of his / her property, then the judge may have been engaged in
 the Federal Crime of "interference with interstate commerce". The judge has acted in
 the judge's personal capacity and not in the judge's judicial capacity. It has been said
 that this judge, acting in this manner, has no more lawful authority than someone's next-
 door neighbor (provided that he is not a judge).

 The action in the state of Maine never legally nor lawfully commenced as the Bank
 failed to state a claim upon which relief can be granted as the factual evidence entered
 into the state of Maine court did not comply with “State of Maine statute Title 14 §6321”.

 The lack of statutory authority to make a particular order or a judgment is akin to lack of
 subject matter jurisdiction and is subject to collateral attack. 46 Am. Jur. 2d, Judgments
 §25, pp. 388-89.

 The defendants’ motion to dismiss for failure to state a claim unsupported by affidavits
 or depositions is incomplete because it requires this Court to consider facts outside the
 record which have not been presented in the form required by Rules 12(b) and 56 (c).
 Statements of counsel in their briefs or argument while enlightening to the Court are not
 sufficient for purposes of granting a motion to dismiss or summary judgment. Trinsey v.
 Pagliaro, 229 F. Supp. 647 (E.D. Pa. 1964)United States District Court E.D.
 Pennsylvania.May 28, 1964 229 F.Supp. 647

 MEMORANDUM!: WHY ROOKER - FIELDMAN DOES NOT APPLY HERE



 1.2a Noel v. Hall, 341 F.3d 1148, 1154 (9th Cir. 2003) 2542, KOUGASIAN v. TMSL,
 INC. II. T, Wood v. McEwen, 644 F.2d 797, 801 (9th Cir. 1981). Rooker-Feldman does
 not bar jurisdiction if federal plaintiff asserts as a legall wrong, an allegedly illegal
 act or omission by an adverse party.


 1.2b Kougasian v. TMSL, 359 F.3d at 1141 or 158 FEDERAL COURTS LAW
 REVIEW [Vol. 5] “[a] plaintiff alleging extrinsic fraud ... is not alleging a legal error
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 35 of 141                PageID #: 41
   Case 19-02014      Doc 39    Filed 03/26/20 Entered 03/26/20 16:23:28       Desc Main
                                Document      Page 26 of 29



 by the state court; rather, he or she is alleging a wrongful act by the adverse
 party.” Thus, the court held Rooker-Feldman did not apply. In creating this
 exception, this First Circuit U.S. District Court may rely on two sources: (1) Maine state
 law providing its courts with the equitable power to set aside judgments on grounds of
 fraud, mistake, or lack of jurisdiction; i.e. Sargent v. Sargent, 622 A.2d 721, 723 (Me.
 1993). A judgment obtained by fraud may not be the basis for the application of
 doctrine of res judicata and (2) Barrow v. Hunton, 99 U.S. 80 (1878) Supreme Court
 case holding that, under Louisiana law, a judgment is a nullity if “obtained through fraud,
 bribery, forgery of documents, &c.

  1.2c Kelleran v. Andrijevic, 825 F.2d 882,898 as well as Re Knapper, 407 F.3d
 573,583 in these cases the principles that; "the Bankruptcy Court in the allowance or
 rejection and ordering of claims shall not be bound by any broad or rigid rules of
 Res Judicata’’ AND ‘A state Court judgment does not have res judicata effect
 because the Bankruptcy Judge is the only authority that can decide if a claim is
 allowable’’

 1.2d Sira v. Morton, 380 F.3d 57 (2d Cir. 2004), the Court declared that;"a complaint
 is deemed to include any written instrument attached to it s an exhibit, material
 incorporated in it by reference and all other documents which though not incorporated
 into the complaint by reference, are integral to the complaint’’

 1.2e The Res Judicata and Rooker - Feldman doctrines do not and can never
 apply to the facts (fraud) as alleged by Plaintiff Burgess especially as the allegations of
 fraud against Chase by Mr. Burgess arise largely due to the fact that the proof of claim
 which needed to be filed by Chase did not exist (and could not have been decided
 upon) at the earlier foreclosure proceedings in State Court and could therefore not be
 deemed as falling under the Res Judicata and Rooker - Feldman doctrines.

  1.2f in re Sun Valley Foods Co., 801 F.2d 186 (6th Cir. 1986). “Extrinsic fraud is
 conduct which prevents a party from presenting his claim in court.” i.e. ignorance
 of the adversary about the existence of the suit or the acts of the plaintiff; fraudulent
 representation of a party without his consent and connivance in his defeat; and so on.
 When a “state-court loser” cornplains that the winner owes his triumph not to sound
 legal principles—or even unsound ones—but to fraud, then the loser is not really
 complaining of an injury caused by a state-court judgment, but of an injury caused by
 the winner’s chicanery.

  1.2g Exxon Mobil, 544 U.S. at 291, not all actions dealing with “inextricably
 intertwined” or the “same or related question” resolved in state court are barred
 in federal court.

 1.2h Lundborg v. Phoenix Leasing, Inc., 91 F.3d 265, 271 (1st Cir. 1996) ("Maine law
 ... no longer rigidly adheres to the traditional labels of extrinsic and intrinsic fraud in
 determining which circumstances justify overturning a prior judgment."); but see Society
 of Lloyd's v. Baker, 673 A.2d 1336, 1340-41 (Me. 1996) ("[Cjourts generally continue
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 36 of 141                PageID #: 42
   Case 19-02014     Doc 39    Filed 03/26/20 Entered 03/26/20 16:23:28        Desc Main
                               Document      Page 27 of 29



 to permit relief only when the alleged fraud is of the type formerly denominated
 as ’extrinsic' fraud...

  1.2i    Goddard v. Citibank,93 the United States District Court for the Eastern 2011]
 Fraud Exception to the Rooker-Feldman Doctrine - District of New York cited In re Sun
  Valley Foods Co.’s fraud exception as an example of how a plaintiff can state an
 “independent claim1'’ under the Supreme Court’s clarification iin Exxon Mobil. The
 plaintiff brought an action in federal court, alleging the foreclosure judgment from the
 state court was improperly entered and that she, as a result of the improper judgment,
 had suffered a battery of injuries. The court summed up the plaintiff’s allegations as
 follows: “The gravamen of Plaintiff’s claim is that [the defendants]... misrepresented
 the facts to the state court in the foreclosure proceeding, and that [the trial court's]
 acceptance of these misrepresentations ... caused Plaintiff to suffer., and violated her
 constitutional rights.” The court .. allowed the plaintiff to proceed in her action for
 monetary damages, holding that her claims for damages “are of the type held by the
 Court in Exxon Mobil to be independent from the state court: judgment, because they
 allege fraud in the procurement of the judgment.” The court thus allowed a lawsuit to
 proceed in federal court when its central issue would be the legitimacy of the .. state
 court’s foreclosure judgment. Furthermore, the central issues in the plaintiffs case were,
 without exception, issues of state law: the parties’ rights under the mortgage, the
 application of [the state’s] foreclosure laws, and state torts allegedly resulting from the
 state court’s application of those laws.
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 37 of 141                                          PageID #: 43
         Case 19-02014         Doc 39      Filed 03/26/20 Entered 03/26/20 16:23:28                        Desc Main
                          Upof» notice and after trial, tX<5 Coftrt
                                            Document                       as fplloivs:
                                                                    firtds 28
                                                                 Page          of 29




                      srAa#dF maims;                                                   DISTRICT COURT
                        OXFORD, ss.                                                     : south Paris
                                                                                 ; civiLActidN
                                                                     DOCKET NO. SOBDC-RE-18-19
                                                                                            * *•.* * 'ft

                      JPMORGAN CHASE BANK, NATIONAL
                      ASSOCIATION";--,.                                                         ,1W«OW 1020:31 AM
                        ■ •  . PU.INTIFF . ’                                                  :; FORECLOSURE
                                                                       CiwrD.Cnw!®!!

                      JUSTIN W. BURGESS A/K/A .JUSTIN
                    - BURGESS '/
       Burgess
   Exhibit 11
 NO SUMMONS
  Adv Proc. No. 19-
       02014               Sore Rond, Otisfield, Mame 04270 /
                           Srji Oxford County Regis tty pfbe s •Bflbk.4578,-Fage.:0:


  See Exhibit 1
  State Court Case
Superior Court Docket
    No. RE-17-46
    summons;

  This Judgment shows
 different case number
 than the one and only
served Summons noted
  In Exhibit # 1 above.

State Defendant Justin
 W, Burgess was never
 served a Summons for
this Docket no. SOPDC-
       RE-18-19

 This Issue is not In
compliance with MRS
14 § 6321 in order to       287
  state a claim for
          Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 38 of 141                                     PageID #: 44
               Case 19-02014                Doc 39     Filed 03/26/20 Entered 03/26/20 16:23:28           Desc Main
                                                       Document      Page 29 of 29




        Burgess
    Exhibit 12
        CLERK                                     CLERK'S CERTIFICATE OF FORECLOSURE
  CERTIFICATE
                           456 Gore Road, Otisfleld, ME 04270
  Adv Proc. No. 19-        Eastern Oxford County Registry of Deeds Book 4578, Page 99
       02014
                                  L                            ,-^yepk/Assistant Clerk of the South Paris
                           District Court, located in South Paris do hereby certify that a civil action
  See   Exhibit 11         seeking a judgment of foreclosure and sale pursuant to 14 M.R.S.A. §6321 et
                           seq., has been commenced in this Court by JPMorgan Chase Bank, National .
  State Court Case         Association, with an address of 3415 Vision Drive, Columbus, Ohio 43219
   Superior Court          against Justin W. Burgess a/k/a Justin Burgess, to enforce a Mortgage
 Docket No. RE-17-46       granted by Justin W, Burgess and Jessica L. Gagne to Mortgage Electronic
                           Registration Systems, Inc., as nominee for Merrimack Mortgage Company, Inc.,
 NO SUMMONS                its successors and assigns, dated April 15, 2010 and recorded in the Eastern
                           Oxford County Registry of Deeds in Book 4578, Page 99, and affecting certain
This Clerk Certificate     real property located at 456 Gore Road, Otisfield, ME 04270.
 shows different case
                                       The action-was filed on        and is docketed as #
  number SOPSC-RE-
 17-46 than Exhibit #
  11 NO SUMMONS            Dated:
one noted SOPDC-RE-
                                                                      South Paris District Court
    19-18 for the      -                                              Pirint Name:y^-^r^nnv
 purported summary
     judgment.
                                                                                                      ' / >
   State Defendant         After recording, return to:                                                   'I'X

Justin W, Burgess was
    never served a         SHAPIRO & MORLEY, LLC
                           707 Sable Oaks Dr., Suite 250                               copy   ’   ■
  Summons for this         South Portland, Maine 04106                       A
 Docket no. SOPDC-         (207) 775-6223
       RE-18-19                                                               Gier--
                           14-021485

 This issue is not In
   compliance with
   MRS 14 §6321 in
order to state a claim
  for foreclosure..."
  Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 39 of 141                         PageID #: 45




                                      State of Maine




                       Department of the Secretary of State


              I, the Secretary of State of Maine, certify that according to the provisions of
              the Constitution and Laws of the State of Maine, the Department of the
              Secretary of State is the legal custodian of the Great Seal of the State of Maine
              which is hereunto affixed and the paper to which this is attached is a true copy
              from the records of this Depart ment.



              As of February 25, 2020 at 5:00 PM



                                                           In testimony whereof, 1 ha ve caused the
                                                           Great Seal of the State of Maine to be
                                                           hereunto affixed. Given under my hand at
                                                           Augusta, Maine March 1,2020.




Authentication: 924616-177244


                                              Search Page 1 of 4
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 40 of 141                     PageID #: 46

                                        State of Maine
                              Department of the Secretary of State
                        Bureau of Corporations, Elections and Commissions
                       101 State House Station, Augusta, Maine 04333-0101
                                   Division of Corporations and UCC


                                     INFORMATION REQUEST REPORT

  Search Number:                    20200301S09000005
  Report Date/Time:                 03/01/2020 01:42 PM
  Through Date/Time:                02/25/2020 05:00 PM
  Authentication:                   924616-177244
  Search Criteria
  File Number:                      20191125109150267

  Certified:                        Yes
  Include Associated Filings:       No
  Search Logic:                     Non-Standard Search Logic
                                         Disclaimer

              The attached report reflects all UCC records on file for the file number
              searched and other criteria as listed above. A limited search may not reveal
              all filings against the Debtor and the searcher bears the risk of relying on
              such a search.




                                          Search Page 2 of 4
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 41 of 141             PageID #: 47

                                        State of Maine
                              Department of the Secretary of State
                        Bureau of Corporations, Elections and Commissions
                       101 State House Station, Augusta, Maine 04333-0101
                                  Division of Corporations and UCC



Initial Financing Statement:   20191125109150267
Status:                        ACTIVE
Filing Date & Time:            11/25/2019 05:00 PM
Lien Type:                     STANDARD
Lapse Date:                    11/25/2024
Original Lapse Date:           11/25/2024

  Debtor:                      JUSTIN WADE DAGGETT A/K/A JUSTIN WADE BURGESS TRUST
                               456 GORE ROAD
                               OTISFIELD, ME 04270


  Debtor:                      JUSTIN WADE DAGGETT A/K/A JUSTIN WADE BURGESS; NON-
                               ADVERSE, NON-BELLIGERANT, NON-COMBATIVE PRIVATE
                               FOUNDATION
                               456 GORE ROAD
                               OTISFIELD, ME 04270


Secured Party:                 JUSTIN-WADE BURGESS
                               C/O 456 GORE ROAD
                               OTISFIELD, ME [04270]


Actions:                       Filing Number                    Filing Date     Pages
Initial Financing Statement    20191125109150267                11/25/2019         1


            End of Information Request Report #         20200301S09000005




                                         Search Page 3 of 4
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 42 of 141                                                                                                             PageID #: 48




                                                                                                                            Maine Secretary of State
    UCC FINANCING STATEMENT
    follow instructions                         ________________                          _________                         Filing Number
     A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                         20191125109150267-42

     B. E-MAIL CONTACT AT FlLEFI (optional)
                                                                                                                            Filing Date and Time:
     C. SEND ACKNOWLEDGMENT TO:                 (Nam© and Address)
                                                                                                                            11/25/2019 05:00PM

      |””Justin-Wade:: Burgess
                                                                                                                            Number of Pages: 1
         456 Gore Rond
    |    Otisfield, ME [04270]


                                                                                                                     THE ABOVE SPACE IS FOR HUNG OFFICE USE ONLY
    1. DEBTOR’S NAME: Provkte imCy Ofii? Debtor name (ta or 1b) (use exact, TuH name; do not om'rt, modify, w abbreviate any part of the Debtor’s name}; H any part of die InClrvkhial Debtors
       name wW not fit in line 1b, leave a R of item 1 Wank, check here O and provide tins Individual Debtor information in item W of the Financing Statement Addendum (Frum UCC1 Ad)

         fa. ORGANIZATIONS NAME

         JUSTIN WADE DAGGETT a/k/a JUSTIN WADE BURGESS TRUST
    OR                                                                                                                                         AOCirriONAL HAME(S)tlNITIM(S)        SUFFIX
         lb. INDIVIDUAL’S SURNAME                                                        FIRST PERSONAL NAME



    tc. MAILING ADDRESS                                                                  CITY                                                  STATE     POSTAL CODE                COUNTRY

     456 Gore Road                                                                        Otisfield                                            ME 04270                              USA
     2, DEBTOR'S NAME: ProvWs only pal Debtor name (2a or 2b) (use exact, fun osmo; do not omit, modify, or abbreviate any part of the Debtor’s name); If any part of the Individual Debtor’s
       name will not fit tn line 2b. leave all of rtem 2 Wank, check here r~| and provide the individual Debtor infojmeHon in Item 10 of the Financing Statement Addendum (Fijim UCC1 Ad)

         2a.ORGAN1ZA-nOKSNAME                                                                                 »                   NON-ADVERSE, NON-BHiLLIGERANT,

         JUSTIN WADE IDAGGETT artda JUSTIN WADE BURGESS;                                                                          non-combatjve private foundation
    OR                                                                                                                                                                              SUFFIX
         2b. INDIVIDUAL’S SURNAME                                                        FIRST PERSONAL NAME                                   ADDTTIONM. NAME(S)flNmAl|S)



    2o. MAILING ADOREBB                                                                  CITY                                                  STATE     POBTALCODE                 COUNTRY

      456 Gore Road                                                                       Otisfield                                             ME 04270                             uSA
    3. SECURED PARTY'S NAME (or NAME of ASSIGNEE ot ASSIGNOR SECURED PARTY): PraMrW only fins: Secured Party namo (3s or 31>)
         39. ORGANIZATION'S NAME
                                                                                                        /

    OR                                                                                                                                         ADDITIONAL NAMECSJ/INITIAUS)         SUFFIX
         3b. INDIVIDUAL ’S SURNAME                                                       FIRST PERSONAL NAME

         Burgess                                                                         Justin-Wade
    3c. MAILING ADDRESS                                                                  CRY                                                   STATE    POSTAL CODE                 COUNTRY

     c/o 456 Gore Road                                                                    Otisfield                                            ME 104270]                            uSA
    4. COLLATERAL; This financing irtafement ewers the following cotateral:
    tins is flic entry of coHalctal by thu Sovereign Trustee/Sccured Party on behalfof the Trust/Eslate; JUSTIN WADE DAGGETT a/k/a JUSTiN WADE: BURGESS TRUST in flic Commercial
    Chamber under necessity to secure the ri ghts, titles(s), interest and ^’aluc therefrom, in and of the Root of Title from inception, as well as all property Iwld in trust including but not limited to
    DNA, cDNA, cell lines, retina scans, fingerpnnts and all Debenture;}, indentures. Accounts, and all the Pledges represented by same included but not limited toihe pignus, hypotheca,
    frereditmcnls, res, the energy and all products derived there nunc pro tunc, contracts, agreements, and signatures and/or endorsements, facsimiles, primed, typed or photocopied of owner’s
    name predicated on die “Straw-man”, Ens legis/Trust/Eslate described as the debtor and all property is accepted for value and is Exempt for levy, included is one note to lender Merrimack
    Mortgage Company, Inc. with mortgage loan number 2000023286 and MINS no. 100158320000232868 dated 4/I5/2OIO for $122,488.00 witb associated Matgage on real property at 456
    Gore Road, Otisfield, ME und recorded at East Oxford County Registry of Deeds with book 4578 and Page 99 on 4/20/2010. Lien placed on debtor entities is for all outstanding property still
    owed but not yet returned to trust from entities such as municipalities, governments and the like, not on trust entity itjiclf. Trustee is not surety to any account by explicit reservation/indem-
    nification. The following property is hereby registered and liened in die same. All Certificates of Birth Document 0S>j*34«oZ2 ; SSN/UCC Contract Trust Account - prepaid account Number:
    1X17-78-9773; Exemption Identification Number 007789773, is herein liened and claimed at a sum certain $100,000,000.00, also registered: Security Agreement No. 07151983-SRM-SA, Hol
    Harmless & Indemnity Agreement No. 07151983-SRM4JB1A, Copyright wider item no: 07151983-SRM’CLC Adjnstmcnil of this filing is in accord with both public policy and the national
    Uniform Commcreial Code. Trustce/Secured Party, Justin-Wade: Daggett, is iivtag flesh and blood sojourn iog upon the soil ofthe land known as Maine, and not wifliin fictional boundaries,
    tern lories nor jurisdiction of any furiiona) entity, maritimejurisdiction, including fictional Federal geometric planefs). Trespass by any agcnt(s) foreign or domestic, by such in any scheme or
    artifice to defraud. Full revawtee and by ALL AGENTS and Coipoiatkm is imamliiguously demanded and required. Culpa cst immisccresc re) ad se non pertienti. All property currently held
    are outstanding belongs to Hhe Trust administered by Trust ee/Sccurcd Party, Title 46 USC 31343 and Article 3 and 5 of the International Convention on Maritime IJens and Mortgages 1993,
    Held at the Palis Des Nations, Geneva, from April 19 to May 5,1992 United Nations (UN) This Maritime Line is under safe; harbor and sinking funds provisions though the prescription of La*
    of Necessity and the doctrines of unconscionably and La Mort Saisit le Vif in accoirdancc with Applicable Low, Cardinal Orders, Ordinal Order and Commercial Standards,

     5. Check      if appHcsNe end chedt only one box: CoTlaleGtf is [ J he'd In a Trust (Sea UCCtAd, item 17 and fnstruefims)      |   bahn administered by a DaanteWs Personal Represontadve

     Ba, Check qn|y if appflcabla and check only one box:                                                                               6b. Check      if appScaWe and check ££& one box:

         f~] Public Finance Transaction        | J Manufactured-Home Transaction         [2J A Debtor is a Transmitting Utility            *   ] Agricultural Men   U] Non-UCC Filing

     7. ALTERNATIVE DESIGNATION (H oppliniMe):              teBreart.CTWf______ Q CMXfliwrtConslanor                 [J SdtatBuyor              (3 BallwtBaitOf         |_J UcenMrtjUcenSor

     8. OPTIONAL FILER REFERENCE DATA:




    FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)




                                                                                  Search Page 4 of 4
   Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 43 of 141                     PageID #: 49



                                                AFFIDAVIT


The undersigned Affiant, In Fact Justin, a man a/k/a Burgess: Justin-W., hereafter “Affiant”, does

solemnly swear, declare and state as follows:

    1. Affiant is competent to state the matters set forth herein.

   2. Affiant has knowledge of the facts stated herein.

   3. All facts herein are true, correct and complete, admissible as evidence and if called upon as a

       witness, Affiant will testify to their veracity.

Plain statement of facts

   4. Affiant has no evidence of a claim of possession superior to the Affiant’s claim for goods item

       called “the” genuine mortgage note to lender Merrimack Mortgage Company, Inc. dated

       4/15/2010 for $122,488.00 and for goods item called “the” genuine mortgage with once given

       loan number 2000023286 and once given MINS no. 100158320000232868 on property at 456

       Gore Road, Otisfield, ME, once recorded at East Oxford County Registry of Deeds with book

       4578 and Page 99 on 4/20/2010. Affiant believes there is no superior claim than Affiant’s said

       claim.

    5. Affiant attests to recognizing the recorded Discharge of said purported mortgage described in

       item # 4 above recorded in the public at the Oxford County Registry of Deeds in South Paris

       Maine on 12/4/2019 in Book 5495 Page 760, see Exhibit -D-, Discharge and the recorded

       Waiver of Foreclosure recorded at same registry on 2/26/2020 in Book 5508 Page 930, see

       Exhibit -E-, Waiver.

    6. Affiant attests to filing the UCC 1 Financing Statement with the Maine Secretary of State on

        11/25/2019 with filing number 20191125109150267-42 noticing to the public Affiant’s creditor

       status and possessory ownership interest in the security “note to lender Merrimack Mortgage
  Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 44 of 141                    PageID #: 50



       Company, Inc. with mortgage loan number 2000023286 and MINS no. 100158320000232868

       dated 4/15/2010 for $122,488.00 with formerly associated purported Mortgage on property at

       456 Gore Road, Otisfield, ME and recorded at East Oxford County Registry of Deeds with book

       4578 and Page 99 on 4/20/2010”. See attached Exhibit -B-, UCC1 Filing.

   7. Affiant has not seen, physically touched or photographed any tangible, retrievable or visible

       evidence that JP Morgan Chase, National Association or its agent/s has/have/had possession of

       “the” genuine mortgage note and “the” genuine mortgage and Affiant believes that no such

       evidence exists.

   8. In the past 18 months or more, Affiant has made numerous expressed requests for JP Morgan

       Chase, National Association to produce proof of possession and ownership and to deliver over to

       the Affiant the “the” genuine mortgage note and “the” genuine mortgage and JP Morgan Chase,

       National Association has not complied, see Exhibit A-, Bankruptcy Adv Pro Motion.

   9. Affiant makes action of Writ of Replevin to Maine Superior Court to recover from JP Morgan

       Chase, National Association the wrongfully held goods called the genuine mortgage note and

       the   genuine mortgage.



By: In Fact Justin, a man, a/k/a Burgess: Justin-W., all rights reserved




Then personally appeared In Fact Justin, a man, a/k/a Burgess: Justin-W. and acknowledged the foregoing
instrument to be his free act and deed.




                                                MATTHEW F. YATES
                                                Notary Public, State of Maine
                                             My Commission Expires September 9,2026
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 45 of 141                                    PageID #: 51

                                                                                                         Bk 5495        PG 760
                                                                                                         12/04/2019 01:13:57 PM
                                                                                                         Pages 51
                                                                                                         DISCHARGE
                                                                  Instr# 15194
                                                                  Cherri L Crockett Register of Deeds   OXFORD COUNTY




                                   DISCHARGE OF MORTGAGE
                                          Maine Statutory Short Form




              KNOWALL MEN BY THESE PRESENTS, that JPMORGAN CHASE BANK,
       NATIONAL ASSOCIATION, with last known mailing address of 700 KANSAS LANE, MC
       8000, MONROE LA 71203, holder of a mortgage given by Justin W Burgess and Jessica L
       Gagne, husband and wife, with mailing address of 456 Gore Road, Otisfield, ME 04270 that
       was originated April 15 2010, with Merrimack Mortgage Company, Inc. with Mortgage
       Electronic Registration Systems, Inc as Nominee for Merrimack Mortgage Company, Inc. and
       recorded on 4/20/2010 at the East Oxford County Registry of Deeds in Book 4578 Page 99 then
       assigned to JPMORGAN CHASE BANK, NATIONAL ASSOCIATION and with document
       date of 9/5/2012 and recorded on 9/20/2012 in the said registry in Book 4896 Page 136 and then
       a recorded RATIFICATION OF ASSIGNMENT dated 7/9/2015 ami recorded on 7/20/2015 in
       said registry in Book 5233 and Page 133 then a recorded DIVORCE-ABSTRACT OF DECREE
       dated 6/3/2016 removing JESICA BURGESS with further commenced name JESICA LEA
       GAGNE from association of said mortgage, does hereby acknowledge that JPMORGAN
       CHASE BANK, NATIONAL ASSOCIATION has received full payment and satisfaction of
       the same and of the debt hereby secured, and in consideration thereof does hereby cancel and
       discharge said mortgage, and release unto the said Justin W. Burgess, his heirs and assigns,
       forever, the premises therein described.


       Justin W. Burgess makes appearance herein and below by virtue of the stipulations in the
       ADMINISTRATIVE DECLARATORY JUDGEMENT attached herein.


                      IN WITNESS WHEREOF, Justin W. Burgess has caused this instrument to be
       signed and sealed in her name and thereunto duly authorized, this           (day) of
                             (month),             (year).




6^5495 rg: 760
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 46 of 141                         PageID #: 52




               WITNESS




                                                                                 1
        STATE OF MAINE
                                County, ss.                              Date:       7^


        Personally appeared the above named Justin W. Burgess and acknowledged the foregoing
        instrument to be her free act and deed..


                                                         Before Me,


                                                     /- ''"Notary Public/Attomcy-At-I.tiw -
                                                         Printed Name:                J idfa



                                                                 KENNETH J HAMILTON
                                                                  Notary Public-Maine
                                                                 My Commission Expires
                                                                   September29, 2024




BK: 5495 PG: 761
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 47 of 141                      PageID #: 53




                               ADMINISTRATIVE DECLARATORY JUDGMENT

             Justin W. Burgess: Petitioner
            c/o LucasGraywolf Hamilton, J”1 Party Affidavit Witness
            428 Menrow Rd
            Auburn, ME 04210
      To:
            JPMorgan Chase Bank., National Association: Respondent and Principal
            c/o Cha&e Records Center.
            Attn: Correspondence Mail Code LA4-5555
            700 Kansas Lane, Monroe, LA 71203-4774
            Certified Mail #               OWL.                         Witness

            Andrew S. Canella: Attomey/Agent for Chase the Respondent/Principal
            c/o Bendett & Mchugh
            270 Farmington Avenue, Suite 171
            Farmingion, CT 06032                      ,,                      .
            Certified Mail #        H3ff 0t>O2^-                    Witness X


      Notice to Principal is notice to Agent

      Notice to Agent is notice to Principal




      1. Ref 1: Respondent: JPMorgan Chase Bank NA for Summary Judgment for DISTRICT COURT

            SOUTH PARIS CIVIL ACTION DOCKET NO. SOPDC-RE-18-19 a/k/a Court Case ID SOPSC RE

            2017-00046 further reference as South Paris, Maine District Court SOPDC-RE-18-19 a/k/a SOPSC-

            RE-17-46 JPMORGAN CHASE BANK, NATIONAL ASSOCIATION v. JUSTIN BURGESS.



      2. Ref 2: Maine U.S. Bankruptcy Court case Justin Wade Burgess 2:2019bk20092




BK: 5495 PG: 762
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 48 of 141                           PageID #: 54




                                                  SUMMARY
                                                 (Short Version)

     On 9/25/2019 Respondent Chase made loan payoff presentment to Petitioner, Justin Burgess. The

     Petitioner then communicated back a conditional .acceptance communication following a similar

     methodology as that specified in US UCC 3-501 presentment and response process. See attached

     Petitioner’s COMERCIAL AFFIDAVIT dated 11/29/2019 for the history of communications and see

     AFFIDAVIT of Lucas Graywolf Hamilton for the mailing and witness process used and status of the

     Respondent’s response.



     Respondent has failed to respond as directed to the last communication titled NOTICE #4, NOICE OF

     DEFAULT WITH 72 HOURS REQUEST TO CURE dated 11/18/2019 and the next previous

     NOTICE #3 CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE AND NOTICE

     OF CLARIFICATION AND MOFICATION OF MY TERMS, 2nd TIME, WITH NEW 10 DAY

     TIME EXTENSION dated November 8,2019 and all previous communications back to 9/26/2019.

     This non-response constitutes Respondent’s inability to provide proof of claim to the statements in the

     said document package and constitutes Respondent’s agreement with the facts stated in the Petitioner’s

     Commercial Affidavit dated 9/27/2019.



     Thus, by way of Claimants common law court of record, applying legal process similar to United States

     UCC 3-501 presentment rules, applying the authority of the U.S. Postal Service Certified Mail with

     receipt, applying Maine notary powers and other operation of law, the Respondent and its agents have

     contractually confessed by binding, unilateral acquiescence to the following:

         1. There is no evidence from a living man or woman who makes claim of being personally injured

            by Claimant, who under sworn testimony, who under penalty of peijury, who with requisite




BK: 5495 PG: 763
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 49 of 141                            PageID #: 55




           lawful standing to speak beyond hearsay to his/her claim of personal injury alleged by

           Wrongdoer’s 3rd party hearsay claims on behalf of original alleged and decedent plaintiff in

           SOPDC-RE-18-19 a/k/a SOPSC-RE-17-46 JPMORGAN CHASE BANK, NATIONAL

           ASSOCIATION v. JUSTIN BURGESS.



        2. Respondent, JPMORGAN CHASE BANK, NATIONAL ASSOCIATION a/k/a/ Chase and it's

           agents, admit that the agents of origination loan with Merrimack Mortgage Company Inc to

           have:

              a. Provided a contract with Fraudulent Conveyance of language as noted in Title 18:

                   U.S.C.S.-1001 and ■ 1002

              b. Used the Petitioner as an uninformed stooge to create a security instrument for other

                   people to profit, kept it secret from Petitioner and didn’t share profits owed to Petitioner,

                   the creator of the instrument.

              c. Created a security disguised as a loan as said lenders at the table did not actually lend

                   their money.

              d. Did not disclosed that the note was paid off at the closing table as a draft converted to an

                   order by way of the qualified restrictive endorsement - i.e. a check was written and

                   deposited as cash at the “closing table”, a qualified banking entity.

              e. Loan closing agents wrongly failed to provide a cash receipt to Petitioner for the cash

                   deposit nor complete and file the IRS form 8300 for cash payment issued/tendered.

              f. The actual money came from the trading of receivables/lxmds via a pay forward, pre-

                   established pooling and servicing agreement and the Petitioner was again the stooge who

                   was tricked into being an unsubscribed, un-memorialized, undisclosed third party to a



                                                                                                                   5


BK: 5495 PG: 764
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 50 of 141                             PageID #: 56




                     contract to be the servicing agent that connected the pooling investors, the real parties in

                     interest, to the securitized asset and alleged cash flows.

                 g.. Petitioner was secretly used as the indemnity to boost the investment marketing, to be the

                     indemnity target for the title insurance security derivative and the “lender’s” pre­

                     engineered default of their creation and their resulting tax forfeiture because the REMIC

                     administrators failed to meet IRS and securitization requirements.



         3. The Respondent and its agents admit they are not in possession of the genuine note or the

             genuine mortgage and are guilty of conspiring and committing the felony of Uttering Counterfeit

             Obligations or Securities as described by 18 U.S. Code § 472 and 18 U.S. Code § 371 which

             could be sufficient proximate Cause in a Civil RICO Claims Pleading not to mention 18 U,S,

             Code § 4 - Misprision of felony.



         4. The Respondent and its agents admit that there is no lawful evidence that Petitioner owes on

             JPMORGAN CHASE BANK, NATIONAL ASSOCIATION, Chase loan # 1876511514.



      Given these contractual admissions above, the Petitioner is hereby acknowledged as the Creditor and the

      Respondent as the Debtor. Further, Petitioner, as creator of the investment instrument, has filed a UCC1

      claim on the said mortgage bond instrument which reinforces his status; as a Secured Creditor. It is

      further proclaimed that the restitution debt on the judgment instrument specified herein may also be filed

      as a UCC lien claim against the Respondent after seasoning as per Maine law requirements.




                                                                                                                    (o




BK: 5495 PG: 765
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 51 of 141                             PageID #: 57




                                               ACTION AND ORDER


      Burgess: Justin Wade, a num, sui juris, one of the people of Maine, of his court of record, hereby

      submits to the public an ADMINISTRATIVE DECLATAORY JUDGEMENT against JPMorgan Chase

      Bank, National Association: as Respondent/Plaintiff in the Maine DISTRICT COURT SOUTH PARIS

      CIVIL ACTION DOCKET NO. SOPDC-RE-18-19 a/k/a Court Case ID SOPSC RE 2017-00046 and

      also as Respandent/alleged Creditor in Maine U.S. Bankruptcy Court case Justin Wade Burgess

      2:2019bk20092.



      With presentment of evidence to Maine Notary with signature and seal herein, a protest under §952 and

      demand under §953 of Maine Title 4: JUDICIARY, Chapter 19: NOTARIES PUBLIC are created.



               from http://www.mainelegislature.Org/legis/statutes/4/title4sec952.html 11/19/2019


      §952. Protests of losses; record and copies


      When requested, every notary public shall enter on record all losses or damages sustained or

      apprehended by sea or land, and all averages and such other matters as, by mercantile usage, appertain to

      his office, grant warrants of survey on vessels, and all facts, extracts from documents and circumstances

      so noted shall be signed and sworn to by all the persons appearing to protest. He shall note, extend and

      record the protest so made, and grant authenticated copies thereof, under his signature and notarial seal,

      to those who request and pay for them.




                                                                                                                   7


BK: 5495 PG: 766
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 52 of 141                               PageID #: 58




      953. Demand and notice on bills and notes


      Any notary public may, in behalf of any person interested, present any bill of exchange or other

      negotiable paper for acceptance or payment to any party liable therefor, notify indorsers or other parties

      thereto, record and certify all contracts usually recorded or certified by notaries, and in general, do all

      acts which may be done by notaries public according to the usages of merchants and authorized by law.

      He shall record all mercantile and marine protests by him noted and done in his official capacity. [1981,

      c. 456, Pt. A, §8 (AMD).] SECTION HISTORY 1981, c. 456, §A8 (AMD).


      §952 declared losses: tablel below.



       Table 1 : Claimant losses incurred by Wrongdoer’s non-disclosure of
       material facts

       $122,448               Loan principal paid off at closing
                              % of estimated $1,000,000-h of profits to
       $500,000               Wrongdoer and predecessor on the security the
                              Claimant created
                              recoupment for Claimant for paid-in principal,
       $100,000               paid-in interest and Claimant's legal costs for
                              foreclosure cases and bankruptcy cases incurred
       $722,448                Partial SUM


       $2,167,344             Total Claim after treble damages multiplier




      §953 declared demand:

      From the common law court of Petitioner, it is herby proclaimed that Respondent Chase and all past,

      present and future related Respondent agents or affiliates in this matter, now to be referred to as “The

      Enterprise”, render final judgment between the entities and their privies as that of the highest courts.




BK: 5495 PG: 767
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 53 of 141                          PageID #: 59




      considered res judicata and estoppels of record with an ADMINISSTRyVI IVE DECLARATORY

      JUDGMENT of:



             1. nil debt on the JPMORGAN CHASE BANK, NATIONAL ASSOCIATION, Chase loan#

                 1876511514.



            2.   granting to Justin Wade Burgess, the necessary power, title and authority to record the

                 Administrative Declaratory Judgment as the instrument for the lien release and discharge of

                 the alleged mortgage originated by Merrimack Mortgage Company Inc. recorded at the East

                 Oxford County Registry of Deeds in South Paris, Maine in Book 4578 Page 99 on 4/15/2010

                 and later allegedly assigned to JPMORGAN CHASE BANK, NATIONAL ASSOCIATION

                 as Chase loan # 1876511514 noted above.



            3. granting to Justin Wade Burgess, the necessary power, title and authority to present the

                 Administrative Declaratory Judgment instrument from my common law court of record as

                 the Chase confessed evidence for Order to Vacate Summary Judgment, dated 12/12/2018

                 and Dismiss/Vacate with prejudice the subject case at South Paris, Maine District Court

                 SOPDC-RE-18-19 a/k/a SOPSC-RE-17-46 Jl’MORGAN CHASE BANK, NATIONAL

                 ASSOCIATION v. JUSTIN BURGESS. Being that Summary Judgment with notation

                 DISTRICT COURT SOUTH PARIS CIVIL ACTION DOCKET NO. SOPDC-RE-18-19 is

                 recorded at with Book 5490 and Page 287 at the Oxford County Registry of Deeds, South

                 Paris, Maine and clerk certificate with notation as #SOPSC-RE-17-46 with Book 5371 and

                 Page 108 at same said registry.




BK: 5495 PG: 768
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 54 of 141                           PageID #: 60




             4. The Enterprise is/are now engaged in this binding, self-executing, irrevocable contractual

                agreement and are subject to fines, penalties, fees, taxes and other assessments, coupled with

                interest. The losses stated at this date and itemized in Table 1 herein and this document

                serves as a bill to The Enterprise for that amount to be paid to Justin Wade Burgess.


     I, Justin Wade Burgess, am the prei>arer of this instrument and have made request of the undersigned

     notary to complete my protest under notary seal as per Maine state statue noted herein.




     STATE OF                  _____
     COUNTY OF                   \

     Then personally appeared Justin Wade burgess and acknowledged the foregoing instrument to be her free act
     and deed.




                                                             .A,KENNETH J HAMILTON
                                                                 Notary Public-Maine
                                                           Maw® Mv Comml'Wlon Expires
                                                                  September 20,2024




                                                                                                             10




BK: 5495 PG: 769
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 55 of 141                          PageID #: 61




                                   COMMERCIAL AFFIDAVIT 11/29/2019


        The undersigned Affiant, Justin Wade Burgess, hereafter “Affiant”, does solemnly swear,

        declare and state as follows:

            1. Affiant is competent to state the matters set forth herein.

           2. A ffiant has knowledge of the facts stated herein.

           3. A ll facts herein are true, correct and complete, admissible as evidence and if called upon

               as a witness. Affiant will testify th their veracity.

           4. A ffiant is of age of majority and one of the people of Maine.

        Plain statement of facts

           5. From 9/27/2019 to present, Affiant makes notice to Respondent JPMorgan Chase Bank

               NA and its agents of Affiant’s conditional acceptance presentment to similar process of

               § 3-501 and § 3 -505(a)(b) of the Unified Commercial Code, UCC, which creates

               evidence or presumption of dishonor.

           6. Affiant does use third party affidavit witness, Lucas Graywolf Hamilton, to hand process

               and to itemize witness all communications to and from the entities.

           7. All of Affiants communications are in writing and sent with USPS Certified mail and

               with detailed contents description and receipt time as stated in Affidavit of Lucas

               Graywolf Hamilton attached.

           8. Affiant gives notice to Respondent JPMorgan Chase Bank NA and its agents that failure

               to respond and/or rebut would constitute acceptance and stipulation to the presentment

               and that Administrative Declaratory Judgment would issue certifying the confessions,

               admissions and stipulations as set forth in said presentment.




                                                                                                            II



BK: 5495 PG: 770
      Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 56 of 141                            PageID #: 62




                9. Affiant has no evidence that said communications were not delivered to Respondents and

                     its agents via USPS or through the Maine U.S. Bankruptcy case 19-20092

                 10. Affiant has no evidence that a required response from Respondent JPMorgan Chase Batik

                     NA and its agents regarding this said presentment exchange was fulfilled and witnessed.




                                                                 By: IMa
                                                                 By: lusti                         all rights
                                                                 reserved

             STATE OF
             COUNTY OF^Xt,                                       November^., 2019

             Then personally appeared Justin Wade Burgess and acknowledged the foregoing instrument to be her
             free act and deed.
                                                       Before me,


                                                         Notary Public
                         KENNETH J HAMILT
                          Notary Public-MrfTfio
                         My Commission Expires
                           September ?.9,2024




     * ‘.4

             ’111H''°.




BK: 5495 PG: 771
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 57 of 141                         PageID #: 63




                            Affidavit of Lucas Graywolf Hamilton
        I, in fact Lucas Graywolf Hamilton declare, and state I have personal knowledge about the facts
        herein; everything stated in this Affidavit of Truth is the truth, the whole truth, and nothing but
        tlie truth and all stated is correct, complete and not misleading.

        Plain statement of the facts;

        1. Starting on 9/27/2019,1 agreed be the independent 3rd party affidavit witness to written and
           mailed communications emanating from Justin W. Burgess to and from Chase/its agents. For
           each presentment of communication, I administered the letter packing, labeling and sending
           via USPS certified mail wi th green card return proof of service post cards sent back to me at
           my independent mailing address. I was also tasked to be the agent for return response from
           Chase/its agents who were directed to mail to me at my address. For each mailing sent, I also
           completed a notarized sworn 3rd party affidavit with itemized list of contents with noted
           parties, dates and USPS numbers using USPS Certified mail with green postcard signed
           returned proof of delivery. On this date I witnessed the packing and mailing of
           CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE and COMMERCIAL
           AFFIDAVIT with USPS Certified mail number 7018 1130 0002 3110 9188 for JPMorgan
           Chase delivered on October 1,2019 in MONROE, LA 71203 and mail number 7019 0700
           0000 6989 2974 for Andrew S. Canella delivered on October 10,2019 in Farmington, CT
           06032.
        2. On 10/21/2019 a second communication was sent labeled NOTICE # 2 CONSTRUCTIVE
           NOTICE OF CONDITIONAL ACCEPTANCE AND NOTICE OF CLARIFICATION AND
           MODIFICATION OF MY TERMS, WITH 5 DAY EXTENTSION with USPS with mail
           number 7019 0700 0001 6032 5791 to JPMorgan Chase delivered on October 24,2019 in
           Monroe, AL 71203 and mail number 7019 0700 0001 6032 5807 for Andrew S. Canella
           delivered on October 23,2019 in Farmington, CT 06032.
        3. On 10/29/2019 a 3rd communication was sent labeled NOTICE # 3 CONSTRUCTIVE
           NOTICE OF CONDITIONAL ACCEPTANCE AND NOTICE OF CLARIFIACTION AND
           MODIFICATION OF MY TERMS, 2nd TIME, WITH NEW 10 DAY TIME EXTENSION
           with USPS with mail number 7019 0700 0001 6032 5814 to JPMorgan Chase delivered on
           October 31,2019 in Monroe, AL 71203 and mail number 7019 0700 0001 6032 5685 for
           Andrew S. Canella delivered on October 31,2019 in Farmington, CT 06032 with mail
           number 7019 0700 0001 6032 5692 for William B. Jordan delivered on October 31, 2019 in
           South Portland, ME with mail number 7019 0700 0001 6032 5708 for Hon Richard Mulhern
           delivered on October 31,2019 in Lewiston, ME 04240 and additional recipients via regular
           mail. List of names on that document sent.
        4. On 11/18/2019 a 4* communication was sent NOTICE #4 NOTICE OF DEFAULT WITH
           72 HOURS TO CURE with USPS with mail number 7019 0700 0001 6032 6613 to
           JPMorgan Chase delivered on November 25,2019 in Monroe, AL 71203 and mail number


                                                                                                          15


BK: 5495 PG: 772
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 58 of 141                                 PageID #: 64




           7019 0700 0001 6032 6620 for Andrew S. Canella delivered on November 21,2019 in
           Farmington, CT 06032 with mail number 7019 0700 0001 6032 6781 for William B. Jordan
           delivered on November 19,2019 in South Portland, ME with mail number 7018 1130 0002
           3115 3402 for Hon Richard Mulhern delivered on November 19,2019 in Lewiston, ME
           04240 with mail number 7019 0700 0001 6032 6637 for Michael A. Fagone delivered on
           November 20,2019 in Bangor, ME and addition al recipients via regular mail. List of names
           on that document sent.

        5. As of this date noted below, I have not wi tnessed any return response from the said Chase/its
           agents sent to me at my specified mailing address noted in the communications.




                                                            Lucas Graywolf Hamilton



        Verified on is the V day of November, turo thousand and nineteen (2019).
        Before me,             L                a Notary Public in and for the County of Oxford,
        State of       e; appe                 Known and made known to me did affirm the truth
        of the fafctsfherein   and pWd his signature on this document.         L McNAULY
                                                                              Notaiy Public, Maine
                                           my commission expires:     My Commission Expires April    is, 2021

                 bi




                                  r Him




BK:5495 PG: 773
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 59 of 141                                                           PageID #: 65




        USPS.COM            I   Quick Took.          Mali * Ship              "frack ft Manama                   foitm   Jim a




                 USPS Tracking*

                 Track Another Package +                                r-Auft Track Packages                Get the free Informed Delive
                                                                               Anytime. Anywhere             automated notifications on y




                          Tracking Number. 70181130000231109188

                                                                                           Status

                          Your item was delivered at 9:15 am on October 1, 2019 in                 Delivered
                          MONROE, LA 71203.                                                October 1,2019 at 9:15 am
                                                                                           Delivered
                                                                                           MONROE. LA 71203



                                                                                                                    as~i a*a«
        USPS.COM                Quick Tools           MakaSNp                  "frack ft Martaga                    r*OSVM acovw




                 USPS Tracking*

                 Track Another Package +                                                   I
                                                                               Track Packages                   Get the free Informed Delive
                                                                         ✓A    Anytime. Anywhere                automated notifications on y




                          Tracking Number: 70190700000069892974

                                                                                               Status


                          Your item was delivered to an individual at the address at                 Delivered
                          10:21 am on October 1, 2019 In FARMINGTON, CT 06032.                 October 1,2019 at 10:21 am
                                                                                               Delivered, Left with Individual
                                                                                               FARMINGTON, CT 06032




BK: 5495 PG: 774
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 60 of 141                                            PageID #: 66




        USPS.COM                Quick Tools           Mall&SHp                Haok A Manage                  rQswU ShIXw




                  USPS Tracking*

                  Track Another Package +                                     Track Packages        |   Gat the free Informed Delive
                                                                              Anytime Anywhet^          automated notifications on y




                           Tracking Number 70190700000160325791

                                                                                         Statue

                           Your item was delivered at 8:58 am on October 24, 2019 in           Delivered
                           MONROE, LA 71203.                                             October 24. 2019 at 8:58 am
                                                                                         Delivered
                                                                                         MONROE. LA 71203

                                                                                         Gat Updates XZ


        USPS.COM                Quick llools          MaH&SHp                 Track * Manage                 Postal Store




                  USPS Tracking*

                  Track Another Package 4-                                    Track Packages    |        Get the free Informed Delive
                                                                              Anytime, Anywherle         automated notifications on y




                           Tracking Number 70190700000160325814

                                                                                          Status

                           Your item was delivered at 9:00 am on October 31,2019 In             Delivered
                           MONROE. LA 71203.                                              October 31, 2019 at 9:00 am
                                                                                          Delivered
                                                                                          MONROE. LA 71203




BK: 5495 PG: 775
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 61 of 141                                                     PageID #: 67




        USPS.COM         f        Quick Tbok             MaXlSWp                   Tr»ok * Mwws*                   Postal Store




                 USPS Tracking*

                 Track Another Package 4-                                          frack Packages             Get the free Informed Delive
                                                                                   Anytime. Ajnywhete         automated notifications on y




                             Tracking Number. 70190700000160325685

                                                                                              Status

                             Your item was delivered to the front desk, reception area,                 Delivered
                             or mail room at 10:52 am on October 31, 2019 In                  October 31,2019 at 10:52 am
                             FARMINGTON, CT 06032.                                            Delivered. Front Oesk/Recepnon/Mail Room
                                                                                              FARMINGTON. CT 06032
                                                                                                    I       S. ✓

                                                                                                                                             Tra<
          USPS Tracking*

          Track Another Package +

                                                                               Get the free Informed Delivery® feature to recei
                                                                               automated notifications on your packages




                  Tracking Number 70190700000160325692

                                                                                          Status


                  Your item was delivered to an individual at                                      Delivered
                  the address at 9:20 am on October 30,                                   October 30, 2019 at 9:20 am
                  2019 in SOUTH PORTLAND, ME 04106.                                       Delivered, Left with Individual
                                                                                          SOUTH PORTLAND, ME 04106




BK: 5495 PG: 776
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 62 of 141                                                                      PageID #: 68



                                                                                                                                             V LC'catKxw



         &USPS.COM                       Quick fools           hMASWp                  Thick *M«nag«                (Postal Store                Uudness




                                                                                                                                                             Tracking
                      USPS Tracking

                      Track Another Package +                                                                   Get the free Informed Delivery4' "feature to receive
                                                                                                                automated notifications on your packages




                                    Tracking Numban 70190700000160326613

                                                                                                  Status

                                    Your item has been delivered to an agent at 8:18 am on              Delivered
                                    November 25, 2019 in MONROE, LA 71203.                        November 25. 2019 at 8:18 am
                                                                                                  Delive<ed. To Agent
                                                                                                  MONROE. IA 71203

                                                                                                  GctUtMtotoa s/




                                                                                                                                                                   Deli




                                                                                                                   Tracking                        FAQs >
          USPS Tracking*

          Track .Another Package +
                                !              I
                             Tr^ck Packages                        Get the free Informed Delivery® feature to receive
                                                                                                                                    Learn Mc^re
                             Aijytime, Anywhere                    automated notifications on your packages




                Tracking Number 70190700000160326620

                                                                             Status

                Your item was delivered to the front desk,                          Delivered
                reception area, or mail room at 11:18 am                     November 21, 2019 at 11:18 am
                on November 21.2019 in FARMINGTON,                           Delivered. Front Desk/Reception/Mail Room
                CT 06032.                                                    FARMINGTON, CT 06032




BK: 5495 PG: 777
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 63 of 141                                              PageID #: 69




                                                                                                          Traekmg     FAQs >
          USPS Tracking*

          Track Another Package +

                              Trfick Packages              Get the free Informed Delivery® feature to recseive
                              Aiiiytime, Anywhere          automated notifications on your packages




                Tracking Number: 70190700000160326781

                                                                     Status

                Your item was delivered to an individual at                Delivered
                the address at 10:26 am on November 19,              November 19. 2019 at 10:26 am
                2019 in SOUTH PORTLAND, ME 04106.                    Delivered. Left with Individual
                                                                     SOUTH PORTLAND. ME 04106

                                                                     Get Updates XZ

                                                                                                     Traoking
          USPS Tracking*

          Track Another Package +

                             Track Packages              Get tire free Informed Delivery® feature to receive
                             Anytime, Anywhere           automated notifications on your packages




                Tracking Number: 70181130000231153402

                                                                 Status

                Your item was delivered at 10:31 am on            (ST Delivered
                November 19, 2019 In LEWISTON, ME                November 19, 2019 at 10:31 am
                04240.                                           Delivered
                                                                 LEWISTON. ME 04240

                                                                 Gat Update* xz




BK: 5495 PG: 778
      Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 64 of 141                                                        PageID #: 70


                              SENDER: COMPLETE THIS SECTION                                     COMPLETE THIS SECTKMpN DELiVERY

                              ■ Complete Items 1,2, and 3.                                      A Slyuuluiu
                                                                                                                                                      IH Agent
                              ■ Print your name and address on the reverse
                                                                                                                                                          Address
                                so that we can return the card to you.
                                                                                                B.             by           Name)               C. DateofDellvi
                             ■ Attach this card to the back of the mailpiece,
                             __ or on the front If space permits,
                              1. Article Addressed to:                                          D. la delivery eddrqfs tfffarwrt from Item 1?             Yes
                                                                                                   If YES, enter delivery address below:                  No


                               ’2-'7C?                                      >1-4. i'J I




                                   ■MinmniiMiiM
                                                                                              3. Service type                                Priority Mai Express®
                                                                                                Adult Signature                              Registered Mali™
                                                                                                Adult Signature Restricted Delivery          Registered Mall Restrfc
                                                                                                CeitiltedlMall®      ;                       Dcirvery
                                      9590 9402 5447 9189 0017 30                               Certiflwl Mail Restricted Delivery           Return Receipt for
                                                                                                Collect on Ocllvory                          Mnrchandlsa
                                                                                                Collect <xi Dallvory Roetrioted Oedvory      Signature Confirmation
                              2. Article Number (Transfer from service label).                                                               Signature Confirmation
                                                                                                Insured MaH
                                                                                                                                             Restricted Delivery
                              van 0700 DOOQ                                  2=174        ,
                                                                                                Insured Man Restricted OeHvwy
                                                                                                (over 1500)                  , „

                              PS Form 3811, July 2015 PSN 7530-02-000-9053                                                                Domestic Return Recelf:




                              SENDER: COMPLETE THIS SECTION
                              ■ Complete Hems 1, 2, and 3.
                                                                                                                                                          Agent
                              ■ Print your name and address on the reverse
                                so that we can return the card to you.
                                                                                                X                                                         Addresser
                                                                                                                                                C. Date of Dellven
                             ■ Attach this card to the back of the mallpiece,
                             __ or on the front If space permits._____________
                              1. Article Addressed to:                                                                            from Item 1? ErYes
                                                                                                     If Yiaf, enter delivery address below.      No

                             /KfLicpartl          (\SSO<L. <’ G.l'i'otv




                                                                     roe.                     3. Service Type                                Priority Maa Express®
                                                                                                Adiit Signature                              RegMered Man™
                                                                                                Adult Signature Restricted Delivery        D Redtaterad Mail Restrictor
                                                                                              DCertlftoOMali®                                DeSvory ,
                                                                                                                                             Rttum Receipt far
                                      9590 9402 5250 9154 3099 97                               CertHM Mel Restricted Detwry
                                                                                                Collect rxiDelvwy                 •
                                       n
                             ______ ZL16          i
                                                  1130     0002    3110 llfifinonBectonDelivaryHwtricledDr
                                                           _ —----------------------------------- XRtehktedoavtey
                                                                                                                                             Restricted Dettvety '
                             ____________     -     .           .................. -TZErromaii—.--------------------
                             PS Form 3811, July 2015 PSN 76304)2-0004053                                                              Domestic Return Receipt




BK: 5495 PG: 779
Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 65 of 141                                                                                        PageID #: 71




                      SENDER : GOMPLETr. THIT>\ SECTION.                                           QQM^Lt-TF. THiSlSECriON ON f>FI

                      ■ Complete items 1,2, and 3.
                     B Print your name and address on the revere©
                       so that we can return the card to you.
                     ■ Attach this card to the back of the mailpiece,                              B. Received by
                       or on ttie front if space permits.___________
                                                                                                                          W
                     1. Article Addressed to:           .

                    vi)A.                       M'**                                               D. Is OeUvery adckoss
                                                                                                      If YES. enter delive«y
                                                                                                                                                      Keml?
                                                                                                                                                    betow:


                                                                                                                                                         PS


                                                                                          ;3. Service Type

                           ■MIMIIMIMI3
                                                                                                                                                      Priority Mall Express®
                                                                                          ;□ Adult Sgnsture                                           Aegtsterod Malt™
                                                                                          i O Adult Signature Restricted Defivery                   Q Roolrrterad Mail RaiMcted
                                                                                              Certified MaH®
                             9590 9402 5447 9189 0014 26                                      CertMed MaH Restrtded DeSwry                             Retwn Receipt for
                                                                                              CoSlect on Delivery                                      MerehandUa
                                                                                              '"ollecl: on Delivery R-Bsirtoted Delivery               Slgnrrtire Confirmation™
                     ?nn o?OQ aooi tnaa bvdb                                                                                                           Slgmtura Confirmation
                                                                                         ,     ••rSuned iVriw Restneu^d Delivery                       ResMctod Delivery
                    -------------------------------------------------------------------------------- ________________________
                     PS Form 3811, July 2015 PSN 7530-02-000-9053
                                                                                                                                               Domestic Return Receipt .




                                                                                                                                      M DEI IVEli;'
                   SENDER] COMPLETt; 1HIS SECTION i
                                                                                              A^S!flnature
                   ■ Complete Items 1, 2, and 3.                                                                                                                   Agent
                   ■ Print your name and address on the reverse                               X                                                                  U Addressee
                     so that we can return the card to you.
                   ■ Attach this card to the back of the mallpiece,
                                                                                             "57
                     or on the front If space pannits.___________                             Z      »         -f   .          - -I .......... -          ■ ■■   r--|'‘*M~*~'
                                                                                              D. Is delivery address dtffetwtfrom Item 1? O Yes
                   1. Article Addressed to:                                                      If YES, enter delivery address below.      No




                                            .ct atosz-
                                                                                             3. Service Typo                                        O Priority MaH Express®
                                                                                                                                                      RegtsteredMall™

                          ■HnilllHIIMIIIIH
                                                                                               Adult Slffiature
                                                                                               AtMl Signature Res Meted D<*vwy                        fterikrterad Mall Restricted
                                                                                               CertttodMea®                                           Delrvrrry
                                                                                                                                                      Rdum Recast fcr
                   -------- a^on 0402 5447 91890014 64                                         Certifed MaU Restricted Defhwy
                                                                                                                                                      Merehendlee
                                                                                               CofectonDoBvwy                                         Slenatura Conflrmatfon™ ’
                   in 0700 oooi boaa sao?                                                      Cdkct on Delivery Restricted Delivery
                                                                                                                                                       SlfinatureConflmiatlon
                    X. WIURJ IMWiHAn (/sm.mz... .....                                          Insured Man
                                                                                                                                                      Restricted Delivery
                                                                                               Insured Moll Roetrfctad Deltvery
                   low {fioff pool IfiP ^9/                                                     over $500)     ___________ _
                                                                                                                                                   Domestic Return Receipt
                    PS Form 3811, July 2015 PSN 753002-000-9053


                                                                                                     EpL rll            THIS SEC PO" ON                                     I
                                                                   lECinON
                          SENDER - COMPL-F^ Nil-                                                         A Signature
                                                                                                         y.                                                                O Agent
                          ■ Complete items 1,2, and 3.     ■;, -  .v.                                ( A <Z Z ' rfrtrrexcwiw____ S.____ Q Aidressee
                          ■ Print your name and address on the reverse
                                                                                                          B. Received by (Printed Name) C. Date of Delivery
                             so that we can return the card to you.                                      . 'IWua/.Z.er-... .1/0 Wr?
                           ■ Attach this card to the back of the mallpiece,
                                                                                                          D. Is deavwy address different from Item 17 O Yes
                               or on the
                            t. Artldd Addressed   space permits
                                         front ifto:       n ~ .              ~                >     J       H YES, enter delivery address below:     □ No

                             J’prrt or^ACU» pruAr A/at'P^ I

                              As-rac i o. h'o ^C/o CUse i^co
                                  'tU v,                Co r re            o ade nS-£
                                                                                                                                                                   hlalt/MellF’Pra®8*
                                                                                                         3, Service Type
                                    an ■Him mi ismiu i                            lift in
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 66 of 141                                                               PageID #: 72


                             SENDER: COMPLETE THIS SSCIION                                       I co/jpth/; r,-i:
                             ■ Complete items 1,2, and 3.                                           A. Signature
                             ■ Print your name and address on the reverse                                                                                      Agent
                               so that we can return the card to you.                                                                                          Addressee
                             ■ Attach this card to the back of the mailpiece,                       B. Received by (Printed Namo)                   C. Date of Delivery
                               or on the front If space permits.
                             1.    Article Addressed to:                                                                 ...... ...... ..... ^/3j//q
                                                                                                    D. Is delivery address different from item 1?              Yes
                                                                                                       M YES, enter delivery address below:                    No




                            Aitz<
                            7<7 0                                            l-A


                                  imiiiiiMiiiiiiifl
                                       9590 9402 5447 9189 0014 57
                                                                                                3. Service Type
                                                                                                O Adult Signature
                                                                                                   Adult Slgneture Restricted Delivery
                                                                                                O Certified Mitll®
                                                                                                                                                Warty Maa Express®
                                                                                                                                                Reslstered Mau™
                                                                                                                                              O ftonlstsred Mail Restricted
                                                                                                                                                Dafery

                                                        7)403-M 77^                             O Certified Mall Restricted Delivery
                                                                                                O Collect on Delivery
                                                                                                                                                Ootem Receipt for
                                                                                                                                                Merchandise
                                                                                                (3 Collect on Delivery Restricted Delivery      Signature Confirmation™
                        VOIT D700 □□□! bQ3B 5814                                                   Insured Mall
                                                                                                   Insured Mall Restricted DeCvery
                                                                                                                                                Signature Confirmation
                                                                                                                                                Restricted Delivery
                                                                                                    (weriSOO)
                           PS Form 3811, July 2015 PSN 7530-02-000-9053
                                                                                                                                             Domestic Return Receipt ■


                                                                                                            I                       I     1     —
                                  SENDER: COMPLETE THIS COTTON                                          COM'f-'l f T/’ THIS SF.CIIO'N ON DBLIVEfTY


                                  ■ Complete items 1,2, and 3.
                                  ■ Print your name and address on the reverse
                                                                                                                                                                     Addresse
                                    so that we can return the card to you.
                                                                                                                                 ted Name)              C. Date of Deliver
                                  ■ Attach this card to the back of the mallpiece,
                                    or on the front if space permits.____________
                                  1. Article Addressed to:                                              D. Is delivery
                                                                                                           tf YES, enter delivery address below.                     No




                                                                                                      3. Service Type                              apriority Maa Express®
                                                                                                        Adult Signature                              Registered Mall™
                                                                                                        Adult ^Signature Restricted DeSvary          Reglatered Mail Restric
                                                                                                        Certified Moll®                              Deltoy
                                          9590 9402 5447 9189 0014 40                                   Certified Mali Restricted DeHvay           O Return Receipt for
                                                                                                        Collect on Delivery           .              Merchandise
                                                                                                        Collect on Delivery ResMoted Delivery        Signature Confirmation
                                  2.    Article Number fTfansfer from sarvfcetebeg                    n tnaurwrt {t/jgjj                <t>        O Signature Conftanation
                                                                                                               •J MaB ResMoted Defivwy               Restricted Defivery
                                        701ti 0700 0Q01 b032 SfafiS                                             500)

                                  PS Form 3811, July 2015 psn 7530-02-000-9053                                                                   Domestic Return Receip



                          SENDER: COMPLETE THIS SECTION                                         COMI,I E "fl ~:,T3 SECTION ON ®fcl./V£/3y

                                                                                                a Signm#® a
                          ■ Complete items 1,2, and 3.
                          ■ Print your name and address on ttue reverse                         X                                                         Addressee
                            so that we can retiim tha card to you.
                                                                                                13.                    Name)        C. Date Of Delivery
                          ■ Attach this card to the back of the mailpiece,                      __________________ ____________________ lg.hJi.1......
                            or on the front If space permits.__________ _
                          1. Article Addressed to:                                              D. Is delivery addiriSs different trail item 1?        D Yes
                                                                                                     If YES, enter delivery address tietow:               No




                          ^0?
                           9^ Psuf(,.wi >iW
                                                                                            3. Service Type                                   Alorlty Mail Express®


                                  BIHHIIHIIIIM
                                   9590 9402 5447 9189 0014 33
                                                                                                Adult Slgnaturo


                                                                                                Certified MaH Restricted Delivery
                                                                                                                                               Registered Mall™


                                                                                                                                               Return Receipt for
                                                                                                Colloct on Dollvory                            MwtiEaxUse
                                                                                                                                               Signature Confirmation™
                          2.. Article Numbecffiansfer femsendca /nhari--------------------- a          “ °ellvwy Restriot0d De6vw*
                                                                                                                                               S’grtaiure Confirmation

                         701.4 0700 DDD1 bOBB SblB                                              Insured MaH Restricted Delivery                Rostricted Dolh/ory




BK: 5495 PG: 781
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 67 of 141                                                                          PageID #: 73
                                                                                                                   A. Signature                                             x
                             H Complete items 1,2, and 3.
                           . a Print your name and address on the reverse                                                                                                 Addressee
                               so that we can return the card to you.                                              S. Received by (Printed Name)               C. Date cWelivery
                             ■ Attach this card to the back of the mallplece,
                               or on the front if space permits.                                                  De>i*<s            £*tfy                       44   Lmi^_
                                                                                                                   D. Is delivery address differdnt from item lit! Yes
                                1. Article Addressed to:
                                                                                                                       If YES, enter delivery address below:               No



                           ,                      HvAuv St.


                                                                                                              3. Service Type                                 Prtxity Mail Express®
                                                                                                                Adult Signature                               Registered Mall™
                                                                                                                Adult Signature Restricted Delivery           Registered Mail Restricted
                                                                                                                Certified Mall®                              Delivery
                                              9590 9402 5447 9189 0013 34                                       Certified Mail Restricted Delivery           Rolum Receipt for
                                                                                                              Q Cotect on Delivery                           Mercnanulso
                                                                                                                Collect on Delivery Restricted Delivery      Signature Confirmation™
                                                                                                              3 insured Midi                                 Signature-Confirmation
                            ?nicl D7DD 00D1 L>032 bfc>37                                                      3 Insured Mail Restricted Delivery             Restricted Delivery

                            ....... —... —-- -------- -- ----- ---                                                 (over $500)                                          ....................

                               -PS Form 3811, July 2015 PSN 7530-02-000-9053                                                                              Domes tic Return Receipt



                                         2                                                                        COMPLc|r THIS SECTION o|
                               SENDER: COMPLETE THIS SECTION
                               ■    Comptete Items 1,2, and 3.                                                    fi>. Signature
                                                                                                                                                                      O Agent
                               ■    Print your name and address on the reverse                                    X                                                      Addressee
                                    so that we can return the card to you.
                                                                                                                  B. Received by (Printed Name)                C. Date of Delivery
                                    Attach this card to the back of tiie mailpiece,
                                                                                                                                                              1LZA&/Z?.-
                                    or on the front if space permits.                                                                                                 ItCr_________
                               1. Article Addressed to:                                                           D. Is delivery address different from item I?          Yas
                                                                                                                       If YES, enter delivery address below:              No
                                                                             Kama ,        n.4 .
                               c/o C.H/IS6 <l£***d $



                                                                                                             3. Service lype                                 Priority Mail Express®

                                         iinMiwiiniHiEi
                                             9590 9402 5447 9189 0013 58
                                                                                                             Adult Slgnato
                                                                                                             Adult Signature Restricted Dellvety
                                                                                                             Certified Mai®
                                                                                                           O CciHted Mit8 RssMcted ttafiveiy
                                                                                                                                                             Registered Mall™
                                                                                                                                                             Registered Mail Restricted
                                                                                                                                                             twery
                                                                                                                                                             Rattan Receipt tor
                                                                                                             Coltect on tlslivnry                            Merchandise
                                                                                                             Collect on DeBvery Restricted Defivety          Slgriature Confirmation™
                               2. Article Number            (Tamsfer from service fabel)                                                                     Signature Confirmation
                                                                    _____           _______________ ,___ JJJnsured Mail
                               ___-.............. "           .... nnnl    un-i2       bDJ--                  isurad Mall RestrictedDelivay                  Restricted Delivery
                               7Q1=| 0700 0001 bu-it-.. °...                                             (   (puerssoo)

                                      , Uin« oo IT, July'2015 PSN 7530-02-000-9053                                                                 '   Domestic Return Receipt •


                           ——dW—M—M——.. ...... .................

                           | SENDER: COMPLETE THIS SEC T/ON                                                        CO MP LEITE' TH.S SECTION o\n tOE.'./'JcP/                                  i

                               a Complete items 1,2, and 3.                                                        A. Signature                                 ——
                               ■ Print your name and address on the reverse
                                 so that we can return the card to you.                                                                        7     Asent
                                                                                                                                                —>43 Addressee
                               ■ Attach this card to the back of hie mailpiece,                                   B.            sdYiyName)                     C. Date of Delivery
                                 or on the front If space permits.
                               1. Article Addressed to:                                ———
                                                                                                                       Is delivery addites different tom Item I?   Yes
                                                                                                                       If YES, enter dsilvciy address below:     Q No
                                                                SvCArJe/lcA


                                                                     C.'T


                                       HMWBIHHII
                                             9590 9402 5447 9189 0013 41
                                                                                                             3.Service Tj^pe
                                                                                                              Adult Signature
                                                                                                              Adult Signature Restricted Daltay
                                                                                                              Ccitifisd Malts
                                                                                                                                                            Priority Mail Express®
                                                                                                                                                            Registered Mail™
                                                                                                                                                            RenfstaiedMojlRssWctcd
                                                                                                                                                            DeSuery
                                                                                                           Cl Certified Msll RssMcted Delivery              Return Receipt for
                                                                                                              Collect on tfoHvery                           Merchandise
                                                          _ ____ -                                        TtCnjfoct on Delivery Restricted Delivery         Signature Confirmation™ ,

                                        oats aEoi                     tood         ooco umr                                                                 Signature Confirnintlon •
                                                                                                                                                            Restricted DbSvery
                           ......             .........                                                  1        iprer $500)
                           PS Form 3811, July 2016 PSN 7530-02-000-9053
                                                                                                                                                       Domestic Return Receipt ;




BK: 5495 PG: 782
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 68 of 141                PageID #: 74



                THUS IS A PRIVATE COMMUNICATION BETWEEN PARTIES

       From: Justin W. Burgess
               c/o LucasGraywolf Hamilton, 3^ Party Affidavit Witness
               428MerrowRd
               Auburn, ME 04210                                         .\/V
       To:                                                              V
           JPMorgan Chase Bank, National Association
           c/o Chase Records Center.
           Attn: Correspondence Mail (’ode LA4-5555
           700 Kansas Lane, Monroe, LA 71203-4774
           Tel: 1-888-310-1506
           Certified Mail #          O1OO 0(^01                (06

          Andrew S. Canella
          270 Farmington Avenue, Suite 171
          Farmington, CT 06032
          Tel: 860 677 2868
          Fax: 860 409 0626
          Certified Mail # ~7oi^           OOP |

          Michael A. Fagone, U.S. Bankruptcy Judge US Bankruptcy Court
          District of Maine
          202 Harlow Street, 3rd Floor
          Bangor, ME 04401
          Ref: Maine U.S. Bankruptcy Court case Justin Wade Burgess 2:2019bk20092
          Certified Mail # 7014 Oloo         ODo I MtfZ.

       .cc
       And new additional parties added to this communication thread:
       William B Jordan - Attorney for: JPMorgan Chase Bank NA for Summary Judgment Court Case ID
       SOPSC RE 2017-00046
       Korde & Associates PC
       707 Sable Oaks Drive Sts 250
       South Portland, ME 04106
       Certified Mail # ‘70 14 0700                           <a7o/
       Registered Mail #

       Hon. Richard Mulhern - Judge for Summary Judgment Court Case ID SOPSC RE 2017-00046
       Maine District Court
       PO Box 1345, Lewiston, ME 04243-1345
       Certified Mail # e7Ql4 0700                          ^(cD(=>
       Registered Mail #                    ______ ____________

       Leonard F Morley, Jr — Attorney for: JPMorgan Chase Bank NA
       Korde & Associates PC
       707 Sable Oaks Drive Ste 250




BK: 5495 PG: 783
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 69 of 141   PageID #: 75



       South Portland, ME 04106
       Mailed on Date:                    By:

       Santo Tongo - Attorney for: JPMorgan Chase Bank NA
       Bendett & McHugh PC
       30 Danforth St Suite 104
       Portland, ME 04101
       Mailed on Date: l(-iff-         By:

       Shannon Merrill - Attorney for: JPMorgan Chase Bank NA
       Bendett & McHugh PC
       30 Danforth St Suite 104
       Portland, ME 04101
       Mailed on Date:                   By:

       Andrew John Schaefer - Attorney for: JPMorgan Chase Bank NA
       Bendett & McHugh PC
       30 Danforth St Suite 104
       Portland, ME 04101      ,
       Mailed on Date: t' "IBy:

       Tammy Ham-Thompson - Judge
       Maine District Court
       26 Western Avenue, South Paris, ME 04281
       Mailed on Date: /               By:

       Patricia Fuller - Assistant Clerk
       Maine District Court
       26 Western Avenue, South Paris, ME 04281
       Mailed on Date:                   By:

       Pat Graffam - Clerk
       Maine District Court
       26 Western Avenue, South Paris, ME 04281
       Mailed on Date:          Y*)    By:

       Michelle M Racine - Clerk
       Maine District Court
       26 Western Avenue, South Paris, ME 04281
       Mailed on Date:                  By:

       Lance Walker - Justice
       U.S. District Court, District of Maine
       Edward T. Gignoux U.S. Courthouse
       156 Federal Street
       Portland, MF 04101
       Mailed on Date:                     By:

       Robert W. Clifford -Justiice




BK: 5495 PG: 784
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 70 of 141                         PageID #: 76


       Androscoggin County Courthouse
       2 Turner Street, Auburn, Maine 04210
       Mailed on Date:                  By:


       Aaron Frey - Maine Attorney General
       6 State House Station Augusta, ME 04333
       Mtiiled on Date:                 By:

       Philip Norman, Operations Manager
       U.S. Bankruptcy Court, District of Maine
       202 Harlow Street
       Bangor, ME 04401


       Notice to agency = notice to principle. Notice to principle = notice to agency
       October /<?2019


       Also Ref: Maine U.S. Bankruptcy Court case Justin Wade Burgess 2:2019bk20092


       NOTICE # 4, NOTICE OF DEFAULT WTITI72 HOURS REQUEST TO CURE

       As of the writing of this communication today on 11/^/2019, my 3 rd party Affidavit Witness of
       Communications, LucasGraywolf Hamilton, has not received any communication from those
       directed herein in the required format of a signed, sworn under penalty of perjury, under unlimited
       liability, point by point rebuttal of the statements and sworn facts provided in my communications.


       With this letter, I give notice that you, your principal and its agents are in default of the NOTICE #
       3 „ CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE AND NOTICE OF
       CLARIFIACTION AND MODIFICATION OF MY TERMS, 2nd TIME, WITH 10 DAY
       EXTENTION TIME EXTENTION dated 10/29/2019.


       It has been over ^Z-days since the original communication dated 9/27/2019 was sent.
       It has been over*?^ days since the NOTICE #2 communication dated 10/21/2019 was sent.

       It has been over'tt) days since the NOTICE # 3 communication dated 10/29/2019 was sent




                                                                                                          2G




BK: 5495 PG: 785
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 71 of 141                             PageID #: 77



       You are instructed to resjjond to:
          Justin W. Burgess
           c/o LucasGraywolf Hamilton, Affidavit Witness of Communications
          428 Merrow Rd
           Auburn, ME 04210


       As originally noted, I accept your payoff offer, as is or updated, under the following terms and
       conditions - that you provide the following proof of claim, responding on a point-by-point basis, via
       sworn affidavit, under your full commercial liability, signing under penalty of perjury attesting to
       the validity of the statements presented in this NOTICE #3 CONSTRUCTVE NOTICE OF
       CONDITIONAL ACCEPTANCE and that the facts stated in the attached Commercial Affidavit
       dated 9/27/2019 are true, correct, complete and not misleading. Mere declarations are an
       insufficient response. Please take notice that your response must be in writing and will only be
       recognized when addressed as/to: Justin W. Burgess, C/o LucasGraywolf Hamilton, Affidavit
       Wi tness of Communications, 428 Merrow Rd, Auburn, ME 04210. Your failure to provide proof of
       claim by sworn, complete point by point response, under unlimited liability, shall constitute a
       breach of this binding, self-executing, irrevocable contractual agreement and subject the breaching
       party to fines, penalties, treble damages, fees, taxes and other assessments, coupled with interest and
       expresses your acknowledgement and declaration of nil debt on this loan, the granting to me of the
       necessary jxwer, title and authority to prepare and record the instrument that releases the loan on
       title with the registry of deeds and the necessary power, title and authority to have the said frivolous
       foreclosure case Summary Judgment Vacated and dismissed with prejudice and proof that I am a
       creditor and not a debtor in regards to this loan and my Bankruptcy aisc mentioned herein.


           1. PROOF OF CLAIM; That lack ofjurisdiction doesn *t exist because:


                  a. As I am a living, sui juris, man of age of majority and you have not presented the
                      necessary living man or woman, making claim of personal harm suffered from me,
                      making sworn non-hearsay testimony with personal information through direct
                      interaction with me, under penalty of petjury, with lawful standing and title to speak
                      to his/her claim of injury. Without proper title, Lawyers or others can’t present for a
                      legal fiction as those entities are considered diseased. Please refer to probate law and




BK: 5495 PG: 786
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 72 of 141                         PageID #: 78



                  ‘the dead man's statute, also known as a dead man act or dead man's rule, is a
                  statute designed to prevent perjury in a civil case by prohibiting a witness who is an
                  interested party from testifying about communications, or transactions with a
                  deceased person (a "decedent")”. The so-called witness, Jeremy Summerford, at the
                  Summary Judgment Trial hearing on 9/26/2018, made no claim of personal injury,
                  demonstrated no necessary title to speak, for a decedent, nor did he demonstrate any
                  direct personal interaction with me and thus his testimony is not fact and is empty
                  and meaningless on the record. Also refer to Trinsey v Pagliaro, D.C.Pa. 1964,229
                  F.Supp. 647. "Statements of counsel in brief or in argument are not facts before the
                  court and are therefore insufficient for a motion to dismiss or for summary
                  judgment."


               b. Your foreclosure Summary Judgment case complaint is a substantive and procedural
                  nullity and is frivolous on its face.



                      i. There is no controversy because there is In Fact no contract as per U.S.
                          House Joint Resolution 192. In year 1933, all Constitution specified lawful
                          gold and silver coin money was removed and all U.S. debts were deemed pre­
                         paid as consideration. With this absence of money, no consideration was
                          offered to me and thus the original closing transaction paperwork fails as a
                          contract. I offered the only thing of value, credit. Further, my signing the note
                         created a cash instrument that was deposited at the “closing table”, an entity
                         with the status of a bank, which instantly zeroed out the loan balance, yet I
                         was not given the requisite receipt for that nor the rightful credit for payoff.
                          In off-book accounting from the liabilities side, which is how notes are held,
                         I am the creditor and the Wrongdoer, Chase, is the debtor. Today, the
                          term “dollars” only represents a unit of measure and not a species of lawful
                         money. See Montgomery Wards v. Eugene Glasure case # XX-XXXXXXX
                         (1982) 52nd 3rd Judicial District Court of Michigan whereby the honorable
                         Justice James P. Sheehy residing ruled that “coffee beans” is money, as he
                          storms out of the court room shouting, “I don’t care if you pay it in coffee
                          beans just so long as you pay it.. This judge, as in many internationally




BK: 5495 PG: 787
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 73 of 141                         PageID #: 79



                         unpublished state and federal cases, could not bring himself to violate the law
                         in open court on record and declare Federal Reserve Notes to be legal tender
                         in payment of debts, (outside exclusive federal territorial jurisdiction, i.e.
                         Washington D.C.) so Glasure, a Michigan Native, paid the settlement, court
                         costs, and a few other debts, in “Coffee Beans”.


              c. The plaintiff’s standing is void as the commercial chain of transactions of the said
                 loan and its title history is besmirched and bifurcated with un-clean hands and fraud
                 ab intio. The note was paid off at closing. The original closing did not properly fund
                 escrow to capture real title; thus the resulting securitization of the said note
                 defrauded investors including me, the creator and donor of the instrument. Further,
                 given the mechanical nature of credit default swaps, the loan went into default as
                 soon as it closed and thus converted what was supposed to be a title insurance policy
                 into a bond transacted as a security derivative which then again compromised real
                 title. The real misdeed issue is actually mot about a note or mortgage in foreclosure
                 but is about the Chase managed REMIC (Real Estate Mortgage Investment Conduit)
                 and the related Securitization Tmst and transfer missteps invoicing penalties and
                 unpaid taxes on the asset. This phony foreclosure claim is really about Chase’s
                 interest in abandoning the property at the owner’s demise to fund these costs that
                 should have been transacted by Chase, the entity that more than likely benefited with
                 an ROI in excess of 1000%; while I received nothing. Further, in the court transcripts
                 of the Summary Judgment of Foreclosure trial hearing on 9/26/2018, the trail in
                 which I was erroneously not invited to attend, the participants effectually admitted to
                 uttering a false security when they describe the supposed security documents in hand
                 in the four comers of that Trial Court room as being non-genuine as the paperwork
                 was bifurcated, redacted and altered with other markings of post closing creation.


              d. The original mortgage with Men imack was initiated in 4/15/2010. The MERS
                 assignment to Chase dated 9/5/2012 is void as MERS has no authority in the State of
                 Maine to assign a mortgage or note as per Bank of America v Greenleaf et al 2014
                 ME Supreme Court Docket Cum-13-536. In addition to that, MERS successfully
                 completed a State of Maine application for surrender of authority to do business in
                 2002 thus removing their legal authority to do anything in Maine. The last minute




BK: 5495 PG: 788
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 74 of 141                              PageID #: 80



                         phony retro Ratification of Assignment dated 7/9/2015 and recorded in Book 5233
                         Page 133 at the Oxford County Registry of deeds is an act of smoke and mirrors and
                         is clearly an admission to the fraud of MERS and Chase as per the effect of Bank
                         of America v Greenleaf 2014, ME 89


                  e. I have reviewed the contents of the foreclosure file at the Oxford County District
                         Court house and in the accompaniment of 2 witnesses, found no evidence of signed
                         proof of service of notice to me alerting me of any of the 4+ tentatively scheduled
                         Notice of Trial court hearing dates leading up to and including the resulting
                         Summary Judgment trial I was also erroneously not invited to attend. This lack of
                         due process instantly created loss ofjurisdiction. We also found no evidence that
                         there was ever the genuine mortgage or the genuine mortgage note in the file or at
                         the Court House.


         2.   PROOF OF CLAIM; You have the genuine mortgage note and the genuine mortgage and
              that you as the agent and your principal and all the related agents and their affiliates
              including the court are not conspiring and committing the felony of Uttering Counterfeit
              Obligations or Securities as described by 18 U.S. Code § 472 and 18 U.S. Code § 371 which
              could be sufficient proximate Cause in a Civil RICO (Racketeer Influenced and Corrupt
              Organizations Act) Claims Pleading not to mention 18 U.S. Code § 4 - Misprision of felony
              for all sworn parties who have handled this court file and not reported these potential
              criminal issues. I have listened to and read the Summary Judgment Court transcript and the
              parties admit to not having the genuine documents as required per Maine State Foreclosure
              Statute.


         3. PROOF OF CLAIM; At or before the original closing, a full disclosure was provided to me
              that:
              a) the original lender, Merrimack Mortgage Company, is not actually lending me their
                  money with the loan
              b) I am the only party that brought value to the closing table with my signature and my
                  credit
              c) this is an investment contract disguised as a loan where my signature created the security
              d) I am the donor stooge who hands over the note endorsed in blank, a “cash” deposit




BK: 5495 PG: 789
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 75 of 141                         PageID #: 81



            e) the note is paid in full at the closing and resold afterwards creating income at 2,3,4 el­
                even 10 or more times the original loan amount to the original lender and assigns.
            f) as the creator, I have proprietary, possessionary and property interest in the security and
                its proceeds as per UCC 8-102 and a claim of recoupment per UCC 3-306 and the
                Statute of Frauds
            g) I have an interest in a financial asset as per UCC 3-306 and an adverse Claim as per
                UCC 8-108
            h) I have a right to rescind and the forms H-8 or H-9 are provided to me as required
            i) lam the burdened party targeted to pay the tax that the investor or its agents owe as the
                security is held using off-book accounting gymnastics to delay or avoid the payment of
               tax.
            j) that with these off book accounting methods on the liabilities side, because I am the one
                who is the provider of value for the instruments’ creation, I am actually the Creditor and
                Merrimack Mortgage Company and later the alleged assignees and now Chase is the
                Debtor.


         4. PROOF OF CLAIM; These non disclosures, these misrepresentations mentioned in (2)
            above do not give me the right to recession under Reinstatement Second Series Contracts
            Section 164


         5. PROOF OF CLAIM; You have proof of my written consent that I abandoned my claim of
            recoupment


         6. PROOF OF CLAIM; The note and mortgage contract is not unconscionable, as in Maxwell
            vs. Fairbanks: Boston, Mass. - Where Federal bankruptcy judge found Fairbanks demanded
            money it was not owed, tried to foreclose on a note it did not legally possess.


         7. PROOF OF CLAIM; 16 CFR Part 433 - PRESERVATION OF CONSUMERS' CLAIMS
            AND DEFENSES does not preserve claims for the note creator, me, which would define
            Chase as taking the note “subject to” and thus not be a holder in due course




BK:5495 PG: 790
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 76 of 141                               PageID #: 82



         8. PROOF OF CLAIM; That UCC 3-305-C does not say I have the right to not pay on the note
            because the person seeking enforcement Chase, does not have the rights of a holder in due
            course.


         9. PROOF OF CLAIM; a forensic review of the Cusip numbers on the court bonds that are
            being utilized for this case will not indicate the potential for financial incentive for the court
            to arbitrarily and capriciously favor the Wrongdoer, Chase.


         10. PROOF OF CLAIM; If said incentive exists, it is not a potential salient “association in fact”
            RICO “enterprise” issue, as this Maine District Court exists as a “for profit” trading agency
            with IRS EIN (Employment Identification Number), D-U-N-S (Data Universal Numbering
            System) number, NAICS (North American Industry Classification System) number and a
            Cage Code (Commercial and Government Entity Code) number.



         11. PROOF OF CLAIM; this Court does not operate under Maritime Admiralty Law which, in
            civil cases like this, relies on treating people as fictitious person or trust entities so as to
            deceptively pull them into the Court’s trading jurisdiction without conscionable full
            disclosure.



         12. PROOF OF CLAIM; this Court is not affiliated in any way with fimding and administrative
            management or influence by the foreign agency known as the IMF (International Monetary
            Fund).



         13. PROOF OF CLAIM; further accounting research on the Cour); may not also indicate if the
            administrative participants and their affiliates are lawfully holding and or trading the
            securities and lawfully assessing and paying the taxes owed, and that there is no inter­
            associate impartial “back scratching” up and down the ranks, so as to support the notion that
            they, the “enterprise”, are operating with clean hands as can be delineated by RICO
            standards.




BK: 5495 PG: 791
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 77 of 141                         PageID #: 83



         14. PROOF OF CLAIM; that the sworn foreclosure court case administrative participants which
            comprise my new mail list of names used herein have a priority fiduciary interest for the
            constitutional due process of the people defendants over the interest for the Courts and or the
            interest in foreign source of influence like the IMF (International Monetary Fund) or
            membership with BAR (British Accreditation Regency), a membership some folks would
            qualify as an unconstitutional “Title of Nobility ”, Article 1 Section 10, with a membership
            secret language called legalese. Also, that all who received this letter operate with Modus
            Operandi to best minimize client and defendant billable hours by avoiding frivolous
            controversy and exploring a wide range of equitable expedient controversy resolution.




         15. PROOF OF CLAIM; You have exercised all other usefill remedies such as:
               a. The HJR 192 remedy of Acceptance for Value/Retum for Value using IRS 1099 OID
                   and other forms - as there is no alleged debt because it is pre-paid.
               b. Offering me the method of settling any alleged debt via my right to Subrogation
                   using the case bond you created.
               c. Accepting and completing a short sale of the property as the property has been list ed
                   with realtor and buyer contract presented
               d. Offering the right of set off and recoupment as per Dodd Frank Legislation becausie
                   my signature and credit is the thing that insures everything



         16. PROOF OF CLAIM; that the creators and beneficiaries of the contract called the U.S.
            Constitution are the “People” as noted in it’s preamble, that the Constitution was crafted by
            Original Jurisdiction Law, i.e. Common Law, that the Constitution by way of Marbury v.
            Madison, 5 U.S. 137, 1 Cranch 137, 2 L. Ed. 60 (1803), is the supreme law of the United
            States and that Government entities it created are agents of the State (i.e. Public Courts,
            Police etc.) that exist to serve the “People”, and through Erie Railroad Co. v. Tompkins, 304
            U.S. 64 (1938) titiat there is a recognized duality of citizenship and that the “people” part
            exist as living man or woman with god given rights protected by the contract and thus
            protected by common law. Thus, the beneficiaries in the equation are the people, and the
            supreme law is that of original jurisdiction, common law, over that of statute or code and




BK: 5495 PG: 792
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 78 of 141                              PageID #: 84



              that public courts exist as agents to serve the people and protect their rights under the
              contract via common law when properly invoked.



       You, All Parties Noted Herein, and the principal, JPMorgan Chase Bank, National Association now
       have until November 23,2019 to have delivery in hand to LucasGraywolf Hamilton, the Affidavit
       Witness of Communication, the requested response..


       You, the principal, its agents and affiliates have seventy two ,72, hours from receipt of this new
       communication to respond on a point-by-point basis, via sworn affidavit, under your frill
       commercial liability, signing under penalty of perjury attesting to the validity of the statements
      presented in my last communication NOTICE # 3, CONSTRUCTIVE NOTICE OF
      CONDITIONAL ACCEPTANCE AND NOTICE OF CLARIFIACTION AND
      MODIFICATION OF MY TERMS, 2nd TIME, WITH 10 DAY EXTENTION TIME
       EXTENTION dated 10/29/2019 and the facts stated in the COMMERCIAL AFFIDAVIT dated
       9/27/2019 are true, correct, complete and not misleading. Mere declarations are an insufficient
       response. There will be no extension of time considered and please take notice that your response
      must be in writing, in the format demanded above and will only be recognized when addressed
      as/to: Justin W. Burgess c/o LucasGraywolf Hamilton, Affidavit Witness of (Communications, 428
      Merrow Rd Auburn, ME 04210.


      Failure to respond as defined herein will be deemed agreement with the facts stated in the attached
      Commercial Affidavit and an inability to prove your claim, thereby you. Chase, your agents: of their
      affiliates and any other new or unmentioned related agents or affiliates, to collectively be referred to
      as “Your Enterprise”, render a final judgment between the entities and their privies as that of the
      highest courts, considered res judicata and estoppels of record with Maine Title 4: JUDICIARY
      Chapter 19: NOTARIES PUBLIC § 952 Protest of Losses; record and copies and § 953 Demand &
      notice on bills creating the Bill of Exchange, with irrevocable contractual obligation, for
      Presentment of Administrative Declaratory Judgment of:


              1. nil debt on JPMorgan Chase Bank, National Association and it’s loan # 187651154 and
                  file the Administrative Declaratory Judgment as instrument of proof in Maine U. S.




BK: 5495 PG: 793
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 79 of 141                             PageID #: 85



                  Bankruptcy Court case Justin Wade Burgess 2:2019bk20092 that I am a creditor and not
                  a debtor regarding said loan.


              2. a granting to me of the power, title and authority to record the Administrative
                  Declaratory Judgment from my common law Court of Record as the instrument for the
                  lien release and discharge of the Merrimack Mortgage Company, Inc. with MERS,
                 Mortgage and all assigns, i.e. Chase, with original Book 4578 Page 99 recorded on
                 4/20/2010 at tire Oxford County Registry of Deeds, South Paris, Maine.



             3. a granting to me of the power, title and authority to record the Administrative
                  Declaratory Judgment as the instrument from my common law Court of Record, as the
                 Order To Vacate Summary Judgment, dated 12/12/2018 and Dismiss with prejudice the
                 subject case at South Paris, Maine District Court SOPDC-RE-18-19 a/k/a SOPSC-RE- -
                  17-46 JPMORGAN CHASE BANK, NATIONAL ASSOCIATION v. JUSTIN
                 BURGESS associated with the Clerk Certificate with notation of docketed as # SOPSC-
                  RE-17-46 which is recorded at the Oxford County Registry of Deeds, South Paris, Maine
                 in Book 5371 and Page 108.



             4. Your Parties have breached this binding, self-executing, irrevocable contractual
                 agreement and are subject to fines, penalties, treble damages, fees, taxes and other
                 assessments, coupled with interest.


      This letter constitutes constructive notice to the recipient.
      Notice to agency = notice to principle. Notice to principle = notice to agency


      With this communication and the newly expanded parties associated with the processing of the said
      court cases that I am now addressing, I make notice and declare to all who reads this, I am not and
      do not wish to be a knowing, willing, intentional and with full disclosure party or member to any
      misdeeds or “enterprise” that can be associated with:


                 a. committing the felony of Uttering Counterfeit Obligations or Securities as described
                     by 18 U.S. Code §472




BK: 5495 PG: 794
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 80 of 141                          PageID #: 86


                    b. cunspiriti^ as described by 18 U.S. Code § 371
                    c. which together could be “sufficient proximate Cause” in a Civil RICO (Racketeer
                       Influenced and Corrupt Organization Act) “enterprise” Claims Pleading under 18
                       U.S. Code Chapter 96 as per 18 U.S.C. § 1961-1968




       Lastly, I remind again, any officer of the court of your obligation to report as per 18 U,S, Code § 4 -
       Misprision of Felony.


       Sincerely,

       By-             [yiL
       By: Justin W. Burgess, as a man, suri juris




BK: 5495 PG: 795
     Case 2:20-cv-00164-LEW Document
     09/25/2019 23:16:81 PH
                                       1-1 Filed 05/08/20 Page 81 of
                                TO: 12873533085                   Page141
                                                                        1 of 7 PageID #: 87




                                           CHASE FAX COVER SHEET



              Date:9/25/2019

              If you do not receive a clear transmission, please call us at the Customer Care number referenced below.




              Deliver To:      Justin V7. Burgess                       Sent From:        Chaise (Mail Code OH4-7302)
                                                                                          P.O. Box 183222
                                                                                          Columbus, OH 43218-3222
              Fax:             (207) 358-3085




              Confidentiality Notice:


             Per your request, the documents were sent via the fax number provided to Chase by you or your
             representative. If you do not receive any or all of tlrc pages properly, please call us at (800) 848-9136. This
             transmission is only intended for the use of the individual or entity to which it is addressed, and may contain
             infixmation that is confidential or privileged under law. If tiie reader of this message is not the intended
             recipient, you are hereby notified that retention, dissemination, distribution, disclosure, printing, copying, or
             use of any of the information contained in or attached to this fax is strictly prohibited. If you received tliis
             lax in error, please notify the sender immediately by telephone and destroy the original. Thank you.




                                                                                                                                 -?7




BK: 5495 PG: 796
     Case 2:20-cv-00164-LEW Document
     09/25/2819 23:16:30 HI            1-1 Filed 05/08/20 Page 82 of
                                TO: 12073583085                      141
                                                                  Page 2 of 7PageID #: 88



                 Chane (Mail Code OH4-7302)
                 P.O. Box 183222
                 Columbus. OH 43218-3222
                                                                                                          CHASEO
                 September 25,2019




                 Justin W. Burgess
                 456 Gore Road
                 Otisfield, ME 04270




               We've enclosed the document(s) you requested

               Account:
               Property Address:    456 Gore Road
                                    Otisfield, ME 04270-0000

               Dear Justin W. Burgess:

               Thank you for contacting us about this mortgage account. We've enclosed the documents you requested.

               If you have questions, please call us or visit chase.com. We value our relationship with you and are hippy
               to help with all your banking needs.

               Sincerely,




               Steve Brooks
               Executive Director

               1-800-848-9136
               chase.com

               Enclosures

               Esta comunicacion comtiene informacion importantc acerca de la cuenta. Si tiene alguna pregunta o necesita
                           ayuda para traduciirla, comuniquese con nosotros llamando al 1-855-280-4198.


                                                                                                                   CR3B78
                                                                                                                    CC116




BK: 5495 PG: 797
     Case 2:20-cv-00164-LEW
     09/25/2019 23:I6:« PH                          Document   1-1 Filed 05/08/20 Page 83 of
                                                        TO: 12073583085                      141
                                                                                          Page 3 of 7PageID #: 89




      ChMf                                                                                                              CHASE O
      P.O. Box 183222
      Cohnntus, OH 43218-3222
                                                                                                                           Payoff
                                                                                                                       quote generated
                                                                                                                        . 21ij&;43___
      Thur&lay, September 26,2019

                      JUSTIN W BURGESS
                          456 GORE RD
                      OriSFIIZI.D.ME 04270

      Here's yow payoff quote for your lean
      Account:
      Property Address:                                         456 GORE ROAD
                                                                OTISFIELDjME 04270

      Dear Mortgagors):

      We’ve enclosed your free payoff quote and important infonnation about paying offyour mortgage. We’re sending you this quote because it was
      requeited on your behalf, you requested it, or your payoff amount changed.


      The total amount due to pay off this loan is $179,073.19, which is good through 10-26-19. If this date falls on a holiday or a non-woildng day.
      we’ll i^nsider the payment on time if made by 6 pun. Eastern Time the next business day unless a foreclosure sale is scheduled for an eartier time.
      Please; see the table below for details Jibout the payoff amount:



      Unpaid principal balance                                                                                                               $115^53.93
      Deferred principal balance                                                                                                                  $0.00
      Interest per diem                                                                                                                          |16.97
      Interest due from                                         2/1/14                                                                        $35,545.60
      Pro rata MIP/PMI                                                                                                                             $0.00
      Escrow advance balance                                                                                                                  $19,111.17
      Restricted escrow balance                                                                                                                    $0.00
      Buydown subsidy/replacemeut reserve balance                                                                                                  $0.00
      HUD subsidy balance                                                                                                                            $0.00
      CR hie / original fee rebate                                                                                                                   $0.00
      Prepayment penalty                                                                                                                             $0.00
      Late charges                                                                                                                                   $0.00
      Montlily late charge amount                               $27.43
      Insufficient funds (NSF)                                                                                                                       $0.00
      Other fees'                                                                                                                                    $0.00
      Recording fee                                                                                                                                 $0.00
      Demaodfee                                                                                                                                     $0.00
      Suspense                                                                                                                                      $0.00
      Corporate advances*                                                                                                                       $9,162.49
      Incurred attorney fees'1                                                                                                                      $0.00
      liicuried attorney costs"                                                                                                                     $0.00
      Subtotal                                                  10/26/19                                                                     $179,073.19

      Estimated attorney fees                                                                                                                        $0.00
      Estimated attorney costs                                                                                                                       $0.00
      Total Estimated Amounts                                                                                                                        $0.00

                                                                10/26/19                               |
      Total Payoff Amount Good through



      'Other fees and coiporate advances include amounts such as property inspections, foreclosure fees and costs and valuations that may te charged as
      pai t of the terms of your loan documents and/or permitted by applicable law, or that were authorized for services we completed. If you need
      additional information about any of these amounts, please call us at one of the numbers below.




BK: 5495 PG: 798
     Case 2:20-cv-00164-LEW Document
     09/25/2019 23:17:37 PM            1-1 Filed 05/08/20 Page 84 of
                                TO: 12873583985                      141
                                                                  Page 4 of 7PageID #: 90




        2Incurred attorney fees and costs include amounts that have been incurred and billed by the attorney or trustee but not yet charged to the account at
       the time the payoff quote was requested.

       hliis payoff statement shows the total amount you owe. However, you might noli have to pay every fee for the lien to be released. For more
       information, please call us at 1-800-848-9380.

       The amounts above are subject to final verification when we receive your payoff. Ifyour loan is not up to date, all default-related activity may
       continue, and we may continue to chtirge fees and costs until the loan is paid off. If foreclosure activity has begun on your loan, we may continue
       this activity and there may be additional foreclosure charges.

       Please send your payoff amount using one of these options below:
                •By wire transfer to:
                           Account name:       JPMorgan Chase Bank, NA.
                           Attn:          Payoff Processing
                           Account number      3729
                           Routing number 021000021

                    Be sure to include the following infonnation in the wire description.'
                            • Your Chase account number
                            • The names of all customers listed on the loan
                            • The property address
                            • The representative's contact infonnation


                    You may be charged a fee by the wire transfer provider for this servic e.


                • By mail to;
                           Chase
                           Attn; Payoff Processing
                           Mail Code OH4-7124*
                           3415 Vision Drive
                           Columbus, OH 43219-6009



                    *For Cooperative Unit or New York Consolidation Extension and Mod^ication Agreements, use Mail Code: OH4-2222




       If you have questions, please call us at one of the numbers below. We appreciate your business.


       Sincerely,


       Chase
       1-877-838-1882
       chase.com



       Esta comunicacion contiene informacion importtmte acerca de la cuenta. Si tiene alguna pregunta o mxerita ayuda para traduciria, comuniqucse con
       nosotros llamando al 1-877-838-1882.

       Brclosure

                                                             Important Infonaation about Year Payoff


       1. If you have a closing date scheduled and the date changes, you should contact us to request a new payoff quote as soon as possible.

       2. Please send a copy of this letter with your payment. You can use the address or wire transfer instnn^ions above for payment information, or call
       us at 1-800-548-7912 if you liave questions.

       3. Wlien we receive your payoff we’ll verify that it matches the payoff quote. If the loan is in default, the fees and costs incurred after the quote
       was issued may continue to be assessed until the loan is paid off.




BK: 5495 PG: 799
     Case 2:20-cv-00164-LEW Document
     09/25/2019 23:18:92 Ptt           1-1 Filed 05/08/20 Page 85 of
                                TO: 12073583085                       141
                                                                   Page 5 of 7PageID #: 91




        4. The payoff amount is subject to our final verification once we receive the payoff funds. Regardless of the “good through” date on this payoff
        quote, if the loan is in default, we may contmue ell deftiilt-rrluted processes, including tun not limited to foreclosure sale, and we may continue to
        assess all fees and costs inclined after this payoff quote is issued until the loan is paid in full. If you can’t pay the amount listed in this letter, please
        call ns at 1-800-848-9380 to discuss file assistance options that may be available. If you’re paying off your loan as a result of a natural disaster,
        please call us at 1 -800-848-9136 to see if we can offer you assistance.

        5. We reserve the right, except where prohibited, to adjust the payoff amount and refuse any insufficient funds for any reason, includ ing, but not
        limited to, error in calculation of the Total Payoff Amount, previously dishonored checks or money orders, stop payment of checks or pending
        automatic mortgage payments or additional payments we made between the date of this payoff quote and the date we received the funds.



        6. If you had a prior taut medificatiloB that faufaded a Principal deduction /kfteraattve (FRA), you may be eMgBde to have your FRA
        forbearance canceled
        We’ll reduce the unpaid principal balance of your loan by one-third of the initial FRA forbearance amount (a predetermined amount) if your Ioan is
        in good standing on the first, second and third anniversary dates of your trial period. This means if you continue to make your payments on time for
        three years, we’ll cancel the entire PRA forbearance amount.

        WeTi deduct the unapplied PRA fofoearanoe amount from your payoff balance if the loan is in good standing and you pay off the loan in full:
                ♦ Anytime 30 days after the modification effective date,
                * After the PRA reporting and payment processes are available, and
                • Before the payment of the entire PRA forbearance amount.

        Your payoff balance may increase if your payments are late
        Your loan can lose good standing if it becomes three lull monthly payments past due. Hie loan can’t lie restored to good standing even if you pay
        the past-due payments and tong it up to date. Ifyour loan loses good standing after your payoff request but before we receive the payoff your
        actual payoff amount will be higher and you’ll need to request a new quote.




        7. If your acconnt has been referreil to foredMure: The payoff figures listed above may inchide items we paid or that were incurred by the
        foreclosure law firm that are or will be due by the good-through date. If applicable, we’ve included estimated fees and costs that we expect to
        charge between now and the good-through date. These estimated fees and costs show what the amount will be if yon pay off your loan by the good-
        throu(>h date. We only require you to pay the fees and costs actually incurred by die date we receive your payoff, as permitted by your loan
        documents or applicable law. If your payoff figure listed above includes any estimated fee or cost or other item and the amount we receive is more
        than enough to pay off your loan, we’ll return any excess to you. However, if we receive less than the actual amount due, we reserve the right to
        return the payment and continue with the legal process. Please call us at 1-800-848-9380 within 24 hours of making a payment to confirm the
       exact amount needed to pay off your mortgage.

        8. Um: payoff figure does not include estimates of non-attomey fees and costs that Chase may incur before or after the expiration of tile quote.
        These may include but ere not limited to amounts Chase may qxod to avoid placement of homeowner-association and other liens, to pay delinquent
       homeowner-association fees, and to pay to inspect, value or preserve the ccmthticn of the property if applicable. The actual fees and costs incurred
       by Chase for these items may be assessed to your account at a later date. Please note if there are outstanding fees due on the loan that were not
       included in the quote. Chase will accept funds paid in response to this quote if foods received by the good through date.



        9. All previous checks we may have received for your monthly paynumts must have cleared for die payoff amount listed in this letter to be valid.
       Please don’t stop payment on any checks you’ve already mailed to us or cancel automatic mortgage payments before your loan is paid in full. If
       your loan hasn’t been referred to foreclosure, late charges may continue to be assessed if payments aren’t made liefore die late charge assessment
       date. You can call us at 1-880-548-7912 to detenmne if there are any late charges.

        10. If we receive a payment that isn’t enough to pay off the loan, we trill return the funds.

       11. We only require that you pay the fees and cads actually incurred as of the date ofyour payment Ilf the payoff amount above inchides any
       antieijrated fees and/or costs and is more than the actual amount due on the date we receive your payment, we’ll retum any overpayment to you.


       12. If your loan lias an escrow account, we’ll continue to pay your insurance and/or tax payments until we receive the payoff amount. Ifwe make
       escrow payments on the loan before the good through date listed above, you or your closing agent (if applicable) are responsible to pay any
       remaining amount needed to pay off the loan in full. If we receive a payment that’s less than the amount needed to pay off the loan, we have the
       right to collect the shortage, or retum the payment if the shortage amount isn’t paid. We’ll refund any remaining escrow balance or overpayment to
       the account. We won’t transfer funds from your escrow account to any other account, unless you’re refinancing with us.




                                                                                                                                                                         97


BK: 5495 PG: 800
     Case 2:20-cv-00164-LEW Document
     09/25/2019 23:18:52 ffl           1-1 Filed 05/08/20 Page 86 of
                                TO: 12073583085                      141
                                                                  Page 6 of 7PageID #: 92




        13. Ri'strteted escrow fluids: Restricted escrow funds are made up of insurance claim proceeds that we received for your property. If we are
        holding any restricted escrow flmds related tn your i<Mn, these fluids may be used to pay offyour account in fltll. If you intend to pay offyour
        account in full with these funds, please sign and return the enclosed Lidter of Authorizatian form. The completed form must be returned to our
       office before we can use the funds tn [ay off your account Ifyou use these funds to pay off your loan, you will not be able to use them to repair
       your property, and you will be resporadble for paying any outstanding contractor invoices. The funds cannot be used to pay down or reduce the
        amount owed if yon do not intend to pay off your account.

       14. If we receive flmds and apply theej to pay off your account, but are then asked to return them because of a payoff rescission or for any other
       reason, unless prohibited by law, we’U charge a fee of $800 to restore your account on our system. We must receive this fee and applicable monthly
        payments due before we’U return the payoff funds. We also reserve the right to not return the payoff funds.

        15. If we receive a payment on or before the good through date, we’ll take action to discontinue the pending foreclosure activity and the foreclosure
        action initiated on this property will cease. We encourage you to call us at 1-800-548-7912 before you send your payment to make sure you’re
        sending the exact amount needed to pay off your loan. After payoff you may need to sign documents or take other actions to assist with the
       withdrawal of any foreclosure proceedings. If a fwreefamre sate is Khedated fair year property, this letter doisa’t extend or change the sate
       date.

       16. FHA Partial Claim Home Affordable ModMkattoa Program (HAMP) modifleation agreement
       If you have a subordinate interest-free mortgage that was established as part of a HAMP partial claim agreement, you’ll receive an additional quote
       several days later from biovad containing all of tlie infixmation you need to pay off and release your eadsting second lien on the property. The
       second hen or FHA partial claim established from the delinquent amount must be paid off in addition to the first lien. Both quotes contain the most
       up-to-date infonratiou about your loam and the payoff amounts needed to pay it in full. Send the foil payoff amount listed on the Chase quote to us,
       and send the foil payoff amount for your subordinate quote to Novad. If you have questions about the partial claim payoff quote, please call Novad
       Partial Cash Management at 1-877-622-8525.

       17. We'll send the lien release to your county recorder's office after we apply the payoff amount to your account. You're not required to call and
       request a lien release; however, you can request a copy from your county recorder’s office 60 to 90 days after payoff. For more information, please
       call us at 1-866-756-8747 or write to us at

                 Chase
                 Attn: Risearch Correspondence
                 780 Kansas Lane, Suite A
                 Monroe, LA 71203

                                                                    Important Legal Information

       If your account is not in bankruptcy, this communication is an attempt to collect a debt and any information obtained will be used for that pmjtose.



       However, if you are currently in active bankruptcy status or to the extent your original obligation was discharged or is subject to an automatic stay
       of bankruptcy under Title 11 of the United States Code, this notice is for compliaiacc with non-bankruptey law and/or informational proposes only
       and does not constitute an attempt to collect a debt or to impose personal liability for such obligation. Nothing in this letter (inchrding our use of the
       words “your,” “loan” “mortgage,” or “account”) means that you’re required to repay a debt that’s been discharged. Any payment you make on the
       account is voluntary, but we may still have rights under the security instrument, including the right to foreclose on the property.



       If you are represented by an attorney, please refer this letter to your attorney and provide ns with the attorney’s name, address, and telephone
       number.




       If you live in California and are not in bankruptcy: The California Ror^nthal Fair Debt Collection Practices Act and the federal Fair Debt Collection
       Practices Act require that, except undcT unusual circumstances, collectors may not contact you before 8 a m. or after 9 p.m. They may not harass
       you by using threats of violence or arrest ar by using obscene language. Coltectots may not use false or misleading statements or call you at w ork if
       they know or have reason to know that you may not receive personal (alls at work. For the most part, collectors may not tell another person, other
       than your attorney or spouse, about your debt. Collectors may contact another peison to confirm your location or enforce a judgment For more
       information about debt collection activities, you may contact the Federal Trade Commission at 1-877-FTC-HELP (1-877-382-4357) or fte.gov.




       CR26148
       DQ600




BK:5495 PG: 801
     Case 2:20-cv-00164-LEW
     09/25/2019 23:19:37 Ptt                 Document   1-1 Filed 05/08/20 Page 87 ofPage
                                                 TO: 12873583885                       1417 oF 7PageID #: 93




                                              Mortgage Mailing Address Change Form



        If your mailing address has clianged, please fill out this form and send it to:

                                     Mall: Chase (Mail Code OH4 -7302)
                                            P.O. Box 24696
                                            Columbus, OH 43224

                                      Fax: 1-614-422-7575

        Chase Mortgage Account Number:

        Mortgagor Natne(s): JUSTIN W BURGESS ,



        New Contact Information:

        Mailing Strict Address:                                   __________________________________________________



        City:State:ZIP:




        Customer Rt^uesling Change (Print Name):

        Customer’s Signature:Date:


        Please call us at 1-800-848-9136 for any other changes.




BK: 5495 PG: 802
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 88 of 141                                         PageID #: 94




                                                     COMMERCIAL AFFIDAVIT


          The undersigned Affiants, Justin W. Burgess, hereinafter “Affiant”, does solemnly swear, declare and state
          as follows:


          1.       Affiant is competent to state the matters set forth herein.
          2.       Affiant has knowledge of the facts stated herein.
          3.        All the facts heietn are true, correct and (xunplete, admissible as evidence and if called upon as a
                    witness. Affiant: will testify to their veracity.


          Plain Statement of Facts


         4.    Iarnovertheageof eighteen andaresidentofOtisfield, Maine.


          5. There is no evidence from a man or woman, who can come forward, under oath, under penalty of
               peijury, who makes claim of injury regarding the alleged debt purported by Chase and Affiant believes
               that no such evidence exists.


         6. lam not a lawyer, I do not syieak legalese and I do not: want a lawyer.


         7. lam not the writer of the orifpnal loan and mortgage documoits yet I am conscripted into the role of
               Trustor or Creator or Donor and yet the documents give away my rights. Merrimack Mortgage Company
               and its agents, as the originator of the Chase loan, provide no disclosure of this to me of this at time of
               closing.


         8. At the time of the closing, the agents that wrote the documents did so with no concern about the
               possibility of Fraudulent Conveyance of language as noted with TnLE~18: U.S.C.S.~1001 AND~1002,
               as I was not given any list of definitions or other assistance for understanding the words on the closing
               paperwork that had multiple meaning or void meaning.


         9. At time of closing, I am not informed that Merrimack Mortgage Comj»any is not actually lending me
               their money but instead I am simply their stooge to create a security for them to significantly profit


         10. At time of closing, I am not informed that this securitjr created with my signature was not funrkd by or
               expensed to Merrimack Mortgage Company; i.e. its creation was not even a cost to Merrimack Mortgage
               Company.




BK: 5495 PG: 803
                     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 89 of 141                                                                                      PageID #: 95




                                                                      11. At time of closing, I was not informed that this security created provided an instant profit to Merrimack
                                                                          Mortgage Company at over 100% of the loan amount and in time perhaps provided a profit over 1000%
                                                                          of the loan amount to Merrimack Mortgage Company and or others regardless of whether I made a
                                                                          payment or not.


                                                                      12.1 am not aware of non-disclosure items numbered 7. through 11. above Ijefore I am a receiver of any
                                                                          money from this loan.



                                                                      13. There is no evidence that I knowingly, willingly, intentionally with full disclosure granted jurisdiction to
                                                                          any court regarding this mortgage and Affiant believes that no such evidence exists.



                                                                      14. There is no evidence that I was granted due process when I was not invited to the summary judgment
                                                                          foreclosure hearing and Affiant believes that no such evidence exists.


                                                                      15. There is no evidence of Chase having possession of the genuine note and the genuine mortgage smd
                                                                          Affiant believes that no such evidence exists.


                                                                      16. There is no evidence that I owe Chase on account mortgage loan #            1514.


                                                                      IN WITNESS WHEREOF I hereunto set my hand and seal on this 27th day of September, 2019 and hereby
                                                                      certify all the statements made above are true, correct and complete.




                                                                                                               By: Justin W. Burgess



                                                                  County ol                           ss.                                [onth),^rjj^ay), 2019                      M.


                                                                      Personally appeared before me the above-named                  tSfJrtiyStS__ and acl       iqJvHkldtfti the

                                                                      bregoing instrument to be pfhis/her/their own free act and deed.
                                                                                                                       Before me,
   My Commission Expires

                                                 KENNETH J HAMILTON
                           Notary Pubiic-Maine
     September 29, 2024




                                                                                                                               Attome1




                                                                                                                                                                        COpvj vd




BK: 5495 PG: 804
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 90 of 141                                          PageID #: 96



                                                                                                     ^-27-
                                 3rd party witness certificate of service

        It is hereby certified, that on the date noted below, the undesigned 3rd Party Witness mailed to:

                                        JPMorgan Chase Bank, National Association
                                                c/o Chase Records Center.
                                        Attn: Correspondence Mail Code LA4-5555
                                         700 Kansas Lane, Monroe, LA 71203-4774

        hereinafter, “Recipient,” the documents and sundry papers pertaining to a certain Chase payoff statement
        regarding Justin W. Burgess as follows:

        1. CONSTRUCTIVE NOTICE OF CONDITIONAL. ACCEPTANCE, issued by Justin W. Burgess and
           dated September 27,2019; and
        2. COMMERCIAL AFFIDAVIT, issued by Justin W. Burgess and dated September 27,2019; and
        3. Chase payoff statement from Steve Brooks of Chase, dated on or about September 25,2019; and
        4. reference copy of this 3rd Party Affidavit Witness and Certificate of Service (signed original on file)

        by Certified Mail No.          //'So O& J-                  Return Receipt attached by placing same in a
        postpaid envelope properly addressed to Recipient at the said address and depositing same at an official
        depository under the exclusive face and custody of the U.S. Postal Service within the State of California.



                                                          By: LucasCraywofi’Hamilton, as 3 Party
                                                          Affidavit Witness

        State of
        County of                       ss.                                  (Month), 37 (day), 2019

        Personally appeared before me the above-named lAJcMy                                 and acknowledged the
        foregoing instrument to be of his/her/their own free act and

                                                          Before me,



                                                                                       ofPublic



                                                                                busan l. mcnally
                                                                             Notwy Public, Maine
                                                                       My Commission Expires April 18,
                                                                                                         2021    ♦




                                          SUSAN L. McNALLY           W.
                                          Notary Public, Maine       jK
                                    My Commission Expires April 18,202lfc"




BK: 5495 PG: 805
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 91 of 141                                      PageID #: 97



                                3R0 PARTy WITNESS certificate of SERVICE                        10


       It is hereby certified, that on the date noted below, the undersigned 3rd Party Witness mailed to:

                                       JPMorgan Chase Bank, National Association
                                               c/o Chase Records Center.
                                       Attn: Correspondence Mail Code LA4-5555
                                        700 Kansas Lane, Monroe, LA 71203-4774

       hereinafter, “Recipient,” the documents and sundiy papers pertaining to a certain Chase payoff statement
       regarding Justin W. Burgess as follows:

       Pages:          Item Description

       1-3             NOTICE #2, CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE AND
                       NOTICE OF CLARIFICATION AND MOFICATION OF MY TERMS
                       (WITH 5 DAY TIME EXTENSION), issued by Justin W. Burgess and dated October a(,
                       2019; and
       4               3rd Party Affidavit Witness and Certificate of Service by LucasGraywold Hamilton dated
                       October 24 ,2019 (signed original on file)
       5-19            Copy of the communication dated 9/27/2019 with: Chapter 7 case 19-20092 Proof of Claim of
                       Debt pleading, CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE,
                       COMMERCIAL AFFIDAVIT, issued by Justin W. Burgess and dated September 27,2019;
                       and Chase payoff statement from Steve Brooks of Chase, dated on or about September 25,
                       2019; and copy of 3rd Party Affidavit Witness and Certificate of Service by LucasGraywolf
                       Hamilton dated 9/27/2019
                                    e7ao t>oot feoSZ s 7^1 j
       by Certified Mail No.                                        Return Receipt attached by placing same in a
       postpaid envelope properly addresstsd to Recipient at the said address and depositing same at an official
       depositoiy under the exclusive face and custody of the U.S. Postal Service within die State of California.



                                                         By: LucasGraywolFHamilton, as 3rd Party
                                                         Affidavit Witness

       State of
       County of J                     ss.                       er     (Month),    | (day), 2019

       Personally appeared before me the above-named/^uCQSG-F^kjtiOOJP                I^d acknowledged the

       foregoing instrument to be of his/her/their own free act and deed.

                                                         Before me,




                                   OEBRAJlfiWTOZZI                                                          A.
                                   Notary Pul*;, Udna                                                       C)
                            My Conimtaion Bpkai Miy % 202fl




BK: 5495 PG: 806
         Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 92 of 141                          PageID #: 98



                              3rd PARTY WITNESS CERTIFICATE OF SERVICE                        1(2- 2A -   le»


          It is hereby certified, that on the date noted below, the undersigned 3rd Party Witness mailed to:


          JPMorgan Chase Bank, National Association
          c/o Chase Records Center.
          Attn: Correspondence Mail Code LA4-5555
          700 Kansas Lane, Monroe, LA 71203-4774
          Certified Mail #
                           #


           Andrew S. Canella
           270 Farmington Avenue, Suite 171
           Farmington, CT 06032
           Certified Mail #             07^^         OOP /
          •R-cgistex'ed'Mat’r#


           William B Jordan - Attorney for: JPMorgan Chase Bank NA
           Korde & Associates PC
           707 Sable Oaks Drive Ste 250
           South Portland, ME 041C6
           Certified Mail #    2^^ ^70o
          4be$istEred'Mail #


           Hon. Richard Mulhern - Judge for Summary Judgment Court Case ID SOPSC RE 2017-00046
           Maine District Court
           PO Box 1345, Lewiston, ME 04243-1345
           Certified Mail # ^7^                        I                   70 0
          ^^SteretfMaiTV


          hereinafter, “Recipient,” the documents and sundry papers pertaining to a certain Chase payoff
          statement regarding Justin W. Burgess as follows:


          Pages:         Item Description

 f -1S    Xipages       NOTICE #3, CONSTRUCTIVE NOTICE OF CONDITIONAL
                        ACCEPTANCE 2nd TIME (WITH 10 DAY ADDITIONAL TIME
                        EXTENSION), issued by Justin W. Burgess and dated October , 2019; and

             ages       Copy of the COMMERCIAL AFFIDAVIT issued by Justin w. Burgess on 9/2
                         and filed into bankruptcy case # 19-20092 and




BK:5495 PG: 807
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 93 of 141                         PageID #: 99



       7 pages        Chase payoff statement from Steve Brooks of Chase, dated on or about September 25,
      - 2>| I®        2019; and

        2 pages j. copy of 3rd Party Affidavit Witness and Certificate of Service by LucasGraywolf
      Jb-H ? vGtlL Hamilton dated 10/^ /2019

       by Certified Mail No. as noted herein with contents witnessed as described above and placing same
       in a postpaid envelope properly addressed to Recipient at the said address and depositing same at an
       official depository under the exclusive face and custody of the U.S. Postal Service within the State
       of Maine.



                                                   By: LucasGraywolf Hamilton, as 3rd Party
                                                   Affidavit Witness

       State of WksM-
                                                    ftyfeuC       (Month), 99 (day), 2019
       County o!                       ss.

       Personally appeared before me the above-named LtiCccg                  ^fcv>>hQftand acknowledged
       the foregoing instrument to be of his/her/their own free act andudeed.




                                                                                                           L/7




BK: 5495 PG: 808
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 94 of 141                          PageID #: 100


                            jW]. PAttl Y WITNESS CERTIFICATE OF SERVICE


        It is hereby certified, that on the date noted below, the undersigned 3rd Party Witness mailed to:


        JPMorgan Chase Bank, National Association
        c/o Chase Records Center.
        Attn: Correspondence Mail Code LA4-5555
        700 Kansas Lane, Monroe, LA 71203-4774
        Certified Mail #                      D<9O 1
        Registered Mail #


        Andrew S. Canella
        270 Farmington Avenue, Suite 171
        Farmington, CT 06032
        Certified Mail #___                                        bosz-
        Registered Mail #


        William B Jordan - Attorney for. JPMorgan Chase Bank NA
        Korde & Associates PC
        707 Sable Oaks Drive Ste 250
        South Portland, ME 04106
        Certified Mail #            0700 l&O I CeO3 "Z-.                   I
        Registered Mail #          _____________________________


        Hon. Richard Mulhern - Judge for Summary Judgment Court Case ID SOPSC RE 2017-00046
        Maine D istrict Court
        PO Box 1345, Lewiston, ME 04243-1345
        Certified Mail # 701^1 0 700          Oj              grtWyfo 6 dfOfe
        Registered Mail #



                          WAil*                            a<9cP)
        hereinafter, “Recipient,” the documents and sundry papers pertaining to a certain Chase payoff
        statement regarding Justin W. Burgess as follows:


        Pages:         Item Description

        15 pages       NOTICE # 4, NOTICE OF DEFAULT WITH 72 HOURS REQUEST TO
                       CURE, issued by Justin W. Burgess and dated November , 2019; and

        5 pages        Copy of the COMMERCIAL AFFIDAVIT issued by Justin w. Burgess on 9/27/2019
                       and filed into bankruptcy case # 19-20092 and                           .5 0




BK: 5495 PG: 809
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 95 of 141                        PageID #: 101




       7 pages       Chase payoff statement from Steve Birooks of Chase, dated on or about September 25,
                     2019;and

       2 pages       copy of 3rd Party Affidavit Witness and Certificate of Service by LucasGraywolf
                     Hamilton dated 11/ f /2019

       by Certified Mail No. as noted herein with contents witnessed as described above and placing same
       in a postpaid envelope properly addressed to Recipient at the said address and depositing same at an
       official depository under the exclusive face and custody of the U.S. Postal Service within the State
       of Maine and getting USPS green card signed delivery card back.



                                                   By: LucasGraywolrHarnilton, as 3rd Party
                                                   Affidavit Witness

       State of Ml/ihC.
       County of                       ss.         Nov'^lribdi' (Month), Iff (day), 2019

       Personally appeared before me the above-named iLucgS CrauU/fliP Hi(lvn^r\andacknowledged
                                                         m free act and
       the foregoing instrument to be of his/her/their own          andfteed.
                                                                        (Seed.
                                                                                              MEGHANNE NADEAU
                                                   Before me,                                  Notary Public, Maine



                                              -v':-
                                                           Attomey/Notary of Public




BK: 5495 PG: 810
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20
                                                Rec Hot #187733
                                                                Page 96 of 141                            PageID #: 102
                                                                                                     Bk 5508        PG 930
                                                                                                     02/26/2020 11:53:37 AM
                                                                                                     Pages 46
                                                                                                     MISCELLANEOUS
                                                               Instr #2162
                                                              Cherri L Crockett Register of Deeds   OXFORD COUNTY



                                         WAIVER OF FORECLOSURE


               KNOW ALL BY THESE PRESENTS, that WILMINGTON SAVINGS FUND
        SOCIETY, FSB, AS TRUSTEE OF STANWICH MORTGAGE LOAN TRUST F, located at
        1600 SOUTH DOUGLASS ROAD, SUITE 2.00-A, ANAHEIM, CA 92606, being an assignee of
        mortgage assignor JPMORGAN CHASE BANK NATIONAL ASSOCIATION located at 700
        KANSAS LANE, MC 8000, MONROE, LA 71203 with said assignment recorded in Oxford
        County Registry of Deeds in Book 5502 and Page 712 on 1/14/2020 regarding the real property
        owned by Justin W. Burgess with address 456 Gore Rd, Otisfield, ME (“the Premises”);


               For alleged breach of the condition of the Mortgage, the said Assignor initiated a
        foreclosure action against Burgess in the Oxford County Superior Court, Civil Action Docket
        No. SOPSC-RE-1746 dated 9/28/2017, and recorded a Clerk’s Certificate in said Registry of
        Deeds in Book 5371, Page 108 and converted to Oxford County District Court, Civil Action
        Docket No. SOPDC-RE-18-19 and recorded Judgment of Foreclosure and Sale Title of Real
        Estate Involved dated 12/12/2018 and recorded in said Registry of Deeds in Book 5490, Page
        287;and


               Assignee consented to the Burgess ADMINISTRATIVE DECLARATORY
        JUDGEMENT attached granting Burgess the right, title and power to abandon the foreclosure of
        the mortgage at this time;


               NOW THEREFORE, the Assignee does hereby, under the terms of ADMINISTRATIVE
        DECLARATORY JUDGEMENT, and in consideration of, waive tire above-referenced
        foreclosure action and releases unto Burgess, his heirs and assigns, the Premises, subject to the
        alleged mortgage assignment.


               IN WITNESS WHEREOF, Assignee WILMINGTON SAVINGS FUND SOCIETY,
        FSB, AS TRUSTEE OF STANWICH MORTGAGE LOAN TRUST F has cause this instrument




BK: 5508 PG: 930
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 97 of 141                  PageID #: 103




        to be executed by Justin W. Burgess as per the terms of the ADMINISTRATIVE
        DECLARATORY JUDGEMENT attached, this day^             or February, 2020.


        SIGNED, SEALED AND DELIVERED                    WILMINGTON SAVINGS FUND
                                                        SOCIETY, FSB, AS T RUSTEE OF
                                                        STANWICH MORTGAGE LOAN TRUST




        State of Maine

                                                        February     , 2020

               Then personally appeared the above-named Justin Wade Burgess and acknowledged the
        foregoing instrument to be his free act and deed in his said capacity.

                                                        Before me,


                                                        Notary Public
                                                        Printed Name tOtfOc EltQ-CU
                                                        My Commision expires:



                                                                               £ »*
                                                                        KARA L ELWELL
                                                                      Notary Public-Mair'®
                                                                     My Commission Expires
                                                                          .Inly 28,202* ;




                                                                                              Z.


BK: 5508 PG: 931
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 98 of 141                     PageID #: 104




                         ADM1NISTRA TIVE DECLARA TORY JUDGMENT

     From:
        Justin W. Burgess: Petitioner
        c/o LucasGraywolf Hamilton, 3rd Party Affidavit Witness
        428 Merrow Rd
        Auburn, ME 04210

     To:
         Andrew S. Canella: Attomey/Agent for WILMR4GTON SAVINGS FUND SOCIETY, FSB, as
     trustee of Stanwich Mortgage Loan Trust F the Respondent/Principal
         c/o Bendett & Mchugh
         270 Farmington Avenue, Suite 171
         Farmington, CT 06032
         Certified Mail #    14 IViMo QOOO Z3C>3


     Notice to Principal is notice to Agent                                       Ms
     Notice to Agent is notice to Principal



     Ref 1: Respondent: WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich

     Mortgage Loan Trust F Bank NA for (EF 68) NOTICE OF APPEARANCE AND REQUEST FOR ALL

     NOTICES AND PLEADINGS dated 1/7/2020 in bankruptcy case 19-20092 Justin Wade Burgess

     Debtor and/or case 19-02014 Justin Wade Burgess, Plaintiff v. JP Morgan Chase Bank Nat. Assoc.,

     Defendant.




BK: 5508 PGT932
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 99 of 141                          PageID #: 105



                                                    SUMMARY
                                                   (Short Version)

      1. On 1/7/2020 Respondent WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich

        Mortgage Loan Trust F, through its attorney Andrew S. Canella, made presentation of request (EF

        68) NOTICE OF APPEARAN <2 E AND REQUEST FOR ALL NOTICES AND PLEADINGS dated

         1/7/2020 in bankruptcy case 19-20092 Justin Wade Burgess Debtor and/or case 19-02014 Justin

        Wade Burgess, Plaintiff v. JP Morgan Chase Bank Nat. Assoc., Defendant.

     2. On 1/15/2020, in response to the above, Justin W,. Burgess, further referred to as Petitioner, then

        provided CONTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE, 5 pages, to attorney

        Andrew S. Canella for WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich

        Mortgage Loan Trust F, further referred to as Respondent, requiring proof of claim response via

        sworn affidavit, under penalty of perjury and unlimited liability. The conditional acceptance

        communication follows a similar methodology as that specified in US UCC 3-501 presentment and

        response process. See attached Petitioner’s COMERCIAL AFFIDAVIT dated 2/24/2020 for the

        history of communications and see AFFIDAVIT of Stephen Monaghan for the mailing process and

        AFIDAVIT of Lucas Grayv/olf Hamilton for the status of the Respondent’s response.

     3. On 1/22/2020 a second communication was sent from Petitioner to Respondent.

     4. On 2/4/2020 a third communication was sent from Petitioner to Respondent.

     5. On 2/18/2020 a third and final communication was sent from Petitioner to Respondent making

        notice of default with 72 hours to cure.

     6. As of this writing on 2/24/2020, the 72 hours to cure time has passed and default terms are now

        effective.




                                                                                                              M

BK: 5508 PG: 933
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 100 of 141                              PageID #: 106



                                               ACTION AND ORDER


     Burgess: Justin Wade, a man, sui juris, one of the people of Maine, of his court of record, hereby

     submits to the public an ADMINISTRATIVE DECLATAORY JUDGEMENT against WILMINGTON

     SAVINGS FUND SOCIET Y, FSB, as trustee of Stanwich Mortgage Loan Trust F: as

     Respondent/Defendant alleged Creditor now converted to Debtor in Maine U.S. Bankruptcy Court

     Adverse Proceeding Bankruptcy case of Justin Wade Burgess 19-2014.

     With presentment of evidence to M aine Notary with signature and seal herein, a protest under §952 and

     demand under §953 of Maine Title 4: JUDICIARY, Chapter 19: NOTARIES PUBLIC ar e created.



              from http://www.maiiaelegislature.Org/legis/statutes/4/title4sec952.html 11/19/2019


     §952. Protests of losses; record and copies


     When requested, every nottiry public shall enter on record all losses or damages sustained or

     apprehended by sea or land, and all averages and such other matters as, by mercantile usage, appertain to

     his office, grant warrants of survey on vessels, and all facts, extracts from documents and circumstances

     so noted shall be signed and sworn to by all the persons appearing to protest. He shall note, extend and

     record the protest so made, and grant authenticated copies thereof, under his signature and notarial seal,

     to those who request and pay for them.


     953. Demand and notice on bills and notes


     Any notary public may, in behalf of any person interested, present any bill of exchange or other

     negotiable paper for acceptance or payment to any party liable therefor, notify indorsers or other parties

     thereto, record and certify all contracts usually recorded or certified by notaries, and in general, do all



                                                                                                                   S’




BK: 5508 PG: 934
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 101 of 141                             PageID #: 107



     acts which may be done by notaries public according to the usages of merchants and authorized by law.

     He shall record all mercantile and marine protests by him noted and done in his official capacity. [1981,

     c. 456, Pt. A, §8 (AMD).] SECTION HISTORY 1981, c. 456, §A8 (AMD).


     §952 declared losses: tablel below.



      Table 1 : Claimant losses incuired by Respondent’s non-disclosure of
      material facts

      $122,448               Loan principal paid off at closing
                             Vi of estimated $1,000,000+ of profits to
      $500,000               Wrongdoer and predecessor on the security the
                             Claimant created
                             recoupment for Claimant for paid-in principal,
      $100,000               paid-in Interest and Claimant's legal costs for
                             foreclosure cases and bankruptcy cases incurred
      $722,448               Partial SUM


      $2,167,3^14            Total Claim after treble damages multiplier




     §953 declared demand:

     From the common law court of Petitioner, applying legal process similar to United States UCC 3-SOI

     presentment rules, applying the authority of the U.S. Postal Service Certified Mail with receipt, applying

     Maine Judiciary Notary Powers and other operation of law, it is herby proclaimed that Respondent

     WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F and

     all past, present and future related Respondent agents or affiliates in this matter, now to be referred to as

     “The Enterprise”, have tacitly confessed by binding, self-executing, irrevocable, bilateral contractual

     agreement, subject the breaching party to fines, penalties, treble damages, fees, taxes and other

     assessments, coupled with interest and render final judgment between the entities and their privies as




BK:5508 PG: 935
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 102 of 141                            PageID #: 108




     that of the highest courts, considered res judicata and estoppels of record with sin ADMINISSTRATIVE

     DECLARATORY JUDGMENT, further referred to as A.D.J., that stipulates tlie following:



        1. with the assignment from JPMORGAGN CHASE BANK, NATIONAL ASSOCIATION to

            WILMINGTON SAVINGS FUND SOCIAETY, FSB, AS TRUSTEE OF STANWICH

            MORTGAGE LOAN TRUST F, so transfers in equal proportion the responsibly for

            WILMINGTON SAVINGS FUND SOCIAETY, FSB, AS TRUSTEE OF STANWICH

            MORTGAGE LOAN TRUST to satisfy the $2,167,344 compensatory international bill of

            exchanged owed to me, Justin Burgess, from Chase by ADMINISTRATIVE DECLARATORY

            JUDGEMENT dated 12/3/2019 with 4% annual coupling of interest starting on that same date.

            The default decree herein expresses the acknowledgement and declaration that WILMINGLTON

            SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F, is not a

            “creditor” associated with me, Justin W. Burgess, my property or my Bankruptcy cases noted

            herein.



        2. The acknowledgment by WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of

            Stanwich Mortgage Loan Trust F that nil debt is owed by Justin W. Burgess, to

            WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan

            Trust F and that the foreclosure Summary Judgments cases SOPDC -RE-18-19 a/k/a SOPSC-RE-

            17-46 JPMORGAN CHASE BANK, NATIONAL ASSOCIATION v. JUSTIN BURGESS is/are

            a product of fraud ab intio, are void and are a nullity as if it/they don’t exist. The Summary

            Judgment case is sham litigation as “the” genuine mortgage note, un-bifurcated and ’’the”




                                                                                                             7 .F


BK: 5508 PG: 936
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 103 of 141                       PageID #: 109




           genuine mortgage, un-bifurcated as required by Maine legislative and constitutional intent of

           Title 14 § 6321, do not exist.



        3. That WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage

           Loan Trust F has no standing to support request (EF68) dated 1/7/2020 in Case No. 19-20092

          NOTICE OF APPEARANCE AND REQ UEST FOR ALL NOTICES AND PLEADINGS and is

           evidence to support an order to disqualify Chase and WILMINGLTON SAVINGS FUND

           SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F as “Creditors” in Bankruptcy

           Ciises 19-02014 and 19-20092.



           4. That “WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage

              Loan Trust F” grant to me, Justin Wade Burgess, the necessary tight, title, power and

              authority to prepare and record this A.D.J. as the instrument that:

                  a. Can be recorded at the Oxford County Registry of deeds as the WILMING TON

                      SAVINGS FUND SOCIETY, FSB, AS TRUSTEE OF STANWICH MORTGAGE

                      LOAN TRUST consented Declaration of Waiver of Foreclosure Notice regarding

                      JUDGEMENT OF FORECLOSURE AND SALE TITLE TO REAL ESTATE IS

                      INVOLVE related to the DISTRICT COURT SOUTH PARIS CIVIL ACTION

                      DOCKET NO. SOPDC-RE-18-19 as recorded in Book 5490 and Page 287 and

                      CLERKS CERTIFICATE OF FORECLOSURE with court docket reference as #

                      SOPSC-RE-17-46 and recorded on 9/28/2017 with Book 5371 and Page 108.




                                                                                                           6^%

BK: 5508 PG: 937
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 104 of 141                       PageID #: 110




                  b. Releases/discharges and/or makes necessary corrective recording regarding the

                      assignment recording at the Oxford County Registry of Deeds in South Paris, Maine

                      in Book 5502 and Page 712 on 1/14/2010 and see attached copy of document herein.



        5. There is no evidence from a living man or woman who makes claim of being personally

           injured/harmed by Petitioner, Justin W. Burgess, who under sworn testimony, who under penalty

           of perjury, who with requisite lawful standing to speak beyond hearsay to his/her claim of

           personal injury or harm alleged by JP Morgan Chase Bank, National Association and/or

           WILMINGTON SAVINGS FUND SOCIETY, FSB, AS TRUSTEE OF STANWICH

           MORTGAGE LOAN TRUST, successors or assigns, 3rd party hearsay claims on behalf of

           original alleged and decedent plaintiff in SOPDC -RE-18-19 a/k/a SOPSC-RE-17-46

           JPMORGAN CHASE BANK, NATIONAL ASSOCIATION v. JUSTIN BURGESS.



        6. Justin W. Burgess has a ownership of the security and proceeds via UCC 8-102 § 9(9) Financial

           Asset and 8-103, 8-102 § 17 Security Entitlement and 8-102 § 7 and 8-105 (b)(2) or (3)

           Entitlement Holder and 8-501 Securities Account.



        7. There is no evidence that MERS has had lawful standing to do business in Maine for lhe past 8

           years and that all alleged MERS assignments are a nullity and title is compromised.



        8. Respondent, WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich

           Mortgage Loan Trust F and it's agents, admit that the agents of originati on loan with Merrimack

           Mortgage Company Inc to have:




BK: 5508 PG: 938
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 105 of 141                         PageID #: 111




             a. Provided a contract with Fraudulent Conveyance of language as noted in Title 18:

                U.S.C.S. -1001 and -1002



             b. Used the Petitioner as an uninformed stooge to create a security instrument for other

                people to profit, kept it secret from Petitioner and didn’t share profits owed to Petitioner,

                the creator of the instrument.




             c. Created a security disguised as a loan as said lenders at the table did not actually lend

                their money.



             d. Did not disclosed that the note was paid off at the closing table as a draft converted to an

                order by way of the qualified restrictive endorsement - i.e. a check was written and

                deposited as cash at the “closing table”, a qualified banking entity.




             e. Loan closing agents wrongly failed to provide a cash receipt to Petitioner for the cash

                deposit nor complete and file the IRS form 8300 for cash payment issued/tendered.



             f. The actual money came from the trading of receivables/bonds via a pay forward, pre-

                established pooling and servicing agreement and the Petitioner was again the stooge who

                was tricked into being an unsubscribed, un-memorialized, undisclosed third party to a

                contract to be the servicing agent that connected the pooling investors, the real, parties in

                interest, to the securitized asset and alleged cash flows.




BK: 5508 PG: 939
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 106 of 141                          PageID #: 112




              g. Petitioner was secretly used os the indemnity to boost the investment marketing, to be the

                  indemnity target for the title insurance security derivative and the “lender’s” pre­

                  engineered default of their creation and their resulting tax forfeiture because the REMIC

                  administrators f'ailed to meet IRS and securitization requirements.



              h. Failed to qualify the loan with funds and closing documents going into REMIC in time as

                  per 26 USC 856(c)(4) and 860 G and as such the loan was in default at closing with no

                  security interest in the property.



        9. WILMINGLTON SAAHNGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Lotm

           Trust F and its agents admit they are not in possession of the genuine note or the genuine

           mortgage and are guilty of conspiring and committing the felony of Uttering Counterfeit

           Obligations or Securities as described by 18 U.S. Code § 472 and 18 U.S. Code § 371 which

           could be sufficient proximate Cause in a Civil RICO Claims Pleading not to mention 18 U,S,

           Code § 4 - Misprision of felony.



        10. WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan

           Trust F and its agents admit that there is no lawful evidence that Justin W. Burgess owes on

           WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan

           Trust F loan assignment recording at the Oxford County Registry of Deeds in South Paris,

           Maine in Book 5502 and Page 712 on 1/14/2010 and see attached copy of document herein.




BK: 5508 PG: 940
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 107 of 141                            PageID #: 113




          11. nil debt on the WILMINGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich

             Mortgage Loan Trust F assignment recorded at Oxford County Registry of Deeds in South Paris,

             Maine in Book 5502 and Page 712 on 1/14/2010 and see attached copy of document herein.


         12. granting to Justin Wade Burgess, the necessary power, title and authority to present the

             Administrative Declaratory Judgment instrument from my common law court of record as the

             WII^4INGTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan

             Trust F confessed evidence for Order to Vacate Summary Judgment, dated 12/12/2018 and

             Dismiss/Vacate with prejudice the subject case at South Paris, Maine District Court SOPDC-RE-

             18-19 a/k/a SOPSC-RE-17-46 JPMORGAN WILMINGTON SAVINGS FUND SOCIETY,

             FSB, AS TRUSTEE OF STANWICH MORTGAGE LOAN TRUST F BANK, NATIONAL

             ASSOCIATION v. JUSTIN BURGESS. Being that Summary Judgment with notation

             DISTRICT COURT SOUTH PARIS CIVIL ACTION DOCKET NO. SOPDC-RE-18-19 is

             recorded at with Book 5490 and Page 287 at the Oxford County Registry of Deeds, South Paris,

             Maine and clerk certificate with notation as #SOPSC-RE-17-46 with Book 5371 and Page 108 at

             same said registry.



         13. The Enterprise is/are now engaged in this binding, self-executing, irrevocable contractual

             agreement and are subject to fines, penalties, fees, taxes and other assessments, coupled with

             interest. The losses stated at this date and itemized in Table 1 herein and this document serves as

             a bill to The Enterprise for that amount to be paid to Justin Wade Burgess.


     I, Justin Wade Burgess, am the preparer of this instrument and have made request of the undersigned

      notary to complete my protest under notary seal as per Maine state statue noted herein.




                                                                                                                   94

BK: 5508 PG: 941
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 108 of 141                      PageID #: 114




                                                       By:                              ...
                                                       By: Justin Wade Burgess, all rights reserved

      STATE OF   W£L______
     county oytaffloj^n                                Februarypl^ , 2020

     Then personally appeared Justin Wade burgess and acknowledged the foregoing instrument to be his free act
     and deed.
                                                       Before me,


                                                              NotaryPublic




                                                                                                         12^4
                                                                                                        %
BK: 5508 PG: 942
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 109 of 141                         PageID #: 115




                                         COMMERCIAL AFFIDAVIT



        The undersigned Affiant, Justin W. Burgess, hereafter “Affiant”, does solemnly swear, declare

        and state as follows:

            1. Affiant is competent to state the matters set forth herein.

           2. Affiant has knowledge of the facts stated herein.

           3. All facts herein are true, correct and complete, admissible ass evidence and if called upon

               as a witness, Affiant will testify to their veracity.

        Plain statement of facts

           4. Affiant makes notice, to by mail and court filing, to WILMINGTON SAVINGS FUND

               SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F and its agents of

               Affiant’s conditional acceptance presentment under 3-501 and 3-505(a)(b) of the Unified

               Commercial Code, UCC, which creates evidence or presumption of dishonor.

           5. Affiant does use third party affidavit witnesses, Stephen Monaghan to hand process and

               to itemize witness all communications to principal WILMINGTON SAVINGS FUND1

               SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F and principal’s agent

               attorney Andrew S. Canella.

           6. Affiant does use third party affidavit witnesses Lucas Graywolf Hamilton to witness all

               communications from principal WILMINGTON SAVINGS FUND SOCIETY, FSB, as

               trustee of Stanwich Mortgage Loan Trust F and principal’s agent attorney Andrew S.

               Canella.




                                                                                                               $6
BK: 5508 PG: 943
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 110 of 141                         PageID #: 116




           7. All Affiants communications are in writing and sent with USPS Certified mail and with

               detailed contents description and receipt time as stated in Affidavit of Stephen Monaghan

               attached.

           8. Affiant gives notice to principal WILMINGTON SAVINGS FOND SOCIETY, FSB, as

               trustee of Stanwich Mortgage Loan Trust F and principal’s agent Andrew S. Canella that

               failure to respond and/or rebut would constitute acceptance and stipulation to the

               presentment and that Administrative Declaratory Judgment would issue certifying the

               confessions, admissions and stipulations as set forth in said presentment.

           9. As of this writing, Affiant has no evidence that said communications were not delivered

               to respondent/s via USPS or through the court case 19-20092 or case 19-2014.

           10. Affiant has no evidence that Wrongdoer or its agent made required response or requested

               more time to respond, see affidavit of Lucas Graywolf Hamilton attached.




                                                                    By^justin W. Burgess, as man, all
                                                                    rights reserved

        Verified on thjs th(£$M day of February, two thousjmd and Twenty (2020).
        Before me, L(MCl                             a Notary Public in and for the County of
                             Q       , State of Maine; appeared Justin W. Burgess known and made
        known to me draaffirrn the truth of the facts herein stated and placed his signature on this
        document.


        Notary Public Signature
        my commission




                                             KARA L ELWELL
                                           Notary Publlo-Maine
                                          My Commission Expires
                                              July 241,2026
                                                 yWl        ■!




BK: 5508 PG: 944
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 111 of 141                           PageID #: 117




                                  Affidavit of Stephen Monaghan


        I, in fact Stephen Monaghan declare, and state I have personal knowledge about the facts herein;
        everything stated in this Aflidavit of Truth is the truth, the whole truth, and nothing but the truth
        and al l stated is correct, complete and not misleading.




        Plain statement of the facts;



        1. Starting on 1/15/2020,1 agreed to be the independent 3rd party affidavit witness to written
           and mailed communications emanating from Justin W. Burgess to principal WILMINGTON
           SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F and the
           principal’s agent, attorney Andrew S. Canella. All communication was marked “Notice to
           agency = notice to principal, Notice to principal == notice to agency”. For each presentment of
           communication, I administered the letter packing, labeling and sending via USPS certified
           mail with green card return proof of service post cards sent back to me at my independent
           mailing address. For each mailing sent, I witnessed the contents of items sent with noted
           parties, dates and USPS numbers using USPS Certified mail with green postcard signed
           returned proof of delivery. On this date I witnessed the packing and mailing of
           CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE, 5 pages, with USPS
           Certified mail number 7019 0700 0001 6032 5951 for Andrew S. Canella delivered on
           1/23/2020 in Farmington, CT 06032.



        2. On 1/22/2020 a second communication was sent labeled CONTRUCTIVE NOTICE OF
           CONDITIONAL ACCEPTANCE NOTICE # 2: 72 HOURS TO CURE, 6 pages, with USPS
           with mail number 7019 1640 0000 2363 6381 for Andrew S. Canella delivered on 1/24/2020
           in Farmington, CT 06032.




        3. On 2/4/2020 a 3rd communication was sent labeled CONSTRUCTIVE NOTICE OF
           CONDITIONAL ACCEPTANCE # 2 MODIFIED, 10 pages, with USPS with mail number




BK: 5508 PG: 945
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 112 of 141                     PageID #: 118




      7019 0700 0001 6032 6668 for Andrew S. Canella delivered on 2/7/2020 in Farmington, CT
      06032.


   4. On 2/18/2020 a 4th communication was sent CONSTRUCTIVE NOTICE OF
      CONDITIONAL ACCEPTANCE # 3 DEFAULT NOTICE WITH 72 HOURS TO CURE,
      10 pages, with USPS mail number 7019 1640 0000 2363 1690 to Andrew S. Canella
      delivered on 2/20/2020 in Farmington, CT 06032.



                 Stvpuvxi xvxv’xiagixcui




   Verified on this the 2M day of February, two thousand and Twenty (2020).

   Before me, Y QtYQ,                        a Notary Public in and for the County of
              CfOi Q State of Maine; appeared Stephen Monaghan known and made known to me
   did affirm thtnruth of the facts herein stated and placed his si gnature on this document.




                                                                                                    IT
                                                                                                           U
BK: 5508 PG: 946
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 113 of 141                                PageID #: 119




                    Affidavit of Lucas Graywolf Hamilton 2/24/2020
        I, in fact Lucas Graywolf Hamilton declare, and state I have personal knowledge about the facts
        herein; everything stated in this Affidavit of Truth is the truth, the whole truth, and nothing but
        the truth and all stated is correct, complete and not misleading.

        P lain statement of the facts;

        1. Starting on 1/15/2020,1 agreed to be the independent 3rd party affidavit witness to U.S. mail
            responses from JPMorgan/its agent regarding USPS Certified mail presentations to
            JPMorgan Chase/its agent from Justin W. Burgess using his affidavit witness for mailing and
            contents, Stephen Monaghan. Per the terms of the Justin W. Burgess sent presentations, the
            JPMorgan Chase/its agent were required to mail responses to Justin W. Burgess c/o me,
            Lucas Graywolf Hamilton at my separate address of 428 Merrow Rd, Auburn, Maine.
            JPMorgan Chase /its agent were directed to respond only in the form of a line by line
            response to Justin W. Burgess presentment of proof of claims s{>ecified. The response needed
            to be in the form of a sworn affidavit, under penalty of peijury and under unlimited liability.

        2. As of this date noted below, I have not witnessed any return response from the said
           JPMorgan Chase/its agents sent to me at my specified mailing address noted in the
           communications that complied to terms specified herein.



                                         Graywolf Hamilton


        Verified on this the         day of February, two thousand and Twenty (2020).
        Before me,                     L XAcKfaXbJ a Notary Public in and for the County of
                                      ___ , State of Maine; appeared Lucas Graywolf Hamilton known and
        made                          firm the truth of the facts herein stated and placed his signature on this



        No
        mv commissi         pires:
                                                 SUSAN L. McNAl.LY
                                                 Notary Public, Maine
                                          My Coinmission Expires April 18,2021




BK: 5508 PG: 947
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 114 of 141                       PageID #: 120




                      THIS IS A PRIVATE COMMUNICATION BETWEEN PARTIES


        From: Justin W. Burgess
              c/o Lucasgraywolf Hamilton, as 3rd Party Affidavit Witness
              428 Merrow Rd
              Auburn, ME 04210


        To: Andrew S. Canella
           270 Farmington Avenue, Suite 171
           Farmington, CT 06032
           Certified Mail# 7^’1^     K*40 0000

                                                                                        to

       Notice to agency = notice to principle, Notice to principle = notice to agency


        February 17,2020


            CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE # 3 DEFAULT

                                      NOTICE 72 HOURS TO CURE


        Subject: Your (EF68) dated 1/7/2020 in Case No. 19-20092 NOTICE OF APPEARANCE AND
        REQUEST FOR ALL NOTICES AND PLEADINGS


        Refer to previous communications copied into Case 19-02014 subset of case 19-20092 as (EFl 2)
        Notice entered 1/29/2020 and (EFl8) Notice Modified entered 2/4/2020.


        Dear Attorney Canella:


        On January 22,1 prepared and mailed to you the CONSTRUCTIVE NOTICE OF
        CONDITIONAL ACCEPTANCE and stipulated 10 days allowed for response. On February 4,
        20201 prepared and mailed you a communication titled CONSTRUCTIVE NOTICE OF




BK: 5508 PG: 948
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 115 of 141                           PageID #: 121




       CONDITIONAL ACCEPTANCE # 2 MODIFIED. To this date, my 3rd party affidavit witness

       lias not received any communication from you or your client WILMINGLTON SAVINGS
       FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F that complies with the
       proof of claim affidavit terms. With this herein communication called CONSTRUCTIVE
       NOTICE OF CONDITIONAL ACCEPTANCE # 3 DEFAULT NOTICE 72 HOURS TO
       CURE
        I am giving notice that you and your said client are in default of the conditional acceptance
       terms and I am offering you 72 hours to respond as directed to cure your default. To review, you
       made an offer for your said client to join the Bankruptcy case/s and I conditionally accepted
       upon proof of claim. In the last notice you were informed that new contractual terms apply upon
       your default. This adhesion contract self activates upon your tacit non-response and creates a
       bilateral binding contract between your client and me, not unlike contract scenarios routinely
       used by courts, the IRS, Google, Microsoft and copious other entities engaged in commerce.
       Again, your failure to provide proof of claim shall constitute a breach of this binding, self­
       executing, irrevocable contractual agreement find subject the breaching party to fines, penalties,
       treble damages, fees, taxes and other assessments, coupled with interest. NOTE: with the
       assignment from JPMORGAGN CHASE BANK, NATIONAL ASSOCIATION to
       WILMINGTON SAVINGS FUND SOCIAETY, FSB, AS TRUSTEE OF STANWICH
       MORTGAGE LOAN TRUST F, so transfers in equal proportion your client’s responsibly for
       satisfying the $2,167,344 compensatory international bill of exchanged owed to me, Justin
       Burgess, from Chase by ADMINISTRATIVE DECLARATORY JUDGEMENT dated
        12/3/2019 with 4% annual coupling of interest starting on that same date.


        Further, the new default decree herein also expresses your acknowledgement and declaration
       that this new client, WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich
       Mortgage Loan Trust F, is not a “creditor” associated with me, my property or my Bankruptcy
       cases. Our resulting contract will manifest as a new ADMINISTRATIVE DECLARATORY
       JUDGEMENT, further referred to as A.D.J., by way of Maine Notary Judicial powers and will
       evidence your dishonor and stipulate the following:
               1. The acknowledgment by you and your client that nil debt is owed by me to your
                   client WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich




                                                                                                            to
                                                                                                                 Hip
BK: 5508 PG: 949
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 116 of 141                        PageID #: 122




                Mortgage Loan Trust F and that the foreclosure Summary Judgments cases SOPDC-
                RE-18-19 M SOPSC-RE-17-46 JPMORGAN CHASE BANK, NATIONAL
                ASSOCIATION v. JUSTIN BURGESS is/are void and tire a nullity as if it/they don’t
                exist.
             2. that WILMINGLTON SAVINGS FUND SOCIETY, FSB, as; trustee of Stanwich
                Mortgage Loan Trust F has no standing to support request (EF68) dated 1/7/2020 in
                Case No. 19-20092 NOTICE OF APPEARANCE AND REQUEST FOR ALL
                NOTICES AND PLEADINGS and is your support for my pending motion for order
                to disqualify Chase and WILMINGLTON SAVINGS FUND SOCIETY, FSB, as
                trustee of Stanwich Mortgage Loan Trust F as a “Creditor” in Bankruptcy Cases 19-
                02014 and 19-20092.
             3. That you and your client called “WILMINGLTON SAVINGS FUND SOCIETY,
                FSB, as trustee of Stanwich Mortgiige Loan Trust F” grant to me, Justin Wade
                Burgess, the necessary right, title, power and authority to prejpare and record the new
                A.D.J. as the instrument that:
                   a. Can be recorded at the Oxford County Registry of deeds as your consented
                         Declaration of Waiver of Foreclosure Notice regarding JUDGEMENT OF
                         FORECLOSURE AND SALE TITLE TO REAL ESTATE IS INVOLVE
                         related to the DISTRICT COURT SOUTH PARIS CIVIL ACTION
                         DOCKET NO. SOPDC-RE-18-19 as recorded in Book 5490 and Page 287
                         and CLERKS CERTIFICATE OF FORECLOSURE with court docket
                         reference as # SOPSC-RE-17-46 and recorded on 9/28/2017 with Book 5371
                         and Page 108.


                   b. Releases/discharges and/or makes necessary corrective recording regarding
                         the assignment recording at the East Oxford County Registry of Deeds in
                         South Paris, Maine in Book 5502 and Page 712 on 1/14/2010 and see attached
                         copy of document herein.




                         a man, sui



                                                                                                          41 Kf-X


BK: 5508 PG: 950
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 117 of 141                                                                                         PageID #: 123
                                                                                  fitctlpt IM 14392
                                                                                                                                             -------------------------------- -
                                                                                                                                               Bk 5502         PG 712
                                                                                   ERECORD                                                     01/14/2020 12:59:22 PM
                                                                                                                                               Pages 1
                                                                                                                                               ASSIGNMENT
                                                                                 Instr # 531
          MAINE                                                                  Cheni L Crockett Register of Deeds                          OXFORD COUNTY
          COUNTY OF OXFORD (EASTERN)
          LOAN                                                                    k-----------------------------------------------------     ___________________________________ d

          | W-l 15 Cajuungton EBO 2]


          iiimiiiiiiim                   lawn
          When reotrd-d Mail to: Attn: assignment Department, Ji'mom an chase Bank, na. c/o Fnsr American Mortgage
          SotinnoNS. 1795 International Wav, Ihaho Falls, ID 83402. Ph. (208) 528^895

                                             ASSIGNMENT OF MORTGAGE
          FOR VALUE RECEIVED, JPMORGAN CHASE BANK, NATIONAL ASSOCIATION, located at 700 KANSAS LANE, MC
          8000, MONROE, LA 71203, Assignor, does hereby grant, assign, transfer, and set over unto WILMINGTON SAVINGS FUND
          SOCIETY, FSB, AS TRUSTEE OF STANWICH MORTGAGE LOAN TRUST F, located at 1600 SOUTH DOUGLASS
          ROAD, SUrrE 206-A ANAHEIM, CA 92806, Assignee, its successor and assigns, all Assignor’s interest in and to dial cemiin
          Mortgage dated APRIL 15,2010, executed by JUSTIN W BURGESS AND JESSICA L GAGNE, HUSBAND AND WIFE , as
          Mortgagors), to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS MORTGAGEE, AS NOMINEE FOR
          MERRIMACK MORTGAGE COMPANY, INC., US SUCCESSORS AND ASSIGNS, Original Mortgagee, and recorded in
          Book 4578 at Page 99 as Instrument No. 3885 in the office of the Register of Deeds in die County of OXFORD (EASTERN), State
          of MAINE.
          TOGETHER with all rights accrued or to accrue to said Mortgage.
          IN WITNESS WHEREOF, the undersigned has caused this Instrume nt to be executed on
          JPMORGAN CHASE BANK, NATIONAL ASSOCIATION



     'I'M rel:                                                                    Name:
                                                                                  Title:



                         -■ n        §                      tW t


                                                .......

     IS             •
          STATE OF LQpISIANA                  PARISH OF OUACHITA                    ) ss.
          On     //t                     . before me appeared             Sandy LCattef                     j to me personally known, who, being by me
          affirmed, did say that be is the         VkwPmiifctot              of JPMORGAN CHASE BANK; NATIONAL ASSOCIATION
          and that the seal affixed to said instrument is the corporate seal of said entity and that the instrument was signed and sealed in belialf
          of the entity by authority of its Board of Directors and that    _J5an!^LGarteiL_                                  acknowledged the instrument to be the
          fere act anddeedoftheentity.


                                             (COMMISSION EXP.
                                                                                                    Vicki C. Knighten
                                                                                           Ouachita Pariah, l.ouisfana
             NOTARY PUBLIC                                                                    Lifetime Commiaton
             ID or Bar Roll Number:                                                         Notify Public ID #54231




          CH80711117IM-AM-ME                                              Page loll
                                                                                                                               IIIIIIIIIIIIIIIIIIIIIIIM
                                                                                                                                               MIN: 100158320000232868

          IIIIIIIIIIIIIIIIIIIIIIIII                                                                                                        MERS PHONE: M88^679^5377




                                                                       ?5                   i°

                                                                                                                                                                               ------ 4^
 BK: 5502 PGT712

BK: 5508 PG: 951
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 118 of 141           PageID #: 124



                                                           OOC 10975 BK 5371 PG 108




                           CLBRK'8 CERTIFICATE OF FORECLOSURE

        456 Gore Road, Otisfield, ME 04270
        Eastern Oxford County Registry of Deeds Book 4578, Page 99

                                            rGMt/Assistant Clerk of the South Paris
        District Court, located in South Paris do hereby certify that a civil action
        seeking a judgment of foreclosure and sale pursuant to 14 M.R.S.A. §6321 et
        seq., has been commenced in this Court by JPMorgan Chase Bank, National
        Association with an address of 3415 Vision Drive, Columbus, Ohio 43219
        against Justin W. Burgess a/k/a Justin Burgess, to enforce a Mortgage
        (panted by Justin W. Burgess and Jessica L. Gagne to Mortgage Electronic
        Registration Systems, Inc., as nominee for Merrimack Mortgage Company, Inc.,
        its successors and assigns, dated April 15, 2010 and recorded in the Eastern
        Oxford County Registry of Deeds in Book 4578, Page 99, and affecting certain
        real property located at 456 Gore Road, Otisfield, ME 0-1-270.
                 The action was filed on           and is docketed as #                   V4


        Dated:




        After recording, return to:

         SHAPIRO & MORLEY, LLC
         707 Sable Oaks Dr., Suite 250
         South Portland, Maine 04106
         (207) 775-6223
         14-021485




                                                 Recorded:Oxford East County 10/3/2017 (®:25:13 AM
                                                 Patricia A Shear man Register of Deeds


                                           £ G     0^ lo
                                                                                          Z-3


BK: 5508 PG: 952
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 119 of 141                            PageID #: 125




         STATE OF MAINE                                            DISTRICT COURT
         OXFORD, ss.                                                  SOUTH PARIS
                                                                      CIVIL ACTION
                                                        DOCKET NO. SOPDC-RE-18-19
         it********** it •**★*★***★***♦ ilfW ilr ********* *.lr **********




                                                          HIMHII
         JPMORGAN CHASE BANK, NATIONAL                                                           Bk54M»         PG 287
                                                                                                 11/M/20W 10:20:31  AM
         ASSOCIATION                                                                             Pao«»4
                   PLAINTIFF                                                                     FORECLOSURE
                                                          Instr# 13624
         v.                                               Cherri L Crodiatt Ragisier of Dead*   OXFORD COUNTY


         JUSTIN W. BURGESS A/K/A JUSTIN
         BURGESS
                   DEFENDANT

         *************************************************

                         JUDGMENT OF FOKECLOSURB AND SALE
                           TITLE TO REAL ESTATE IS INVOLVED

        456 Gore Road, Otisfield, Maine 04270
        Eastern Oxford County Registry of Deeds Book 4578, Page 99

              Upon notice and after trial, the Court finds as follows:

                 1.    The Plaintiff is the owner of a certain promissory note in the
        original principal amount of $122,448.00 (the “Note”), given by Justin W„
        Burgess to Merrimack Mortgage Company, Inc., its successors and assigns,                                 f       .
        The Plaintiff is the owner and mortgagee of record of a Mortgage recorded in the
        Eastern Oxford County Registry of Deeds in Book 4578, Page 99 (the                                       V >
        “Mortgage”), affecting real property located at 456 Gore Road, Otisfield, Maine
        04270 more particularly described in the legal description attached to the
        Mortgage (the “Premises”). The Mortgage was assigned by Mortgage Electronic
        Registration Systems, Inc., as nominee for Merrimack Mortgage Company, Inc.,
        its successors and assigns, to JPMorgan Chase Bank, National Association
        evidenced by assignment recorded September 20, 2012 in Book 4896, Page
        136. Said assignment was ratified by Ratification of Assignment, recorded July
        20, 2015 in Book 5233, Page 133. The foregoing assignment, together with the
        Ratification of Assignment, establish that the Plaintiff has full and complete
        title iin find to the Mortgage.

              2.     The Defendant has breached t±ie conditions of the Mortgage as a
        result of a default on the Note secured thereby.




                                              f 7        to                                                 24 ef-X
                                                                                                                         %

BK: 5508 PG: 953
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 120 of 141              PageID #: 126




             3.    Defendant has not filed a timely request for mediation, and
        mediation thus is not required by 14 M.R.S. § 6321-A.
               4.     Jessica L. Gagne is not obligated on the Note and no longer holds
        title and. is not a necessary party to this action.
             5.     As of September 26, 2018, the following amounts, exclusive of fees
        and costs for preparation for and attendance at trial, are owed to the Plaintiff
        under the terms of the Note and Mortgage:
          Principal Balance                                            $ 115,253.93
          Accrued Interest                                              $28,834.48
          Escrow Advance                                                 $14,668.37
          Property Inspection Fees                                          $389.00
          Attorney’s Fees and Costs                               ____    $5,817.49
          Total                                                        $164,963.27

        Additional pre-judgment interest is accruing and post-judgment interest will
        accrue at a rate of 5.375% per annum in accordance with the Note and 14
        M.R.S. §§ 1602-B and 1602-C. Additional attorney's fees, real estate taxes,
        costs and amounts advanced to protect the security of the Mortgage may
        continue to accrue through the date of redemption or side find the completion
        of these proceedings.
              6.   The order of priority of any party appearing in this action is as
        follows:
                   First Priority: The Mortgage held by JPMorgan Chase Bank,
        National Association recorded in the Eastern Oxford County Registry of Deeds
        in Book 4578, Page 99. The amount due the Plaintiff is as set forth above.

                   Second Priority: Justin W. Burgess a/k/a Justin Burgess.
              7.   There are no public utility easements affected by this action.

               8.   The names and addresses (if known) of all parties to this action and
        their counsel of record are identified as follows:

                    a.   JPMorgan Chase Bsink., N.A.
                    .    3415 Vision Drive
                          Columbus, Ohio 43219
                    Counsel:    Leonard F. Morley, Jr., Esq. #3856
                                William B. Jordan, Esq., #461
                                Shapiro & Morley, LLC



                                                 P   1   op 10




BK: 5508 PG: 954
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 121 of 141           PageID #: 127




                                707 Sable Oaks Dr., Suite 250
                                South Portland, Maine 04106
                                (207) 775-6223

                    b.     Justin W. Burgess a/k/a Justin Burgess
                           456 Gore Road
                           Otisfield, ME 04270

                    Counsel:    Pro Se


              9.    The docket number for this action is SOPDC-RE-18-19.

              10. AU parties have received notice of these proceedings in accordance
        with the applicable provisions of the Maine Rules of Civil Procedure and any
        order of this Court.

              IT IS THEREFORE ORDERED AND ADJUDGED that:

               a.  Judgment of Foreclosure and Sale is hereby entered in favor of
        JPMorgan Chase Bank, National Association. If Justin W. Burgess a/k/a
        Justin Burgess does not pay to the Plaintiff, its successors iind assigns, the
        amount of the Plaintiff s total claim due as set forth above within the statutory
        90-day period of redemption established by 14 M.R.S. § 6322, then JPMorgan
        Chase Bank, National Association, its successors and assigns, shall sell the
        Premises pursuant to 14 M.R.S. § 6321 et seq., and shah disburse the
        proceeds of the sale, after deducting the expenses thereof, in the following
        order:

                   First,   to JPMorgan Chase Bank, Nationd Association, its
        successors and assigns, as set forth above;

                   Second, the surplus proceeds, if any, to Justin W. Burgess a/k/a
        Justin Burgess in accordance with 14 M.R.S. § 6324.

              b.  An execution shall issue against Justin W. Burgess a/k/a Justin
        Burgess for any deficiency that may result, provided that the statutory
        requirements are met.




                                                  A e> F" I




BK:5508 PG: 955
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 122 of 141              PageID #: 128




               c.     All remaining rights of the Defendant to possession shall terminate
        upon expiration of the statutory ninety (90) day redemption period. If
        Defendant has not redeemed the Mortgage by that date. Defendant is ordered
        to vacate the real estate at that time, and a Writ of Possession shall issue to the
        Plaintiff for possession of the real property upon application for the same.

              d.    The Court specifically finds that there is no just reason for delay of
        the entry of final judgment for the relief requested in Plaintiffs complaint, and
        the Clerk is directed to enter this Order as a final judgment pursuant to Rule;
        54.

             e.    If an appeal is not filed and the Clerk has so certified, JPMorgan
       Chase Bank, National Association shall be responsible for recording an attested
       copy of this judgment in the Eastern Oxford County Registry of Deeds and
       paying the recording fee.

             f.     Pursuant to Rule 79(a) this Order may be incorporated by reference,
       on the Civil Docket.


       Dated:
                                                    Judge, District Court
       Entered On:



               CERTIFICATION OF CLERK PURSUANT TO 14 M-R.S. § 2401(3) (F)

             Pursuant to 14 M.R.S. § 2401(3)(F), it is hereby certified that no notice of         x—
       appesd of the Judgment of Foreclosure and Sale in this matter was filed with           f        A
       the Clerk of Court in this action within the appeal period following, entry of
       judgment or that the final judgment has been entered after remand following
       an appeal.

       Dated: is-lokr
                                                    Clerk of Court
        14-021485




                                                    )P   6   lO
                                                                                              2^



BK: 5508 PG: 956
      Case- USPS
 USPS.com®  2:20-cv-00164-LEW
                 Tracking® Results               Document 1-1 Filed 05/08/20        Page 123 of 141 PageID #:
                                                                     https://tools.usps.com/go/TrackConfirmAction7qtc    1291=7019...
                                                                                                                      tLabels



                                                                                                                            br/ok on Di                   i ivi.
                                SENDER COMPlfTF. FHIS SI:.CIiOt-i
         USPS u                 o Complete Items 1,2, and 3.
                                                                                             A Signature
                                                                                                                                                                                   iJs >

                                ■ Print your name and address on the reverse
                                                                                                                                                                      /Wrest.
                                  so that we cem return the card to you.
                                                                                                                            sdNomo)                          C. Date of Dsllvt ;
                                ■ Attach this card to the back of the mailpleoe,
                                  or on the front If space permits.
                                                                                                                                                               2-2x?-2-o
                                1. Article Addressed to:                                     D. Is delivery                                                  a 1?     Yw
                                                                                                If YES, enter            ivory address below:                      Q;}No




                         Gt                                                                3. Service Type                                                Priority Mali Enprrsa®

                         an         iiiniiiiiHiimiiiiiiiiiiii                                 Adult Signature
                                                                                              Adult Signature Hestfcted Dsllvoiy
                                                                                              CcrtlfcdMolt®
                                                                                                                                                          Registered Man™
                                                                                                                                                                      Maa Restrlotr)dom


             /xsellfappaUsps           9590 9402 5075 9092 4303 03                            Certified Mall Reetricted Delivery                          Return Receipt tor
                                                                                              Collect.on Qeljyery                                         Merchandlso              on)
                                                                                                              very Restricted Delivery                    Signature Conflrmatlcri™

                                          *7015 IrbHD 000D 231.3                                                                                          Signature Corrfirmatkn
                                                                                                                                                          Restricted Delivery
                                              ■______________ '____________ |                 (cverWOO)______________

                               . PS Form 3811, July 2015 PSN 7530-02-000-9053                                                                    Domestic Return Receint




                                                                                                                                                                        Remove X
                  Tracking Number: 70191640000023631690

                  Your item was delivered to the front desk, reception area, or mail room at
                  11:12 am on February 20, 2020 in FARMINGTON, CT 06032.                                                                                                                  I
                                                                                           U.S. Postal Service
                                                                                           CERTIFIED MAIL' RECEIPT
                                                                                   o     _ Dom^fztir. Man rinZi,
                                                                                           Domestic Mail  Only
                  & Delivered                                                                     delivery infoimatio                  ill our v/ebsite at ivivtiv z/s.


                 February 20, 2020 at 11:12 am                                     m     cSBtSd Mail fee                      -------------------------
                                                                                   jj
                 Delivered, Front Desk/Reception/Mail Room                         rn
                                                                                   ru   EnuUiMvIuuifaeaikVwkUanadireu
                 FARMINGTON, CT 06032                                                    U Return Receipt (herdoojv)             $
                                                                               a            notwn Receipt (elsctrartc)           $
                                                                               D            Certittad Men Raetrtetad OaSvcy      s                                         PoJWftik
                 Get Updates \/                                                                                                                                             naa
                                                                               a
                                                                                           AUuaBlfimtajRapito,
                                                                                           Adult Saraturo RMrtctM Mtay $
                                                                                                                                 *
                                                                                                                                                                                                 $
                                                                                        Poatago                w>40                                                          <30
                                                                                        iotai Portaga and                 --------


                                                                                        Senr To
                     Text & Email Updates
                                                                               O

                                                                                                                           ..... ................. -....
                     Tracking History                                                   PS Form 3800, Apr;. 2015
                                                                                                                           a              0^ 03 ?.■
                                                                                                                                                                     Reverse tojr instructions




                     February 20,2020,11:12 am
                     Delivered, Front Desk/Reception/Mall Room
                     FARMINGTON, CT 06032
                     Your item was delivered to the front desk, reception area, or mall room at 11:12 am




1 of2                                                                                                                                                                          2/23/2020, 7:58'



BK: 5508 PG: 957
       Case
JSPS.com®     2:20-cv-00164-LEW
          - USPS Tracking® Results    Document 1-1 Filed 05/08/20 Page 124 of 141   PageID #: 130


                  on February 20, 2020 in FARMING



                   February 20,2020,3:46 am
                   Departed USPS Regional Facility
                   SPRINGFIELD MA NETWORK DIS’



                   February 19,2020,9:44 am
                   Arrived at USPS Regional Facility
                   SPRINGFIELD MA NETWORK DIS’



                   February 18,2020,10:53 pm
    in             Arrived at USPS Region al Origin Fs
    LU
                   SOUTHERN ME DISTRIBUTION CE
    u
    UJ

    co
                   February 18,2020,8:36 pm
    LU             Departed Post Office
    n
                   SOUTH PORTLAND, ME 04106
    O
    o
    LU
    a:
                   February 18,2020,2:41 pm
                   USPS in possession of item
                   SOUTH PORTLAND, ME: 04106




                   Product Information



                                                       S




                             Can’t find wha
                      Go to our FAQs section to fir




                                                                                            25

2 of 2
                                                                                                    %
BK: 5508 PG: 958
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 125 of 141                            PageID #: 131
           Case 19-02014         Doc 18     Filed 02/04/20 Entered 02/04/2015:02:32           Desc Main
                                             Document     Page 2 of 10


             Farmington, CT 06032
             Certified Mail #o7<?O                                          Gb


         Notice to agency = notice to principle, Notice to principle - notice to agency


         February 4,2020



             CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE # 2 MODIFIED



         Subject: Your (EF68) dated 1/7/2020 in Case No. 19-20092 NOTICE OF APPEARANCE AND
         REQUEST FOR ALL NOTICES AND PLEADINGS


         My (EF 12) attached.


         Dear Attorney Canella:



         On January 22,1 prepared and mailed to you the CONSTRUCTIVE NOTICE OF

         CONDITIONAL ACCEPTANCE and stipulated 10 days allowed for response. To this date,

         my 3 rd party affidavit witness has not received any communication from you or your client

         WILMINGLTON SAVINGS FUND SOCIETY, FSB, as trustee of Stanwich Mortgage Loan Trust F

        that complies with the proof of claim affidavit terms. With this herein communication called

         CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE # 2 MODIFIED I am

        granting an additional 10 days to respond and I am modifying the teims to include an issuance of

        a contract with terms actionable upon default. To review, you made an offer for your said client

        to join the Bankruptcy case and I conditionally accepted upon proof of claim. I am now giving

        you notice that 1 am adding these flowing new terms: Your failure to provide proof of claim shall

        constitute a breach of this binding, self-executing, irrevocable contra ctual agreement and subject




                                                                & io


BK: 5508 PG: 959
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 126 of 141                            PageID #: 132
           Case 19-02014       Doc 18     Filed 02/04/20 Entered 02/04/2015:02:32             Desc Main
                                           Document     Page 3 of 10



         the breaching party to fines, penalties, treble damages, fees, taxes and other assessments, coupled

         with interest and expresses your acknowledgement and declaration that this new client is not a

         creditor associated with me or my property, the granting to me of the necessary power, title and

         authority to prepare and record the instrument that releases any current or future claim this new

         client its successors or assigns may have on me or my property. Further the new contract by

         default will require the surrender to me of all evidence that can be associated as a claim on me or

         my property by you or this new client or its successors and assigns may have.




         Sincerely,


         JustinW. Burgess




                                                         f   oA to




BK: 5508 PG: 960
       Case
USPS.com®     2:20-cv-00164-LEW
          - USPS Tracking® Results                             Document 1-1 Filed https://tools.usps.com/go/TiackConfirm
                                                                                  05/08/20 Page 127 of 141 Acti<>n?qtc   PageIDtLabels
                                                                                                                                #: 133 1=7019...




                                                                                                                                                                                                      ps >
          USPS              1 SENDER: c'nMPtl It THI.
                           J . .. _______ I____ ________
                                                                                             ’■ i KiN                                      77. THIS\:

                                                                                                                                   Signature
                                                                                                                                                                    tbf; L)F:l IVFRY


                                ■ Complete items 1,2, and 3.
                                                                                                                                                                                       Agent
                                ■ Print your name and address on the reverse
                                                                                                                                                                                       Addressee
                                  so that we can return the card to you.
                                                                                                                              B.          (edby              Name)            C. Date of Delivery
                                ■ Attach this card to the back of the mailpiece,
                                  or on the front If space permits.______________
                                1. Article Addressed to:                                                                      D. Is delivery         dlffarerrt from item 1?           Yes
                                                                                                                                 If YES, enter delivery address below.                 No



                               ’^7c)                                             A£                              Iff


                                                                                                                           3. Service Type                                  Priority Mall Express®


                                       iiiiiiiiiiiiiimHiiiiiiiiiniiiiHHiiiiii                                                 Adult Signature
                                                                                                                              Adult Signature Restricted Delivery
                                                                                                                              Certified Mall®
                                                                                                                                                                            Registered Man™
                                                                                                                                                                            Registered Mail Restricted
                                                                                                                                                                            Delivery                  ?Bon)
             /xs«ll?app»XI»f              9590 9402 5075 9092 4303 89                                                         Certified Mall Restricted Delivery            Return Receipt for            '
                                                                                                                              Collect on Delivery
                                                                                                                                                                            Signature ea         TM
                                                                                                                           fl Cnifixs on Delivery Reetrlcterl Delivery
                                2,                                                                                                                                          Signature
                                                  7011 0700 0001 b032 bLbfi                                                                    Gstrlctdid CWery             Restricted t
                                     ----------------- ---------- ----------------------------- - ------    --------------- —TWW WW—
                                                                                                                                                                         Domestic f^^n Receipt
                           ; PS Form 3811, July 2015 PSN 7530-02-000-9053




                                                                                                                                                                                             Remove X
                  Tracking Number: 70190700000160326668

                  Your item was delivered to an individual at the address at 10:13 am on
                  February 7, 2020 in FARMINGTON, CT 06032.




                           Delivered                                                                              U.S. Postal Service
                                                                                                                  CERTIFIED MAIL6                                     CEIPT
                   February 7,2020 at 10:13 am                                                             MS     Dome Stic Mail Only
                                                                                                           J3
                   Delivered, Left with Individual                                                         ja     Fjor delivery inlorrnation. vijsit ou| wcljisile al ivivizt/sps.copr
                   FARMINGTON, CT 06032                                                                    jo

                                                                                                           ru
                                                                                                           m CeriOfied Mall                SS* '
                   Get Updates xz                                                                          C3
                                                                                                           j) feSa Services & ^ees                 edd'
                                                                                                                 O Return Receipt (hardcopy)        $     yU n UU
                                                                                                           r-t   Q Return        (ctectroalo)       3
                                                                                                           C3      Certfled IMI RMtrided Mvwy       >     IOOQ/q
                                                                                                           C3
                                                                                                                 Q Adult Signature Required          $   IQ QQ       TJ
                                                                                                           E3      Adutt Signatuni Reetricted DeiMry I______ * .      ‘

                       Text & Email Updates                                                                C3
                                                                                                                                     iiTio
                                                                                                           C3                                                                     04/202^               4
                                                                                                           n-    Yotnl PoCags and Rms~~
                                                                                                           C3
                                                                                                                                                                                       —
                                                                                                           rr
                       Tracking History'                                                                   r-A
                                                                                                           C3
                                                                                                           r-


                                                                                                                 PS|Forml3800, April 2015
                       February 7,2020,10:13 am
                       Delivered, Left with Individual
                       FARMINGTON, CT 06032
                       Your item was delivered to an individual at the address at 10:13 am on February 7,




 1 of 2                                                                                                                                                                                               2/23/2020,7:51 PM


BK: 5508 PG: 961
       Case
n® - USPS     2:20-cv-00164-LEW
          Tracking® Results          Document 1-1 https://tools.usps.com/gon'rackConfirmAction?qtc_tI
                                                   Filed 05/08/20 Page 128 of 141 PageID                      #: 134
                                                                                                      Jabelsl=7019...



           2020 In FARMINGTON, CT 06032.



           February 6,2020,8:08 am
           Departed USPS Regional Facility
           SPRINGFIELD MA NETWORK DISTRIBUTION CENTER



           February 5,2020,12:06 pm
           Arrived at USPS Regional Facility
           SPRINGFIELD MA NETWORK DISTRIBUTION CENTER



           February 4,2020,11:44 pm
           Arrived at USPS Regional Origin Facility
           SOUTHERN ME DISTRIBUTION CENTER



           February 4,2020,6:46 pm
           Departed Post Office
           SOUTH PORTLAND, ME 04106



           February 4,2020,12:45 pm
           USPS in possession of item
           SOUTH PORTLAND, ME 04106




           Product Information



                                               See Less /X




                    Can’t find what you’re looking for?
              Go to our FAQs section to find answers to your tracking questions.



                                                 FAQs




                                                                                                  2/23/2020.7:51 PM


BK: 5508 PG: 962
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 129 of 141                                        PageID #: 135
           Case 19-02014 Doc 18 Filed 02/04/20 Entered 02/04/2015:02:32 Desc Main
            Case 19-02014 Doc 12 lfjteO^/20                23/2011:34:01 Desc Main
                                   Document    Page 2 of 7


                             THIS IS A PRIVATE COMMUNICATION BETWEEN PARTIES



          From:   Justin W. Burgess
                  c/o Lucasgraywolf Hamilton, 31’1 Party Affidavit Witness

                  428 Morrow Rd

                  Auburn, ME 04210



          To: Andrew S. Canella
              270 Farmington Avenue, Suite 171

              Farmington, CT 06032
             r  ,r w H,
             Certified Mail it
                                           701'1
                                            1
                                                              Oo0'’ 1^3


          .cc JPMorgan Chase Bank, National Association

             c/o Chase Records Center.
             Attn: Correspondence Mail Code LA4-5555

             700 Kansas Lane, Monroe, LA 71203-4774

             Certified Mail #       7 01              0c)OD     23^3 ^6(8

         Notice to agency = notice to principle, Notice to principle - notice to agency



        —December22,2020



                           CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE

                                           NOTICE # 2 : 72 HOURS FOR DEFAULT



         RE: (EF70 1.20.2020)


         This is tire 2nd notice, first notice sent 1. 15.2020. Seven days have gone by and I have not received your

         response. The required time line is 10 days so this is your 72 hour notice requiring response before you

         are default. The default terms of non-response will convert this notice into bilateral contract as per UCC
         ntles and will act as lawful notice to the public that you we in agreement with the opposite positions of

         the statements in original letter dated 1/15/2020 titled CONS TRUCTIVE NOTICE OF CONDITIONAL

         - sec attached Exh -11-.
                                                                                     By: Justin W Burgess




                                                                5


BK: 5508 PG: 963
      Case
USPS.com®    2:20-cv-00164-LEW
          - USPS Tracking® Results                Document 1-1 Filed 05/08/20       Page 130 of 141 PageID #: 136=7019...
                                                                     https://tools.usps.com/go/TrackConfirmAction7qtc_tLabelsl




         USPS                 SENDER: c|oiW'lc7f| THIS SSCTKif,

                              ■ Complete Items 1,2, and 3.                                                                                  & Alert
                              ■ Print your name and address on the reverse                X
                                so that we can return the card to you.                                                                 -r- D Addressee
                                                                                          B.                                '        C. Date of Delivery
                              a Attach this card to the back of the mailpiece,
                                or on the front if space permits.____________
                              1. Article Addressed to:                                    D. Is delivery           different from item 1?      Yes
                                                                                               If YES, enter delivery address below:           No


                             £.70
                         <                   J
                                                                  ObO-SZ.

                                                                                      3. Service type                              Priority Mall Express*    ,
                         t

             /xseH?app»Usi
                                  IIIIIIIIIUIIIIIIIIIINIIIIIIIIN
                                    9590 9402 5075 9092 4322 08
                                                                                       Adult Signature
                                                                                       Adult Signature Restricted Dullvery
                                                                                       Certified Malts
                                                                                       Certified Mall Restricted ttellvcry
                                                                                                                                   Registered Mall™
                                                                                                                                   Registered Mall Restricted

                                                                                                                                   Return Receipt far
                                                                                                                                                             * con1


                                                                                                                                                                ction)
                                                                                       Collect on Delivery                         Merchandise
                                                                                    AP Collect on Delivery Restrlcterl Delivery    Signature Confirmation™
                                                                                                                                   Signature ConfinpMIori
                                       701T       lb4n          ODQO       53L3   1,351             a Restricted Dellvury
                                                                                                                                   Restricted Defh^ry


                         I PS Form 3811, July 2015 PSN 7530-02-000-9053                                                         Domestic Return Raceipt ’
                         (.                              ....          .



                                                                                                                                                     Remove X
                  Tracking Number: 70191640000023636381

                  Your item was delivered to an individual at the address at 10:23 am on
                  January 24, 2020 in FARMINGTON, CT 06032.

                                                                                   UJS. Postal Service]"
                                                                                   certified maid'                          Receipt
                                                                                   Do/nestic Moi! Only         I
                  & Delivered
                  January 24, 2020 at 10:23 am
                  Delivered, Left with Individual
                  FARMINGTON, CT 06032

                  Get Updates xz




                     Text & Email Updates


                     Tracking History'


                     January 24,2020,10:23 am
                     Delivered, Left with Individual
                     FARMINGTON, CT 06032
                     Your item was delivered to an individual at the address at 10:23 am on January 24,




lof3                                                                                                                                                         2/23/2020,7:46 PM


BK: 5508 PG: 964
         CaseResults
JSPS Tracking® 2:20-cv-00164-LEW       Documenthttps://tools.usps.com/go/TrackConfirmAction7qtc_tLabels
                                                 1-1 Filed 05/08/20 Page 131 of 141 PageID              1 =7019 ... #: 137


       2020 in FARMINGTON, CT 06032.



       January 24,2020, 8:03 am
       Out for Delivery
       FARMINGTON, CT 06032



       January 24,2020, 7:52 am
       Arrived at Unit
       FARMINGTON, CT 06032



       January 24,2020, 3:16 am
       Departed USPS Regional Facility
       SPRINGFIELD MA NETWORK DISTRIBUTION CENTER



       January 23,2020,12:39 pm
       Arrived at USPS Regional Facility
       SPRINGFIELD MA NETWORK DISTRIBUTION CENTER                                                    m



       January 23, 2020
       In Transit to Next Facility



       January 22,2020,11:10 pm
       Arrived at USPS Regional Origin Facility
       SOUTHERN ME DISTRIBUTION CENTER



       January 22,2020, 3:09 pm
       Departed Post Office
       PORTLAND, ME 04101



       January 22,2020,1:45 pm
       USPS In possession of item
       PORTLAND, ME 04101




       Product Information




                                                                                               2/23/2020, 7:46 PM


BK: 5508 PG: 965
     Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 132 of 141                            PageID #: 138
            Case 19-02014 Doc 18 Filed 02/04/20 Entered 02/04/2015:02.32                     Desc Main
             S;'19-02014 Doc 12 ^^fi^/20 p£|Wtf 0/23/20 11:34:01
                                    Document    Page 3 of 7


                                THIS IS A PRIVA TE COMMUNICATION BETWEEN PAR TIES


                  Justin W. Burgess
                 do LucHsgraywolf Hainihon, 3"’ Party AHidavit Witness

                 428 Mcrrow Rd
                 Auburn, ME 0421 (J


          To: Andrew S. Canella
             270 I'armington Avenue, Suite 171
             barmington, CT 06032
             Certified Mail ft                   0^ f



          .cc JPMorgan Chase Bank, National Association
             c/o Chase Records Center.
             Attn: Correspondence Mail Code 1.A4-5555
             700 Kansas Lane, Monroe, LA 71203-4774
             Certified Mail #                      f>^< bOSl-


         Notice to agency    notice to principle, Notice to principle   notice to agency


        —Deecmbcr 15,2020



                            CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE


         Subject: Your (EF68) dated 1/7/2020 in Case No. 19-20092 NOTICE OF APPEARANCE AND
         REQUEST F()R ALL.NOTICES. AND PLEAD-lNtja


         Dear Attorney Canella:


         I rnn in receipt of your (EF68) dated 1/7/2020 in Case No. 19-20092 NO TICE OF APPBA.RANCKA.ND
         REQUEST FOR ALL NOTICES AND PLEAPINQS, a copy of which is enclosed.


                t am conditionally accepting your request oftbr for NOTICE OF APPEARANCE ANQ .RQURST
         FOR ALL NOTICES AND PLEADINGS provided you adequately respond, under oath, under penalty of




BK: 5508 PG: 966
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 133 of 141                                         PageID #: 139
            Ca3e ig-OZOl4 Doc 18 Filed 02/04/20 Entered 02/04/20 15:02:32 Desc Main
             Case 19-02014 Doc 12 WfdtWR/20 Pfi^erartQV23/2011:34:01 Desc Main
                                    Document    Page 4 of 7


          perjury and under your full unlimited liability to (he following proofs of claims. Failure to provide proof
          of claim tor each item shall constitute a breach of this binding, self-executing, irrevocable contractual
          agreement expressing your acknowledgement and declaration of the party Wilmington Savings Fund
          Society, FSB, as trustee of Stauwich Moitage tx»an Trust F, further to be referred to as “Your Party”, has
          no connection nor standing as a “Creditor” in ease. 19-20092 and/or Adv. Pro. Case No. 19-2014 and
          Your Party will not be inclmicd in case communications unless it is determined that Your Party turns out
          to be a debtor, owning a debt to me. These proof of claims are written in negative averment form; your
          non-response will be your admission to the opposite or positive averment form of citcli claim item.


          Proof of Claim that:
          1. That Your Party, as a potential creditor in this matter:
                   a. has met all the necessary debt validation and dispute criteria under US Code TTO >E 15 >
                       CHAP12TR 41 > SUBCHAPTER V > § 1692g part b, TILA and RESPA.
                   b. has THE GENUINE, UNALTERED WET INK SIGNATURE PROMISSORY NOTE AND
                       THE GENUINE MORTGAGE ijursunnt of USC Tide 18, Parti, Chapter 101 § 2071 and

                       UCC 3-501 (b)(2)( I) and Maine TITLE 14, Part 7, Chapter 713 § 6321 and that you and Your
                       Party, its agents and their affiliates are not in violation of:


                          i.   Title 17-A: MAINE CRIMINAL CODE Part2: SUBST ANTIVE OFFENSES
                               Chapter 15: THEFT §354. Theft by deception

                         ii.     Uttering Counterfeit Obligations or Securities as described by 18 U.S. Code § 472
                        iii.     18 U.S. Code § 371. Conspiracy to commit offense or to defraud United States
                        iv.    The Racketeer hrtluenccd and Corrupt (Irgtmizations Act of 1970 (“RICO”, 18
                               U.S.C. § 1961 ct seq.) using a civil law cause of action (§ 1964) tbr violations of its
                               provisions for collecting compensatory amounts for injured petitioner, me.


             c.   Has proof of a recorded lien at the Oxford County Registry off deeds for a debt on my property at
                  456 Gore Rd, Otisficld ME.
             d.   Is rightful liolder of due course of a Mortgage Note Security and may lay claim against me under
                  U.C.C. Article 3 §302.
            e.    Will not be discredited as the “Creditor” should you provide the A S-3/A registration statement,
                  425-135 prospectus, RC-S & RC-B call schedules and GAAP General Accepted Accounting
                  Principles true double entry accounting with showing of tlie off balance sheet liability side.




                                                                    7    vt IO




BK: 5508 PG: 967
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 134 of 141                                              PageID #: 140
           Case 19-02014 Doc 18 Filed 02/04/20 Entered 02/04/20 15:02:32 Desc Main
            Case 19-02014 Doc 12 IBIMl0im/2O PigWsf QV23/2011:34:01 Desc Main
                                   Document    Page 5 of 7


                  f.     MERS did have lawful standing to do business in the State of Maine since I livetl at 456 Core Rd,
                        Olisficld, ME
                  g.    You have proof that tlie loan was qualified and the funds and documents went into the REMIC in
                        time as per 26 USC 856(eX4) and 860 <i and as such the loan was not in default at closing with
                        no security interest <hi the property.
              h.        'Iliat the REMIC was qualified with an election being taken and a lax assessment completed and
                        filed with IRS.
                  i.    that with my ownership of the security and proceeds, sec UCC 8-102 § 9(9) Financial Asset and
                        8-103, 8-102 § 17 Security Entitlement and 8-102 § 7 and 8-501(bX2) or (3) Entitlement Holder
                        and 8-501 Securities Account, you can prove that Your Party can be a Holder in due course.
              j.        That Your Party is not in possession ofcontraband as the revenue on the loan payoff under 26
                        USC § 860 could be 100% plus 15% for safe Harbor issues and $50k per other violations and as
                        revenue is Admiralty and Maritime law iclnted and tin suits in admiralty, you and Your Party, as
                        an agents of the U.S. could be sued directly without immunity.


          (2) At or before the original closing, a full disclosure was provided to me tlial:
              a) the original lender, Merr imack Mortgage Company, is not actuully lending me their money with
                       the loan as loans arc done predominantly with “book entry credit*’ to tlte Treasury who then
                       “creates” money out of thin air via electronic digit numeration as “money of account”.
              b) I am the only party that lirought value to the closing table with my signature and my credit
             c) this is an investment contracl disguised as a loan where my signature created the security
             d) I am the donor stooge who hands over the note that gets endorsed with a qualified restrictive
                       endorsement, representing a cash deposit into a bank and I should get an IRS form 8300 for the
                       cash transaction.
             e) the note is thus paid in full at the closing and resold afterwaids creating income at 2,3,4 or even
                       10 or more times the original loan amount to the original lender its successor or assigns.
             f) that I am the issuer of the funds as stated the loan B5 prospectus form
             g) as the creator and issuer of the funds, I am a 3"1 party beneficiary to the Pooling and Servicing
                       Agreement and have proprietary, posscssionary and property interest in the security and its
                       proceeds as per UCC 8-102 and a claim of recoupment per UCC 3-306 and the Statute of I’nuids
             It) I have an interest in a financial asset as per UCC 3-306 and an adverse Claim as per UCC 8-108
             i)        I have a right to rescind and the forms H-8 or 11-9 are provided to me as required
            j)         That the loan was not qualified am the burdened party to pay the tax that the investor or its agents
                       owe




                                                                       g


BK: 5508 PG: 968
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 135 of 141                                        PageID #: 141
            Case 19-02014 Doc 18 Filed 02/04/20 Entered 02/04/2015:02:32 Desc Main
             Case 19-02014 Doc 12 Bted>UM/20            (M>23/2011:34:01 Desc Main
                                    Document    Page 6 of 7


               k) Tiiat by off book accounting methods on the liabilities side, because I was the one who is the
                   provider of value for the instruments’ creation, 1 ant actually lite Creditor and Merrimack
                   Mortgage and later Chase Mortgage is the Debtor


          (3) Tltat these non disclosures, these misrepresentations mentioned in (2) above do not give me the right
          to recession under Reinstatement Second Scries Contracts Section 164


          (4) You have proof of my written consent that 1 abandoned my claim of recoupment


          (5) That the note and mortgage contract is not unconscionable, as in Maxwell vs. Fairbanks: Boston,
          Mass. - Where Federal bankruptcy judge found Fairbanks demanded money it was not owed, tried to
          foreclose on a note it did not legally possess.


          (6) that 16 Cl R Part 433 - PRESERVATION OF CONSUMERS’ CLAIMS AND DEFENSES does not
           preserve claims for the note creator, me, which would define Chase Mortgage as taking the note “subject
          to” and thus not be a holder in due course


          (7) That UCC 3-305-C does not say I have the right to not pay on the note because the person seeking
          enforcement. Chase, does not have the rights of a holder in due course


         You have ten (10) days from receipt of this communication to respond on a point-by-point basis, via
          sworn affidavit, nmler your full commercial liability, signing under penalty of perjuty you can attest to the
          validity of the statements presented in the Conditional Accqttance are true, correct, complete and not
         misleading. Mem declarations are an insufficient resjtonse. There will be no extensions of time.


         Failure to respond will ho deemed as your agreement with opposite positions of the statements heroin and
         your acknowledgement that your party is not a “Creditor" related to me and has ho basis for being granted
         notice to communications in cither said court cases.


         This letter constitutes constructive notice to the recipient.
         Notice to agency    notice to principle. Notice to principle = notice to agency




                                                                                fO                                        Ijg Gtf'



BK:5508 PG: 969
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 136 of 141                                         PageID #: 142
            Case 19-02014 Doc 18 Filed 02/04/20 Entered 02/04/20 15:02:32 Desc Main
             Case 19-02014 Doc 12 PW®t>i®fia’/20Pa8lftt4fbdf(ft923/2011:34:01 Desc Main
                                    Document     Page 7 of 7


           Please direct responses to third parly Affidavit Witness:
           Justin W. Burgess
           do LucasGray wolf fnrfilaTt
          428 Mciixjw Rd
           Auburn, ME 104210]


          And
           Alec Leddy, Clerk of Court
           United States Bankruptcy Court, District of Maine
          537 Congress Street, 2“d Floor
          Portland, ME 04101


              PS -■ The Judgment amount is growing:


          As of today on 1/15/2020, it is 43 days since the establishment of the ADMINISTRATIVE
          DECLARATORY JUDGMENT dated 12/03/2019 on your client JP Morgan Cliase Inc loan II
          1876511514. Tins letter is to inform you as per the stipulations in (he judgment; the outstanding sum is
          subject to coupling of interest. The determined interest rate is by following the market average fixed nite
          now on 30 year homes loans, i.e. 4% annual, compounded daily. The interest accrued so lar in these 43
          days since initiation is $10213.24 which yields a total net payoff amount tor today of $2,177,557.23.


          Per UCCI lien guidelines, an actionable lien right, interest will accrue by the 9Irst day on the chattel of
          your client. The lien, when in place, can lie kept active for many years and can only he removed by me.
          Such a lien may impair your client, it’s successors and assigns, to successfully atiaici imancing or otlicr
         contracts for years and years.




         Sincerely,


         Justin W. Burgess




                                                                     /£>    0^-/0                                       7/^,

BK: 5508 PG: 970
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 137 of 141                       PageID #: 143
           Case 19-20092    Doc 68     Filed 01/07/20 Entered 01/07/20 09:16:37          Desc Main
                                         Document     Page 1 of 3




                                       UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF MAINE

                IN RE: Justin Wade Burgess                )      Case No. 19-20092-MAF
                                                          )      Chapter 7 Proceeding
                                Debtor                    )      January 7,2020

                                   NOTICE OF APPEARANCE AND REQUEST FOR
                                        ALL NOTICES AND PLEADINGS

                       Andrew S. Cannella of the firm of Bendett & McHugh, P.C. hereby appeiirs on behalf

                of Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust F

                and requests, pursuant to Bankruptcy Rule 2002(g), that Andrew S. Cannella, Esq. of Bendett

                & McHugh, P.C. receive copies of all notices, reports, motions, briefs, memoranda, pleadings,

                proposed plans, disclosure statements, proposed orders, conformed copies of orders and any

                other documents or instruments filed in the above-captioned bankruptcy proceeding. All such

                documents should be served upon the following:



                                             Andrew S. Cannella, Esq.
                                             Bendett & McHugh, P.C.
                                             270 Farmington Avenue, Suite 171
                                             Farmington, CT 06032




                                                                                                     ML


BK: 5508 PG: 971
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 138 of 141                          PageID #: 144
          Case 19-20092     Doc 68     Filed 01/07/20 Entered 01/07/20 09:16:37            DescMain
                                          Document    Page 2 of 3




                      PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only

               notices and papers referred to in the Bankruptcy Code and Rules specified above, but also

               includes, without limitation, orders and notices and notices of any application, motion, petition,

               pleading, request, complaint or demand, whether formal or informal whether written or oral,

               and whether transmitted or conveyed by hand delivery, mail delivery, telephone, telegraph,

               telex, telecopy or otherwise, which affects the Debtor or the property of the Debtor.

                      Dated at Farmington, Connecticut this 7th day of January, 2020.



                                             By /s/Andrew S, Cannella
                                               Andrew S. Cannella
                                               Bendett & McHugh, P.C.
                                               270 Farmington Avenue, Suite 171
                                               Farmington, CT 06032
                                               Phone: (860) 677-2868
                                               Fax: (860) 409-0626
                                               Email: BKECF@bmpc-law.com




                                                                                                   M         MG



BK: 5508 PG: 972
    Case 2:20-cv-00164-LEW Document 1-1 Filed 05/08/20 Page 139 of 141                        PageID #: 145
          Case 19-20092     Doc 68    Filed 01/07/20 Entered 01/07/20 09:16:37            Desc Main
                                         Document    Page 3 of 3




                                                 CERTTFICATION OF SERVICE

                      I hereby certify that on this 7th day of January, 2020, a copy of the foregoing was
               served to the following:



               Justin Wade Burgess                               U.S. Trustee
               Debtor                                            Via Electronic Notice of Filing
               456 Gore Road
               Otisfield, ME 04270
               Via First Class Mail

               Nathaniel R. Hull, Esq., Esq.
               Trustee
               Via Electronic Notice of Filing




                                             By /s/Andrew S, Cannella
                                               Andrew S. Cannella
                                               Bendett & McHugh, P.C.
                                               270 Farmington Avenue, Suite 171
                                               Farmington, CT 06032
                                               Phone: (860) 677-2868
                                               Fax: (860) 409-0626
                                               Email: BKECF@bmpc-law.com




                                                                                                      HK of



BK: 5508 PG: 973
       Case
USPS.com®     2:20-cv-00164-LEW
          - USPS Tracking® Results              Document 1-1 Filed https://tools.usps.com/go/TrackConfirm
                                                                   05/08/20 Page 140 of 141 Action?qtc_   PageIDtLabels
                                                                                                                  #: 1461=7019...




        USPS Tra                 ■75         ‘              I
                                 ♦; SbNDLH: CbMPtt/t I HIS 4 U1 ION I                                                             ■L C’!'.or; in .

                                                                                                            A. Signature
                                       ■ Complete Items 1,2, and 3.
                                                                                                                                                               'gAjert
                                       ■ Print your name and address on the reverse
                                                                                                                                                                  u Addressee
                                         so that we can return the card to you.
                                                                                                             B                        Name;             G Date of Delivery
                                       ■ Attach this card to the back of the mailpiece,
                                         or on the front If space permits.___________
                                       1. Article Addressed to:                                              D. Isdefivery          different from Item l? □¥»
                                                                                                                If YES. enter delivery address below:      □ No




                         Get the t
                                                                                                          3. Servkwiype
                         automatr                                                                                                                  □ PrkKttyMe«&i>re«»®
                                             DIIHIIIIIHINHIIIIIIIIIIIII                                   □ Adutt Slgneture
                                                                                                          □ Adult Signature Reetrtcted DeRvwy
                                                                                                                                                   □ Registered Msi™
                                                                                                                                                   □ RagHeredMaaRosMctsd
             /xsellfappeUspsToole&re                                                                      □ Certified Main                           Mwn
                                               9590 9402 5446 9189 9041 62                                □ Certified MaH Reetrlotod tMvwy         □ Return
                                                                                                          □ Collect on Delivery
                                       2. Article Number (Transfer from service tehan---------            n n,-»— qp QeUvery Restricted DoSvery    □
                                                                                                                                                   □ Slgnebn
                                                7015 070Q ooai boae                                                                                  Reetrtcted

                                   . PS Form 3811, July 2015 PSN 7530-02-000-9053                                                                DomeelioReti




                                                                                                                                                         Remove X
                  Tracking Number. 70190700000160325951

                  Your item was delivered to an individual at the address at 10:35 am on
                  January 23, 2020 in FARMINGTON, CT 06032.

                                                                                                                                           ■              ;------------------------------------------------- -


                                                                                          jU.S. Postal Service
                                                                                          CERTIFIED MAIL RECEIPT
                          Delivered                                                m
                                                                                   IT
                                                                                          Domestic Mail Only

                                                                                   ut     For delivery informa ion. visit o(ir website v •
                  January 23,2020 at 10:35 am                                            FAR0GFNRI
                                                                                  ru
                  Delivered, Left with Individual                                 m Ciirtffled Mell Fee
                                                                                 ’a $                   13.50
                  FARMINGTON, CT 06032                                                  Extra Servlcn & Fees tchKh bot,
                                                                                         □ Return RKdplfhanloopy)         S

                  Geit Updates \z                                                 a
                                                                                  a      □CvtHedlMIRMMctKlDrewy            *
                                                                                  □      □Adult Slgnrture Required        *
                                                                                         □ Adutt StgrlMwe Restricted tXOvwy S
                                                                                  □ Postage
                                                                                  o $               11.30
                                                                                  n-     PTTtngt and Fssi
                                                                                  o
                      Text & Email Updates
                                                                                  a     8iS?®a:Wo:,"<ytt5-0-«S-:-.............. -A--:........... ..


                      Tracking History                                                                                   (L>- (   0 ^<3
                                                                                        P^> Form 3800, April 201?) «                           See Reverie tor lnst|uctions




                      January 23,2020,10:35 am
                      Delivered, Left with Individual
                      FARMINGTON, CT 06032
                      Your item was delivered to an Individual at ths address at 10:35 am on January 23,

                                                                                                                                                                         Mb
 Iof3                                                                                                                                                                      2/23/2020,7:40 PM



BK: 5508 PG: 974
       Case
USPS.com®    2:20-cv-00164-LEW
          - USPS Tracking® Results     Document 1-1 Filed 05/08/20        Page 141 of 141 PageID #: 147
                                                          https://tools.usps.com/go/TrackConfinnAction?qtc_tLabelsl=7019   ...


                   2020 in FARMINGTON, CT 06032.



                   January 22, 2020, 4:04 pm
                   Departed USPS Regional Facility
                   SPRINGFIELD MA NETWORK DISTRIBUTION CENTER



                   January 22, 2020
                   In Transit to Next Facility



                   January 19,2020,12:52 pm
                   Arrived at USPS Regional Facility
                   SPRINGFIELD MA NETWORK DISTRIBUTION CENTER



                   January 17,2020,11:06 pm
                   Departed USPS Regional Origin Facility
                   SOUTHERN ME DISTRIBUTION CENTER
                                                                                                               T|
                                                                                                               I

                   January 16, 2020,12:28 am                                                                   g
                   Arrived at USPS Regional Origin Facility
                   SOUTHERN ME DISTRIBUTION CENTER



                   January 15,2020, 8:49 pm
                   Departed Post Office
                   SOUTH PORTLAND, ME 04106



                   January 15, 2020, 3:52 pm
                   USPS in possession of item
                   SOUTH PORTLAND, ME 04106




                   IProduct Information



                                                      See Less




2 of 3                                                                                                   2/23/2020, 7:40 PM


BK: 5508 PG: 975
